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TODD TALlAFERRO; MAUR.EEN TALlAFERRO; ARTHUR M. MACIAG;
ALEXANDRIA A. MAClAG; DOUG SMl'l`H; RICKIE A. CLEMMONS; 'l`lMOTHY
SELL; JAMES W. CARELL; THOMAS K. HOYER; CAROLINE A. HOYER; BRUCE
L. FREEMAN; JILL J. FREEMAN; DEAN A. FRESONKE; S'I`EPHANIE L.
FRESONKE; DAVID D. GARNER; S'I`EPHEN M. TORMEY; DENISE M. TORMEY;
TOM G. HARVEY; SANDRA M. HARVEY,

Plaimiffs, '/, nw 'M_‘_
Case No_ ?>". l \'Q,U'\ Qq' J qu

VS.

DEFENDANTS ERG ENTERPRISES, LP; LUBER'I`-ADLER MANAGEMENT
COMPANY, LP; LUBERT-ADLER REAL ESTATE FUND lll, LP; LUBERT-ADLER
REAL ESTA'I`E PARALLEL FUND Ill, LP; LUBERT-ADLER CAPITAL REAL
ESTATE FUND lll, LP; LUBERT-ADLER REAL ES'I`ATE FUND lV, LP;
LUBERT-ADLER REAL ESTATE PARALLEL FUND lV, LP; LUBERT-ADLER
CAPITAL REAL ESTATE FUND lV, LP; LUBERT-ADLER REAL ESTA'I`E

FUND V, LP; LUBERT-ADLER REAL ES'I`ATE PARALLEL FUND V, LP; DEAN S.
ADLER; GlNN WEST END GP, LLC; GINN-LA WEST END LTD, LLLP; GINN-LA
CS BORROWER, LLC; GlNN-LA CONDUIT LENDER, lNC.; GINN-LA CS
HOLDING COMPANY; GINN-LA OBB, LlMITED- CORP; GlNN FINANCIAL
SERVICES; BAHAMAS SALES ASSOCIATE, LLC; GlNN 'l`lTLE SERVICES, LLP;
EDWARD R. GINN, Ill; JOHN DOES 1¢15,

Defendants.
/

 

COMPLA|NT AND DEMAND FOR JURY TRlAL
PLAINTIFFS, for their Complaint herein, allege as follows:
JURlSDICTION
l. This Court has jurisdiction in this action pursuant to 28 U.S.C. § 1331 and 18
U.S.C. § l964(a) and (c).
2. This Court has supplementaljurisdiction, pursuant to 28 U.S.C. § l367(a), over

the state common-law claims allcged herein.

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3. 'I`his Court has personal jurisdiction over the Defendants and each of them
pursuant to 18 U.S.C. §§ l965(a) and (d). This Court has personal jurisdiction over the
Dcfendants and each of them because at all times relevant to this Complaint, Defendants,
either individually or through their agents, officers or representatives, engaged in and
carried on business activities in the State of Florida relating to the allegations herein;
maintained business offices in the State of Florida; committed statutory violations within
the State of Florida, as alleged herein; and caused injuries to Plaintiffs that arose out of
acts or omissions that occurred within the State of Florida, as alleged herein.

ME

4. Vcnue for this action is appropriate in this Court under 18 U.S.C. § 1965 and 28
U.S.C. § l39l(b) and (e) because a substantial part of the events or omissions giving rise
to the claims herein occurred in this district and division, and because several of the
Def`endants reside and/or transact business in this district and division.

THE PARTIES

5. Plaintif`fs Todd Taliafcrro and Maureen Taliaferro (“Taliaferro") are and, at all
times relevant to the allegations hercin, were residents of the State of Miehigan who
purchased an undeveloped parcel of real property, Lot 208, in the Ginn Sur Mer
subdivision on Grand Bahama lsland (“GSM" or the “GSM Subdivision").

6. Plaintiff`s Arthur M. Maciag and Alexandria A. Maciag (“Maciag") are and, at all
times relevant to the allegations herein, were residents of the State of Miehigan who

purchased an undeveloped parcel of real property, Lot 109, in GSM.

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7. Plaintiff Doug Smith (“Smith”) is and, at all times relevant to the allegations
herein, was a resident of the State of Tennessee who purchased an undeveloped parcel of
real property, Lot 498, in GSM.

8. Plaintiff Riekie A. Clemmons (“Clemmons”) is a resident of the State of North
Caroline and, at certain times relevant to the allegations herein, was a resident of the
State of Louisiana. Timothy Sell is, and at all times relevant to the allegations herein,
was a resident of the State of Miehigan. Riekie Clemmons and Tim Sell (Clemmons
Group) purchased an undeveloped parcel of real property, Lot 494, in GSM.

9. Plaintiff James W. Carell is, and at all times relevant to the allegations herein, was
a resident of the State of Tennessee. Timothy Sell is, and at all times relevant to the
allegations herein, was a resident of the State of Michigan. Timothy Sell and Jim Carell
(“Carell Group”) purchased an undeveloped parcel of real property, Lot 312, in GSM.

10. Plaintiffs Thomas K. Hoyer and Caroline A. Hoyer are residents of the State of
'I`exas and at certain times relevant to the allegations herein Were residents of the State of
North Carolina. Bruce L. Freeman and Jill J. Freeman are and, at all times relevant to the
allegations herein, were residents of the State of Nonh Carolina. Plaintif`fs Thomas K.
Hoyer, Caroline A. Hoyer, Bruce L. Freeman and Jill J. Freeman (“l-loyer Group”)
purchased an undeveloped parcel of real property, Lot 448, in GSM.

ll. Plaintiffs Dean A. Fresonke, Stephanie L. Frcsonke, David D. Gamer, Stephen
M. Tormey, Denise M. Tormcy, Tom G. Harvey and Sandra M. Harvey (“Fresonke
Group”) are and, at all times relevant to the allegations herein, were residents of the State

of Florida who purchased an undeveloped parcel of real property, Lot 437, in GSM.

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12. Defendant Lubert-Adler Management Company, LP dfb/a Lubert-Adler
Partncrs, LP (“Lubert~Adler”) is a Delaware limited partnership with its principal place
of business in Philadelphia, PA. Defendant Lubert-Ad|er is a private~equity fund
management company that invests and participates in real estate development projects.
As of mid-2006, Defendant Lubert-Adler had invested over $800 million in Ginn
development projects.

l3. Defendant Lubert-Adler is the ultimate parent company of Defendants Lubert-
Adler Real Estate Fund lll, LP; Lubert-Adler Real Estate Parallel Fund III, LP and
Lubert-Adler Capital Real Estate Fund lll, LP (collectively “Lubert-Adler Fund Ill”);
Lubert-Adler Real Estate Fund lV, LP; Lubert-Adler Real Estate Parallel Fund lV, LP
and Lubert-Adler Capital Real Estate Fund lV, LP (colleetively “Lubert-Adler Fund
IV”); Lubert-Adler Real Estate Fund V, LP and Lubert-Adler Real Estate Parallel Fund
V, LP (collectively “Lubert-Adler Fund V“). Defendants Lubert-Adler Funds III, lV and
V each held an 80% equity interest in the Ginn entities in which those Funds were
invested, including but not limited to Defendants Ginn-LA CS Borrower, LLC; Ginn-LA
CS Holding, Ginn-LA West End LLLP and Ginn-LA Conduit Lender (collectively Ginn-
LA Entities”).

14. Defendant Dean S. Adler is an individual who co-founded and co-owns (with lra
M. Lubert) Defendant Lubert-Adler and Lubert-Adler Funds 111, lV and V.

15. Defendants Lubert-Adler and Dean Adler had control of the Ginn-LA Entities.
At all material times hereto, Defendants Lubert-Adler and Dean Adler knew of, managed,
controlled, ratified and/or participated in the actions of the Defendant Ginn-LA Entities

named herein. Defendants Lubert-Adler and Dean Adler had actual knowledge or

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knowledge fairly implied on the basis of objective eircumstances, of the acts of the
Defendant Ginn-LA Entities named herein, as well as of the acts of Bobby Ginn.

16. Defendant Ginn West End GP, LLC ("Ginn West End") is a Georgia limited
liability company formed on October 28, 2004, with its principal place of business located
in Palm Coast, Florida.

17. Defendant Ginn-LA West End Ltd, LLLP ("GLA West End LLLP") is a Georgia
limited liability limited partnership formed on November 2, 2004, with its principal place
of business located in Palm Coast, Florida.

18, Defendant Ginn-LA CS Borrower, LLC ("CS Borrower") is a Delaware limited
liability company formed on April 18, 2006, with its principal place of business located in
Palm Coast, Florida.

l9. Defendant Ginn-LA Conduit Lcnder, Inc. ("Conduit Lender") is a Delaware
corporation formed on May 5, 2006, with its principal place of business located in
Celebration, Florida.

20. Defendant Ginn-LA OBB, Limited-Corp. ("GLA OBB") is a Bahamian
corporation formed on Deccmber 21, 2006, with its principal place of business located in
Palm Coast, Florida.

21. Defendant ERG Enterprises, LP ("ERG ") is a Georgia limited partnership formed
on December 29, 2005, with its principal place of business located in Palm Coast,
Florida.

22. Defendant Ginn Financial Services, LLC (“Ginn Financial") is a Georgia
Limited Liability Company formed on June 10, 2005, with its principal place of business

located in Palm Coast, Florida.

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23. Defendant Bahamas Sales Associate, LLC (“Bahamas Sales”) is a Delaware
corporation formed on August 4, 2006 with its principal place of business located in Palm
Coast, Florida. Bahamas Sales was formed

24. Defendant Ginn Title Services, LLC (“Ginn Titlc”) is a Georgia Limited
Liability Company formed on September 13, 2005 with its principal place of business
located in Palm Coast, Florida.

25. Defendant Edward R. Ginn, 111 ("Bobby Ginn") resides at 42 lsland Estates
Parkway, Palm Coast, Florida 32137.

26. Each Defendant is sued individually as a primary violator and as an aider and
abettor. ln acting to aid and abet the commission of the fraud and other wrongful conduct
complained of herein, each Defendant acted with an awareness of the fraud and other
wrongful conduct. Each Defendant rendered substantial assistance or encouragement to
the accomplishment of that fraud and was aware of its overall contribution to the
conspiracy, seheme, and common course of wrongful conduct alleged herein.

27. Each Defendant is joined in this action as a co-conspirator. Liability arises from
the fact that each Defendant entered into an agreement with the other Defendants to
commit or to participate in the commission of all or part of the unlawful acts, plans,
schemes, transactions and artifices to defraud described above.

FACTUAL BACKGROUND: Credit Suisse Credit Facilitv Fraud

l. August 2005: lnitial GSM Developer Ginn-LA West End Limited Enters
into a Heads of Agreement with the Bahamian Government

28, On Deccmber 9, 2005, Ginn-LA West End Limited (“GLA Limited”), as the

initial developer of GSM, entered into a Heads of Agreement with the Bahamian

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govemment. The Heads of Agreement provided GLA Limited with governmental
cooperation and concessions on transfer taxes, duties and work permits.

29. The Heads of Agreement stated that GLA Limited intended to master develop
1,957 acres of real property on Grand Bahama lsland into a resort community.

30. The Heads of Agreement stated:

a. “The parties recognize that timing is eritical, as to commencement and timely
completion of all phases of the Project . . .”

b. “The Developer intends to sell residential lots and units within the Project prior
to the installation of the Project‘s infrastructure. These pre-sales are an important
part of the sales and marketing of the Project."

c. “The beneficial owners of the Development are Edward R. Ginn, lII and private
investments funds which are controlled by Dean Adler and Ira Lubert.”

III. June 8 2006: Defendants CS Borrower and Conduit Lender Close the $675
Million Credit Suisse Credit Facili§y and Distribute $510 Million

A. The Credit Suisse Syndicated Term Loan Was A New and Unique Loan
Product Ol`l'ered By Credit Suisse

 

31. Around early 2005, Credit Suisse began marketing a new loan product referred
to as a syndicated term loan.

32. One entity that took out a Credit Suisse syndicated term loan was the
Yellowstone Mountain Club in Montana (“Yellowstone"). Sometime after it received its
Credit Suisse loan, Yellowstone fell into bankruptcy. In Adversary Proceedings in the
Yellowstone bankruptcy (U.S. Bankruptcy Court for the District of Montana, Case No.
09-00014), thc Court issued a June l l, 2009 Memorandum of Decision (Doc. No. 292)

that set forth the following facts:

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El.

“ln or around Deccmber of 2004, Jeffrey Barcy (“Barcy”), a Director in Credit
Suisse’s Investment Banking Division, made several attempts to send Blixseth
[an owner of Yellowstone] and his secretary or assistant emails that contained a
two to three-page teaser, providing Blixseth with a brief overview of Credit
Suisse and its new loan product referred to as a syndicated term loan, which was

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described to Blixseth as something akin to a ‘home-equity loan, (Yellowstone
Memorandum of Decision at 22.)

“Credit Suisse was specifically trying to ‘brcak new ground with a product by
doing real estate loans in the corporate bank loan markct.’ Through its new
syndicated term loans, Credit Suisse was able to offer a loan product the size of
which had previously been unavailable to borrowers.” ([d. at 22-23.)

“Barcy testified that Credit Suisse's syndicated loan product had previously been
marketed to other master-planned residential and recreational communities such
as Tamarack Resort, Promontory, Ginn, Turtle Bay, and Lake Las Vegas. Each
of the above entities received a syndicated loan from Credit Suisse’s Cayman
lslands branch, which allowed the equity holders in said entities to take sizeable
distributions from all or part of the Credit Suisse loan proceeds." (Id. at 23.)
“Similar to the syndicated loans to Tamarack Resort, Promontory, Ginn, Turtle
Bay and Lake Las Vegas, the Yellowstone Club Credit Agreement was originally
drafted to provide that the proceeds of the loan would be uscd, in part, for

‘distributions’ to members of the Borrow for purposes unrelated to the

Yellowstone Development." (Id. at 24.)

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e. “As previously noted, the transfer of loan proceeds out of the Yellowstone Club
was a key feature of the product that Credit Suisse used to sell the loan,
Yankauer testified that the cornerstone of this loan product was that it allowed
preferred resort owners, such as Blixeth, to capitalize on the value of their asset.”
(Id. at 28.)

33. Before Yellowstone Club obtained its Credit Suisse loan, Cushman & Wakefield
was retained to conduct an appraisal of Yellowstone Club property, Cushman’s appraisal
was based on future cash flow projections provided by the Yellowstone Club.

B. Defendants CS Borrower and Conduit Lender Secretly Obtain the $675
Million CSCF

34. In late 2005 or early 2006, Credit Suisse contacted either Bobby Ginn or Lubert-
Adlcr to offer the opportunity to take one of Credit Suissc’s new Syndicated Term Loans.

35. Bobby Ginn, Dean Adler, or both, had a series of communications with Credit
Suisse concerning whether, and on what tenns, Ginn and Lubert-Adlcr might take a
Credit Suisse Syndicated Term Loan.

36. On March 30, 2006, Defendant GLA West End LLLP executed an “Engagement
Letter" with Credit Suisse “in connection with seeking senior secured credit facilities in
an aggregate principal amount of up to $[800,000,000]."

37. Based on his education, background and extensive experience in the real estate
investment field, Defendant Dean Adler knew the Syndicated Term Loan offered by
Credit Suisse was a new and unique loan product, the size, terms and structure of which
had never before been available to borrowers.

38. Defendants Lubert-Adler, Lubert-Adler Funds 111 and IV, Dean Adler, ERG,

Ginn West End and Ginn-LA West End LLLP caused Defendants CS Borrower and

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Conduit Lender to be formed for the sole purpose of serving as the borrowers
(collectively “CSCF Borrowers) under a $675 million credit facility with Credit Suisse in
the spring of 2006 (“CSCF").
39. Defendants Lubert-Adler, Lubert-Adler Funds 111 and IV, Dean Adler, ERG and
GLA West End LLLP caused CSCF Borrowers to enter into the $675 million CSCF so
that Lubert-Adler and ERG could take a $333 million distribution from the proceeds of
the CSCF.
C. How did Defendants CSCF Borrowers Obtain the $675 Million CSCF?
40. The CSCF was obtained by cross~collateralizing five Ginn-LA real estate
developments, four of which were located in the United States (“CSCF Developments”):
a. 'I`esoro, in Port St. Lucie, Florida;
b. Quail West, in Naples, Florida;
c. Hammock Beach River Club, in Palm Coast, Florida;
d. Laurelmor, in North Carolina; and
e. GSM, on Grand Bahama lsland.
41. A “Property Overview" in the Confidential Infonnation Memorandum projected
future lot sales in each of the CSCF Developments as follows:
a. Ginn would sell l,858 lots in the GSM development by 2010, with no lots under
contract as of May 2006,

b. Ginn would sell 397 lots in the Tesoro Project in Florida by 2009, with only l 1
lots under contract as of May 2006.

c. Ginn would sell 290 lots in the Quail West Project in Florida by 2008, with only

25 lots under contract as of May 2006.

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d. Ginn would sell 453 lots in the Hammock Beach River Club development in
Florida by 2008, with no lots under contract as of May 2006.

e. Ginn would sell 1,500 lots in the Laurelmor development in North Carolina by
2010, with no lots under contract as of May 2006.

42. ln fact, the projected future lot sales for the CSCF Developments were
speculative and vastly overstated For example:

a. Tesoro (owned by Defendants ERG 20% and Lubert»Adler 80%) held an
extravagant “launch” event in October 2005, during which it obtained sales
reservations or contracts for nearly all of the approximately 450 residential lots
that were offered and nearly half of the 100 available condominium units.
However, following Hurricane Wilma in late October 2005, the vast majority of
thc Tesoro contracts and sales reservations were cancelled or failed to close.

b. Quail West (owned by Defendants ERG 20% and Lubert-Adler 80%) held an
extravagant “launch” event in Deccmber 2005, during which it obtained sales
reservations or contracts for nearly all of the approximately 450 residential lots
that were offered. However, following Hurricane Wilma in late October 2005,
the vast majority of the Quail West contracts and sales reservations were also
cancelled or failed to close.

43. ln order to obtain the CSCF, Defendants CSCF Borrowers, Lubert-Adler and
Dean Adler provided Credit Suisse with Project Projections of cash flow from estimated
future lot sales in the CSCF Developments (“CSCF Project Projections"). Those
Defendants also provided the CSCF Project Projections to Cushman & Wakefield, .which

had been designated as the “appraiser" for the CSCF,

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44. Cushman & Wakefield used the CSCF Project Projections to determine the
“Total Net Value" (“TNV”) of the CSCF Developments The Total Net Value of the
CSCF Developments was critical to determination of the total amount that could be
borrowed under the CSCF, The higher the TNV assigned to the CSCF Developments,
the higher the amount that could be borrowed under the CSCF.

45. Although the CSCF credit agreements refer to Cushman & Wakefield as the
“Appraiser" for the CSCF Developments and refer to the TNV as a “Qualified
Appraisal," the TNV valuation was not an appraisal in any sense of the word.

46. Cushman & Wakefield was initially retained by Credit Suisse to provide a TNV
“appraisal“ in connection with the Yellowstone Credit Suisse loan. According to
testimony in the Yellowstone Bankruptcy proceeding Credit Suisse engaged Dean Paauw
of GSM to provide the TNV “appraisal" of the Yellowstone property.

47. Paauw testified in the Yellowstone Bankruptcy proceeding that prior to being
contacted by Credit Suisse, he had never done or heard of a TNV “appraisal” despite
having done approximately 400-500 appraisals in his professional career.

48. Paauw testified in the Yellowstone Bankruptcy proceeding that he did not know
where the definition for TNV had come from and that the TNV “appraisal" did not
comply with the Financial Institutions Reform, Recovery, and Enforcement Act
(“FIRREA") because it was not an “As Is” or “Market Value" appraisal. ln practice, a
TNV valuation is a discounted cash flow analysis that does not apply a discount rate for
revenue expected in the filture.

49. The Cushman & Wakefield appraisals defined the “Total Net Value" of each

CSCF Development as “the sum of the market value of the bulk lots of the entire planned

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community, as if all of the bulk lots were complete . . . and available for sale to merchant
builders, as of the date of the appraisal,” without deduction or discounting for pertinent
risk factors or the time value of money.

50. The TNV methodology was designed to generate a value that significantly
exceeded the actual as-is fair market value of the property interests being valued. ln this
way, the TNV methodology allowed the CSCF to have a much lower “loan to value"
ratio than would otherwise have been possible using a traditional market valuation of the
proposed collateral.

51. By virtue of the TNV methodology the CSCF did not comply with U.S. banking
laws, such as the Financial lnstitutions Reeovery Reform Act of 1989 (“FIRREA”),
which provides that, before a regulated financial institution may make or invest in a loan
secured by real estate, the loan must be supported by an appraisal reflecting a traditional
market valuation of the proposed collateral.

52. To circumvent this requirement, Credit Suisse coordinated the CSCF through its
“Cayman lslands Branch," an off-shore “affiliate" with no physical presence in the
Cayman lslands, and syndicated the loan to non-regulated cntities, such as hedge funds.

53. Defendants Lubert-Adler, Lubert-Adler Funds lll and lV, Dean Adler and ERG
knew the TNV method resulted in “appraisals" for the CSCF Developments that were
vastly overstated. In fact, aher the closing of the CSCF, Bobby Ginn reportedly boasted
that it was “the best sales job of [his] life.” For example:

a. Whereas the St. Lucie County Property Appraiser assessed the value of Tesoro

real and tangible property in 2006 at $74,910,626, the TNV of unsold Tesoro lots

on April 14, 2006 was $210 million.

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b. Even though Ginn and Lubert-Adler missed the original projections for the
Tesoro 2005 launch by a huge margin (projecting 421 lot closing by January 31,
2006 but closing 40 or less), the Project Projections for Tesoro forecasted 74
additional lot and condominium closings during the second half of 2006, with
290 more by the end of 2008, 1n actuality, there were fewer than 40 additional
lot closings (and no condominium closings) in Tesoro through 2008.

c. Even though the GSM Land was purchased in August 2005 for $24.5 million,
the TNV for GSM was $618 million on June 8, 2006,

54. The cash flow Project Projections the CSCF Borrowers provided to Cushman &
Wakefield in support of the TNV “appraisal” for GSM were speculative, unreasonable
and unsupported by historical information.

55. In addition the Project Projections incorporated the assumption that all marketed
amenities for GSM (not just the contractually-required infrastructure) would be
developed. At the time of the GSM Project Projections:

a. The GSM Land was undeveloped;

b. The initial developer of GSM had not yet secured approval from HUD to market
GSM lots in the United States;

c. There was no history of GSM lot sales supporting the lot sales prices set forth in
the Project Projections;

d. There were no lot appraisals supporting the lot sales prices set forth in the Project
Projections; and

e. There were purportedly 3,000 GSM lot reservations and 158 powers of attorney

for GSM lot purchases, but no contracts for the purchase of GSM lots.

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56. In an effort to boost the TNV for GSM, CSCF Borrowers, Lubert-Adler and
Dean Adler dramatically increased the projected number of lot sales from the numbers set
forth in the Deccmber 9, 2005 Heads of Agreement with the Bahamian govemment.
While the original Heads of Agreement contemplated 870 residential lots, the March 31,
2006 Project Projections more than doubled the projections for GSM residential lots to
l,858.

57. Based on the average price per lot used in the Project Projections, the sudden
increase in projected lot sales from 870 to l,858 boosted the projected future Total Lot
Sales from $636 million to more than $l .36 billion.

58. Not coincidentally, GSM‘s initial developer on June 8, 2006 (the date of the
CSCF closing) entered into an amendment to the Heads of Agreement to increase the
number of residential lots from 870 to l,890 and to increase the number of condominium
units from 4,400 to 4,900.

59. The TNV for all five CSCF Developments was set at approximately $1.5 billion.
The TNV for GSM accounted for 41% of this overall amount.

60. The TNV “appraisals” were used to inflate the size of the CSCF to $675 million.
Without the use of the overstated TNV “appraisal,” Defendants CSCF Borrowers would
not have been able to secure the $675 million CSCF.

61. Because it was based on the TNV of CSCF Developments:

a. The size of the $675 million CSCF was not reasonable in comparison to the
actual value of the collateral represented by the CSCF Developments.
b. The CSCF utilized speculative projections of future value to create a current debt

service obligation in the amount of $675 million.

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c. The $675 million CSCF carried an excessive risk of failure.

62. lntemal documents and statements by Lubert-Adler, Dean Adler and Bobby
Ginn (both before and after the CSCF closing) reveal that those defendants recognized
the real estate market crash in late 2005 and the first half of 2006, Those defendants
therefore knew the projected future lot sales for the CSCF Developments were overstated
and without justification F or example:

a. 1n April 2006, approximately six weeks prior to the CSCF closing, Bobby Ginn,
Dean Adler and others received a memorandum from Morris, Manning & Martin,
LLP attorney John G. “Sonny” Morris, titled “CSFB Financing / Concems About
Repayment and Presales." According to the bankruptcy trustee for the Tesoro
and Quail West developments in an adversary proceeding to void certain aspects
of the CSCF as fraudulent transfers, the Sonny Morris memo “foreshadowed a
series of problems the proposed borrowers could expect to encounter given the
size of the loans they were attempting to procure and the terms of the loans under
discussion." (Memo, .1. Morris to B. Ginn, D. Adler, etc., 4/19/06,
MMMTQW01-024197 - 024201.)

b. ln May 2006, after having spoken to Dean Adler, Sonny Morris reported,
“[Adler] is greatly concerned that a failure to meet projections will result in a
default." (Email, J. Morris to B. Masters, etc., 5/26/06, MMMTQWOI -
0224495.)

c. ln May 2006, Lubert-Adlcr principal Robert Rosenberg suggested Lubert-Adler
might use the market downturn as a selling point in order to obtain approval from

the Advisory Boards for Lubert-Adler Funds 111 and IV for the CSCF: “we could

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point out that the pace of sales at Tesoro has recently begun to slow, thereby
making it increasingly likely that the Fund 111 investors will not get to a $36M
profit point in the near-term future [absent the CSCF]." (Email, R. Rosenberg to
D. Adler, etc., 5/3/06, forwarded to J. Morris, etc., 5/4/06 - 5/5/06,
MMMTQW01_0241 24 -024125.)

d. According to the Tesoro/Quail West bankruptcy trustec, Credit Suisse was so
anxious about “market conditions" in June 2006 that it strenuously advised
against “any material change in structure [that] may cause us to have to go back
out to investors and reconfirrn their orders," or would otherwise result in “any
kind of a delay." (Email, M. Speller to B. Wobeck, etc., 6/6/06, MMMTQWOI-
024460 - 024467.)

e. In April 2007, Ginn-LA C.F.O. John P. Klumph expressed “concems” that “the
Lenders could second guess the completeness of the [pre-loan] disclosure" in
light of a failure to account for dozens of Tesoro and Quail West contract
cancellations. He advised that “[i]n the detailed reports to be provided going
forward [he was] planning to show total contracts and cancellations for 2006
only as of year end so as not to draw unwarranted attention to the issue." (Email,
B. Wobeck to .1. Morris, etc., 4/30/07, MMMTQW01_006138 - 006140.)

f. In June 2007, Lubert-Adler principal and Head of Asset Management, Stuart A.
Marguilies, sent and email stating - with respect to “Future Sales” - “ln the
current climate and foreseeable fitture, sales forecast[s] are unreliable even at

reduced levels. Accordingly, sales proceeds arc not a reliable funding source [for

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loan repayment]. (Email, S. Marguilies to R. Rosenberg, J. Klumph, J. Morris,
6/6/07, LAOS 1640 - 051642, MMMTQW01_021877.)

g. ln a July 23, 2008 conference call with certain Ginn owners, Bobby Ginn
admitted that the real estate market crash prior to the CSCF was unprecedented:
“The market crash[] from the end of 2005 . . . to July of 2006 was as big a falloff
in housing as l have ever seen in 40 years. . . . The market was going bad from
the end of 2005 through the entire year of 2006, but the first six months of 2006
was brutal. 1 mean it’s like somebody threw a rock off the ledge, it was sharp
and [a] long downhill fall....”

h. According to the Tesoro/Quail West bankruptcy trustee, “Ginn and Lubert-Adler
records reveal that, during the third quarter of 2006, total net revenues at Tesoro
and Quail West were approximately 3% of previously forecasted amounts, due to
‘the lack of real estate sales.”’

i. According to the Tesoro/Quail West bankruptcy trustee, “By mid-2007, Ginn and
Lubert-Adler were formally reporting to the Lenders that ‘[t]he slowdown in the
residential real estate markets ha[d] adversely impacted the Borrower’s project
sales and, as a result, its ability to comply with the terms of the existing credit
agreements.’ ln addition, they acknowledged that, ‘[d]ue to the significant
shortfall in expected sales to date, the Borrower must source outside capital in
order to fund the key infrastructure and amenities costs.’ (E.g., Ginn Lender
Presentation, 4/23/07, LA050798 - 050827; 6/21/07 LA053007 - 053042.)”

j. According to the Tesoro/Quail West bankruptcy trustee, “In early 2008, as it

became harder for Ginn and Lubert-Adler to deny that they had, in fact,

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k.

‘doomed’ the Projects ‘to failure,’ Ginn-LA representatives and attorneys met

several times to discuss potential bankruptcy filings for the Debtors [Tesoro and

Quail West] and Other Project Entities, and various issues relating thereto,

including:

‘['l`he] need [for] a bankruptcy plan‘;

‘Conflicts issue[s]’;

‘Substantive consolidation’;

‘Separation of entities’;

‘Debt goes across all projects’;

‘Need to figure out how to strip off debt per property’;
‘How to separate each project’s liabilities’;

‘Does each entity have to stand for repayment as a whole';
‘Are there grounds for piercing the corporate veil’; and

‘Return of equity at original closing -) fraudulent conveyance.’

(E.g., Handwritten Notes / Emails, 3/28/08 - 4/30-08, MMMTQW01_O31126,

031120 - 031125, 031295, 031103.)"

According to the Tesoro/Quail West bankruptcy trustee, with respect to the

distribution to Lubert-Adler and ERG, “the concern among those involved was

that the ‘[d]istribution to Equity from [the] original closing could be challenged

as [a] fraudulent conveyance,’ because ‘the debtors did not get reasonably

equivalent value [therefor],’ and ‘[the] conveyance [was one] which rendered

the debtors insolvent or unreasonably capitalized.’ (Handwritten Notes of Mtg.,

MMMTQW01_016232.)"

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63. Defendants GLA West End LLLP, Lubert~Adler, Dean Adler and ERG knew the
facts set forth in Paragraphs 34-62, above, but fraudulently concealed those facts from
prospective purchasers, including Plaintiffs Taliaferro, Maciag, Smith, Clemmons Group,
Carell Group, Hoyer Group and Fresonke Group,

D. How Were CSCF Borrowers Planning to Repay the $675 Million CSCF?
64. To obtain the CSCF, it was necessary for Lubert-Adler, Dean Adler, ERG and

CSCF Borrowers to allocate the future cash flow from lot sales in GSM (and the other
CSCF Developments) to meet repayment obligations under the CSCF, instead of
allocating cash flow from lot sales in the CSCF Developments to the benefit of each
development as an independently capitalized development subject to its own market
conditions.
65. The ability of CSCF Borrowers to service the debt under the $675 million CSCF
was dependent on cash flow from future “projected” lot sales in the CSCF Developments:
a. Tesoro: 14%
b. Quail West: 10%
c. Hammock Beach: 6%
d. Laurelmor: 29%
e. GSM Subdivision: 41%
66. The Projections called for 59% of the cash flow for CSCF repayment to come
from future lot sales in four CSCF Developments in the United States.
67. The CSCF required that repayment using 100% of excess cash flow until one-
half of the first-lien balance was repaid. Thereafier, 50% of excess cash flow was

required to be applied to outstanding balances. Thus, 100% of excess cash flow from the

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sale of every lot in the CSCF Developments was fimneled to Credit Suisse in service of
the CSCF debt obligation.

68. Undcr the terms of the CSCF, if the U.S. CSCF Developments did not meet lot
sales projections, Defendant GLA West End LLLP was required to loan the U.S. CSCF
Developers the funds necessary to meet their CSCF repayment obligations (“GSM
Shortfall Obligations").

69. Defendants Ginn-LA West End LLLP, Lubert~Adler, Dean Adler and ERG
knew the facts set forth in Paragraphs 64-68, above, but fraudulently concealed those
facts from prospective purchasers, including Plaintiffs Taliaferro, Maciag, Smith,
Clemmons Group, Carell Group, Hoyer Group and Fresonke Group.

E. How Was the $675 Million CSCF Secured?
70. 'I`he $675 million CSCF was collateralized across all five CSCF Developments:

substantially all assets of CSCF Borrowers and each development, including all land and
improvements, were pledged by Lubert-Adler, Lubert-Adler Funds 111 and lV, Ginn-LA
CS Holding, ERG and Ginn-LA West End LLLP to secure the CSCF.

71. Lubert-Adler, Lubert-Adler Funds 111 and lV, Ginn-LA CS Holding, ERG and
Ginn-LA West End LLLP also pledged as collateral under the CSCF their ownership
interests in the developer companies for each CSCF Development, including all company
assets and rights of control.

72. GSM, along with Defendants GLA West End LLLP and Ginn West End GP
were responsible for the entire amount of the $675 million CSCF.

73. First, the CSCF was secured by a $276 million mortgage on all 1,957 acres of

the GSM Land. More spccifically, the CSCF was secured by a collateral assignment of

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an intra-company note and mortgage on the GSM Land given by initial GSM developer
GLA Limited to Defendant Conduit Lender.

74. Second, Lubert-Adler and ERG pledged their ownership interests in Defendants
GLA West End LLLP and Ginn West End, which interests included all company assets,
rights over the control of future development of GSM, “developer“ status under the
“Heads of Agreement" with the Bahamian govemment, control over the GSM Homc
Owners Association, control over the GSM CC&Rs (which run with the title to Plaintiffs’
lots and govern Plaintiffs’ rights and obligations in connection with the ownership of
their lots), control over operation of GSM Club Operation, and control over the GSM
Architectural Control Board.

75. Defendant GLA West End LLLP (the ultimate parent company for the initial
developer of GSM: GLA Limited), in tum, guaranteed the obligations under the $675
million CSCF by a pledge of 65% of its interests in the immediate parent company for the
initial developer of GSM: GLA Limited) and 100% of its interests as the sole owner of
Defendant Conduit Lender, including its management and control rights in both entities.

76. Although Defendants Lubert-Adler, Lubert-Adler Fund lV and ERG guaranteed
the pledge of their interests in Defendant GLA West End LLLP and Ginn West End,
those guarantees were non-recourse as to Lubert-Adler, Lubert-Adler Fund lV and ERG.
Thus, even though the GSM development was liable for the entire $675 million CSCF,
Lubert-Adler, Lubert-Adler Fund 1V and ERG made sure they had no liability for the
$675 million CSCF debt.

77. Even though ownership and control of GSM were pledged as collateral for the

CSCF, the CSCF was not intended to - and did not - benefit GSM. To the eontrary, the

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CSCF prevented future GSM development and exposed GSM purchasers, including
Plaintiffs, to risk of a CSCF default and foreclosure.

78. From the June 8, 2006 CSCF closing, GSM was bound to the success or failure
of the U.S. CSCF Developments. lf the U.S. CSCF Developments failed to generate
sufficient cash flow to meet CSCF repayment obligations, the entire risk of default fell on
GSM.

79. ln light of the terms of the CSCF, GSM lot owners, including Plaintiffs, were
unknowingly investing in all five of the CSCF Developments.

80. Defendants GLA West End LLLP, Lubert-Adler, Dean Adler and ERG knew the
facts set forth in Paragraphs 70-79, above, but fraudulently concealed those facts from
prospective purchasers, including Plaintiffs Taliaferro, Maciag, Smith, Clemmons Group,
Carell Group, Hoyer Group and 1~` resonke Group.

F. What Happcned to the $675 Million Borrowed Under the CSCF?

81. The terms of the CSCF provided that less than a quarter of the CSCF proceeds
would be used for working capital or development purposes: only the $l65 million
synthetic revolving loan was to be maintained in a deposit account “to fund general
company and working capital needs" and “to finance a portion of the development,
construction and other costs associated with each Project."

82. On the June 8, 2006 CSCF closing date, CSCF Borrowers sent “irrevocable"
notices to Credit Suisse requesting disbursement of $510 million, F rom that amount, the
CSCF required distributions of $333,125,000 to Lubert-Adler Funds lll and IV and ERG

(“CSCF Distribution").

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83. CSCF loan proceeds were also applied “to repay “Existing lndebtedness" of the
CSCF Developments. Of roughly 8158 million used to repay Existing lndebtedness, only
about 312 million was applied to Existing Indebtedness for GSM.

84. Prior to the CSCF, the only Existing lndebtedness of GSM was a mortgage on
GSM Land for $12 million. Although that mortgage note was paid off with CSCF
proceeds, it was replaced by a mortgage note of more than $276 million on GSM Land
and liability for the entire 8675 million CSCF.

85. Of$510 million taken by CSCF Borrowers on the CSCF closing date, 64% went
to “distributions” to ERG and Lubert-Adler; 29% went to existing indebtedness for other
Ginn developments, 5% went to transaction costs, and only 2% went to existing
indebtedness for GSM.

86. Defendants GLA West End LLLP, Lubert-Adler, Dean Adler and ERG knew the
facts set forth in Paragraphs 81-85, above, but fraudulently concealed those facts from
prospective purchasers, including Plaintiffs Taliaferro, Maciag, Smith, Clemmons Group,
Carell Group, Hoyer Group and Fresonke Group.

G. What Happened to $333 Million Distributed to Lubert-Adler and ERG?

87. Defendants Lubert-Adler and ERG have never revealed what became of thc
$333 million distribution they took from the $675 million CSCF.

88. lt was common knowledge among GSM sales persons in Summer 2006 that
Bobby Ginn took a large loan and used the money to purchase a NASCAR racing team.

89. lt was initially announced in 2006 that Ginn Clubs & Resorts agreed to become
the primary sponsor for MBZ Motorsports for a limited number of races in 2006. ln July
2006, Bobby Ginn became the majority owner (80%) of MBZ Motorsports, which raced

as the NASCAR Nextel Cup series team Ginn Racing.

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90. Bobby Ginn poured millions into the NASCAR team within a short period of
time. He purchased a $2.5 million “7-post shaker,” a piece of equipment for chassis
building that only the wealthiest multi-car NASCAR teams actually owned instead of
leasing. He expanded the two-car team to three, and he purchased at least two private jets
for the team. Bobby Ginn spent tens of millions to upgrade the race team.

91. Ultimately, Bobby Ginn’s foray into NASCAR has been called the quickest and
most dramatic rise and fall of a race team in recent NASCAR history. One commentator
in mid-2007 described Bobby Ginn’s approach to NASCAR in terms that could apply
just as easily to his role in the GSM debacle:

Since owner Bobby Ginn purchased the two-team organization formerly known as
MB2 Motorsports from its previous majority owner Nelson Bowers barely a year
ago, what the NSACAR community has witnessed is an illusion, a highly
calculated gamble, based on maintaining an appearance of stability to gain
acceptance within the sport in hopes of securing significant outside financing,
money that was desperately needed to continue the charade. And it was a fairly
well orchestrated deception ...one that almost worked. The plan’s down fall was
simply that no corporate sponsor was ever found that would take the bait that

Bobby Ginn set out, and the ruse has now begun to unravel.

IV. The $675 Million CSCF Prevented Development of Amenities Planned and
Marketed for GSM

92. In a June 2005 letter to the Bahamian government, a Bahamian attorney for
GSM, Terence Gape, described Ginn Development Company’s strategy for marketing
and developing residential resort communities:

Ginn have been successful because before it develops a Project, it successfully
markets and pre-sells at least 1/3 of the lot product to be built: this guarantees the
performance of the Company to complete the Project so that buyers can have
complete confidence that what is in the “blurb" will be built.

93. Mr. Gape’s June 2005 letter stated that pre-sales were essential to Ginn’s

successful development of GSM:

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Ginn can only bc successful if it can market the Project as it does in the United
States and that is by pre-sales which in its first Launeh guarantee (in addition to
the Hartford Bond) the full performance by the Company, This process of pre-
sales in the past 10 years does attract investors who purchase lots and/or
condominiums before construction and fully pay for them happy in the knowledge
that within 1 year or 2 or 3 they can sell onward for a profit.

94. ln rcality, the CSCF payment terms (requiring that 100% of cash flow from
GSM lot sales to be used to service the CSCF debt) prevented the initial developer of
GSM from generating sufficient cash flow to support development of amenities planned
and marketed for GSM.

95. The terms of the CSCF prevented GSM from incurring any additional debt. And
because the CSCF leveraged GSM to the hilt, there was no remaining equity in GSM to
support the development of amenities planned and marketed for GSM.

96. With no funds allocated for GSM development, 100% of cash flow from GSM
lot sales obligated to debt service and a prohibition on additional debt, there was simply
no money available for the development of GSM. The terms of the CSCF made
development impossible.

97. ln light of the CSCF, GSM lot owners, including Plaintiffs, were unknowingly
investing in a development that had been looted by Lubert-Adler and ERG so those
defendants could take a $333 million distribution

98. lf Lubert-Adler, Dean Adler and ERG had not facilitated the CSCF or if those
defendants had not included GSM as part of the CSCF, GSM would have remained an
independently capitalized development, responsible for its own debt and entitled to use
its cash flow.

99. lf Lubert-Adler, Dean Adler and ERG had not facilitated the CSCF or if those

defendants had not included GSM as part of the CSCF, GSM lot sales from 2006 through

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2008 (prior to the date when sales were prohibited by HUD) would have been sufficient
to service the $l2 million mortgage on GSM Land, to fund contractually-required
infrastructure, and to begin development of the amenities that were planned and marketed
for GSM.

100. ln a February 5, 2004 letter, Bahamian attorney Terence Gape assured
the Bahamian Minister of Financial Services and Investments that GSM was more secure
because it would be owned 100% by Ginn, rather than by multiple developer parties:
“This is all very good news and will allow Ginn to have one hundred percent ownership
and control of the project with no potential internal conflicts for the future.”

101. ln light of the CSCF, GSM lot owners, including Plaintiffs, bore the
undisclosed risk of a CSCF default and a Credit Suisse foreclosure on GSM ownership
and control over future development, such that Ginn would no longer have “one hundred
percent ownership and control of the project with no potential internal conflicts for the

future."

V. Lubert-Adler lnformed Advisor_‘y Boards for Lubert-Adler Funds 111 and 1V
About the Oblectives and Risks of the 8675 Million CSCF

102. An April 24, 2006 drafi memo of Dean Adler to Advisory Boards for
Defendants LA Funds lll and lV less than two months before the June 8, 2006 CSCF
closing lists the goals of fhc CSCF including: (l) “irnrnediate mitigation of 100% of the
capital risk“ and “removal of all guarantee exposure" for Defendants LA and Bobby Ginn
by “paying off all existing recourse debt” and replacing it with debt that was recourse to
the CSCF developments; and (2) “an immediate dividend of $333,125,000” that allows
“the harvesting of profits with no risk of capital loss” and would “provide an earlier than

anticipated profit distribution."

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103. The memo also details risks inherent in the CSCF, which requires that “the
properties will all be cross-collateralized,” such that “any poorly performing properties
would be supported by the other properties”:

[T]he principal risk of any cross-collateralized financing is that Project A (e.g.,
Tesoro), though highly successful on its own, could nevertheless be lost to
foreclosure in the event that Project B (e.g., Laurelrnor) or Project C (e.g.,

Grand Bahamas-West End) do not perform well, thereby causing the Credit
Suisse loan to go into default.

lf the Projects continue to be developed separately, the owner of each Project
will be free to evaluate whether to invest more capital in that particular Project
or let it go - solely on the merits of that particular Project. Once the Projects
have become part of a cross-collateralized mortgage pool, the common owner of
Project A and Project B will, to some degree, be forced to support Project A
(performing poorly) in order to protect its equity in Project B (perfonning well).

[T]he percentage of loan proceeds which is allocated to each Project will not be
based upon a “fairness” opinion or a current fair market appraisal of each Project.
Accordingly, the investors in each Project must make a determination as to whether
the perceived benefits to that Project from the proposed financing will, on balance,
be proportionate to the potential risks assumed by that Project.

104. Recognizing the sharp downturn in the real estate markets in late 2005 and
the first two quarters of 2006, Lubert-Adler and Dean Adler grew concerned that Lubert-
Adler’s investment funds would not see returns from the Ginn-LA developments,
Unwilling to wait for legitimate retums from lot sales in those developments, Lubert-
Adler and Dean Adler pooled five independent Ginn-LA developments, “harvested” early
profits without any risk, shifted all recourse and risk for debt obligations to the CSCF
developments (ineluding GSM) and left the formerly independent developments to stand

or fall as one.

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V. Almost lmmediatelv After Closing on the $675 Million CSCF, Bobbv Ginn
Was Concerned About Defaulting on the Loan

105. Faccd with the prospect of meeting the staggering GSM lot sales
projections provided to Cushman & Wakefield in order to obtain the S675 million CSCF
(“Projected GSM Lot Sales"), only days after closing on the $675 million CSCF and
before Plaintiffs entered into their GSM lot purchase contracts, Bobby Ginn revealed his
concern that Ginn would not meet the Projected GSM Lot Sales.

106. Shortly aher the June 8, 2006 CSCF closing, there was disagreement
within the Ginn organization about how to close GSM lot sales at a sufficient rate to meet
the Projected GSM Lot Sales. A June 16, 2006 email from John Gantt, the head of sales
for Ginn Development, rcported:

ljust had the pleasure of speaking to Bobby. He asked what we are doing
sales wise at Versailles at the moment. 1 told him that we are getting ready to
bring some of the back lots on the market, exactly what l thought we all talked
about in Greenvillc. He told me in no uncertain terms that he had instructed us
to sell l 10 more Ocean lots and he said he wanted it done in the next 60 days.

He also said not to sell back lots until those l 10 were sold. He jumped my ass
over and over. Please let me know your thoughts ASAP.

107. ln a June 19, 2006 email, Myles Newell wrote to John Gantt and others,
disagreeing with the suggestion from “Bobby” that the sales team only sell Ocean lots
instead of other GSM lots. He indicated that the sales team would attempt to sell Ocean
lots, but that they should also attempt to close sales on other GSM lots with reservation
holders who would be more likely to buy the other lots (which were being offered at
lower prices). Hc concludcs:

ln summation - We have lots available for sale, we have people that want to
buy them, we need to generate a large amount of revenue in a very short period
of time - l do not know why we would not stay on this plan. lt will not take
away from trying to sell as many oceanfronts as possible. However, if we do

not release any other inventory and put all our eggs in the oceanfront lots we
have not fall back plan and our chance for failure rises drastically in my

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opinion. John, please go over this with Bobby or set up a time for all of us to
go over it with him or simply forward him my email. I will do whatever l can
to keep us on this path.

Vl. Fraudulent Concealment of the Existence and Terms of the $675 CSCF
(“Initial CSCF Fraud”)

108. ln order to make sufficient lot sales in GSM (as well as the other CSCF
Developments) to meet the repayment obligations under the $675 million CSCF, it was
essential for Defendants Ginn-LA West End LLLP, Lubert-Adler, Dean Adler and ERG
to conceal the existence and terms of the CSCF from prospective purchasers in GSM (as
well as from prospective purchasers in the other CSCF Developments).

109. Although Lubert-Adler and Dean Adler informed the Advisory Boards for
Lubert-Adler Funds 111 and lV about the objectives and risks of the $675 million CSCF,
Lubert-Adler and Dean Adler knew it was essential to conceal the existence and terms of
the CSCF from prospective GSM lot purchasers.

l 10. Because the CSCF was a new loan product with extraordinarily unique
terms, prospective purchasers in GSM, including Plaintiffs Taliaferro, Maciag, Smith,
Clemmons Group, Carell Group, Hoyer Group and Fresonke Group, had no reason to
expect that GSM was part of a $675 million credit facility that was cross~collateralized
over five different Ginn-LA developments, out of which Defendants Lubert-, Dean Adler
and ERG had taken a $333 million dist:ribution.

1 11. Defendants Ginn-LA West End LLLP, Lubert-Adler and ERG
fraudulently concealed from prospective GSM purchasers, including Plaintiffs Taliaferro,
Maciag, Smith, Clemmons Group, Carell Group, Hoyer Group and Fresonke Group, the

massive amount of the $675 million CSCF.

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112. Defendants Ginn-LA West End LLLP, Lubert-Adler, Dean Adler and
ERG knew that if prospective GSM purchasers, including Plaintiffs Taliaferro, Maciag,
Smith, Clemmons Group, Carell Group, Hoyer Group and Fresonke Group, were
informed about the massive amount of the $675 million CSCF, those prospective
purchasers would have inquired further into the terms of the CSCF.

l l3. Defendants Ginn-LA West End LLLP, Lubert-Adler, Dean Adler and
ERG fraudulently concealed from prospective GSM purchasers, including Plaintiffs
'l`aliaferro, Maciag, Smith, Clemmons Group, Carell Group, Hoyer Group and Fresonke
Group, the existence and amount of the CSCF Distribution,

114. Defendants Ginn-LA West End LLLP, Lubert-Adler, Dean Adler and
ERG knew that if prospective GSM purchasers, including Plaintiffs Taliaferro, Maciag,
Smith, Clemmons Group, Carell Group, Hoyer Group and Fresonke Group, were
informed about the existence and amount of the CSCF Distribution, those prospective
purchasers would not have purchased GSM lots.

115. Defendants Ginn-LA West End LLLP, Lubert-Adler, Dean Adler and
ERG fraudulently concealed from prospective GSM purchasers, including Plaintiffs
Taliaferro, Maciag, Smith, Clemmons Group, Carell Group, Hoyer Group and Fresonke
Group, the pledge of all ownership interests in Defendant Ginn~LA West End LLLP to
Credit Suisse as collateral for the CSCF (“Pledge of GSM lnterests").

116. Defendants Ginn-LA West End LLLP, Lubert-Adler, Dean Adler and
ERG knew that if prospective GSM purchasers, including Plaintiffs 'l`aliaferro, Maciag,

Smith, Clemmons Group, Carell Group, Hoyer Group and Fresonke Group, were

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informed about the Pledge of GSM lnterests, those prospective purchasers would not
have purchased GSM lots.

l 17 . Defendants Ginn-LA West End LLLP, Lubert-Adler, Dean Adler and
ERG fraudulently concealed from prospective GSM purchasers, including Plaintiffs
Taliaferro, Maciag, Smith, Clemmons Group, Carell Group, Hoyer Group and Fresonke
Group, the pledge of their ownership interests in the GSM Land to Credit Suisse as
collateral for the CSCF (“Pledge of GSM Land”).

118. Defendants Ginn-LA West End LLLP, Lubert-Adler, Dean Adler and
ERG fraudulently concealed from prospective GSM purchasers, including Plaintiffs
Taliaferro, Maciag, Smith, Clemmons Group, Carell Group, Hoyer Group and Fresonke
Group, the fact that that the CSCF was partially secured by a $277 million mortgage on
the GSM Land.

119. Defendants Ginn-LA West End LLLP, Lubert-Adler, Dean Adler and
ERG knew that if prospective GSM purchasers, including Plaintiffs Taliaferro, Maciag,
Smith, Clemmons Group, Carell Group, Hoyer Group and Fresonke Group, were
informed that the CSCF was partially secured by a $277 million mortgage on the GSM
Land, those prospective purchasers would not have purchased GSM lots.

120. Defendants Ginn-LA West End LLLP, Lubert-Adler, Dean Adler and
ERG fraudulently concealed from prospective GSM purchasers, including Plaintiffs
Taliaferro, Maciag, Smith, Clemmons Group, Carell Group, Hoyer Group and Fresonke
Group, the fact that CSCF loan proceeds were applied “to repay the “Existing

lndebtedness” of the five CSCF Developments.

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121. Defendants Ginn-LA West End LLLP, Lubert-Adler, Dean Adler and
ERG knew that if prospective GSM purchasers, including Plaintiffs Taliaferro, Maciag,
Smith, Clemmons Group, Carell Group, Hoyer Group and Fresonke Group, were
informed that the terms of the CSCF provided funding for five Ginn developments, not
just GSM, those prospective purchasers would not have purchased GSM lots.

122. Defendants Ginn-LA West End LLLP, Lubert-Adler, Dean Adler and
ERG fraudulently concealed from prospective GSM purchasers, including Plaintiffs
Taliaferro, Maciag, Smith, Clemmons Group, Carell Group, Hoyer Group and Fresonke
Group, the fact that only 2% of the lnitial CSCF Disbursement went to existing
indebtedness for GSM, while 64% went to the CSCF Distribution; 29% went to existing
indebtedness for four Ginn developments other than GSM, and 5% went to transaction
costs for the CSCF.

123. Defendants Ginn-LA West End LLLP, Lubert-Adlcr, Dean Adler and
ERG knew that if prospective GSM purchasers, including Plaintiffs Taliaferro, Maciag,
Smith, Clemmons Group, Carell Group, Hoyer Group and Fresonke Group, were
informed about how much of the CSCF went to GSM, those prospective purchasers
would not have purchased GSM lots.

124. Defendants Ginn-LA West End LLLP, Lubert-Adler, Dean Adler and
ERG fraudulently concealed from prospective GSM purchasers, including Plaintiffs
Taliaferro, Maciag, Smith, Clemmons Group, Carell Group, Hoyer Group and Fresonke
Group, the facts that the $675 million CSCF was to be repaid from cash flow generated

by the future “projectcd” lot sales in all five CSCF Developments and that 58% of the

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cash flow for CSCF repayment to come from future lot sales in the U.S. CSCF
Developments.

125. Defendants Ginn~LA West End LLLP, Lubert-Adler, Dean Adler and
ERG knew that if prospective GSM purchasers, including Plaintiffs Taliaferro, Maciag,
Smith, Clemmons Group, Carell Group, Hoyer Group and Fresonke Group, were
informed that that the $675 million CSCF was to be repaid from cash flow generated by
the future “projected" lot sales in all five CSCF Developments or that 58% of the cash
flow for CSCF repayment to come from future lot sales in the U.S. CSCF Developments,
those prospective purchasers would not have purchased GSM lots.

126. Defendants Ginn-LA West End LLLP, Lubert-Adler, Dean Adler and
ERG fraudulently concealed from prospective GSM purchasers, including Plaintiffs
Taliaferro, Maciag, Smith, Clemmons Group, Carell Group, Hoyer Group and Fresonke
Group, the GSM Shortfall Obligations.

127. Defendants Ginn-LA West End LLLP, Lubert-Adler, Dean Adler and
ERG knew that if prospective GSM purchasers, including Plaintiffs Taliaferro, Maciag,
Smith, Clemmons Group, Carell Group, Hoyer Group and Fresonke Group, were
informed about the GSM Shortfall Obligations, those prospective purchasers would not
have purchased GSM lots.

128. Defendants Ginn-LA West End LLLP, Lubert-Adlcr, Dean Adler and
ERG fraudulently concealed from prospective GSM purchasers, including Taliaferro,
Maciag, Smith, Clemmons Group, Carell Group, Hoyer Group and Fresonke Group, the
GSM Repayment Obligations.

129. Defendants Ginn-LA West End LLLP, Lubert-Adler, Dean Adler and

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ERG knew that if prospective GSM purchasers, including Plaintiffs Taliaferro, Maciag,
Smith, Clemmons Group, Carell Group, Hoyer Group and Fresonke Group, were
informed about the GSM Repayment Obligations, those prospective purchasers would
not have purchased GSM lots.

130. Defendants Ginn-LA West End LLLP, Lubert-Adler, Dean Adler and
ERG fraudulently concealed the GSM Repayment Obligations from prospective GSM
purchasers, including Plaintiffs Taliaferro, Maciag, Smith, Clemmons Group, Carell
Group, Hoyer Group and Fresonke Group.

131. Defendants Ginn-LA West End LLLP, Lubert-Adler, Dean Adler and
ERG knew that if prospective GSM purchasers, including Plaintiffs Taliaferro, Maciag,
Smith, Clemmons Group, Carell Group, Hoyer Group and Fresonke Group, were
informed that the terms of the CSCF precluded any future debt on GSM assets or by
Defendant Ginn-LA West End LLLP, those prospective purchasers would not have
purchased GSM lots.

132. Defendants Ginn-LA West End LLLP, Lubert-Adler, Dean Adler and
ERG fraudulently concealed the fact that that the terms of the CSCF precluded any future
debt on GSM assets or by Defendant Ginn-LA West End LLLP from prospective GSM
purchasers, including Plaintiffs Taliaferro, Maciag, Smith, Clemmons Group, Carell
Group, Hoyer Group and Fresonke Group.

V11. Fraudulent Concealment Concerning the 2007 Default and CSCF
Restructure 1“2007 CSCF Default Fraud”)

133. ln the first quarter of 2007, three months after closing on the first GSM lot
sales, Defendants CSCF Borrowers defaulted on the CSCF (“2007 Initial CSCF

Default").

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134. The 2007 Initial CSCF Default was not due to the underperformance of lot
sales in GSM. The initial GSM developer (Ginn-LA West End Limited) closed at least
194 lot sales through 2007.

135. The 2007 lnitial CSCF Default was instead due to the underperformance
of sales in other CSCF developments and particularly the Florida CSCF developments,
which created a cash flow deficit that impaired the ability of the CSCF Borrowers to meet
the payment obligations under the CSCF.

136. As a result of the CSCF lnitial Default, in the first quarter of 2007,
Defendants CSCF Borrowers, Lubert-Adler, Lubert-Adler Fund IV and Lubert-Adler
Fund V and Ginn-LA OBB entered into agreements to restructure the CSCF in order to
avoid foreclosure (“2007 CSCF Restructure”).

137. The GSM resort core land included the land on which the proposed GSM
casino, condominium tower and hotel, shops and restaurants, mega-yacht marina and golf
club were to be constructed (collectively “GSM Resort Core.”).

138. ln connection with the 2007 CSCF Restructure, the initial GSM developer
(Ginn-LA West End Limited) sold the GSM Resort Core to Defendant Ginn-LA OBB.

139. In connection with the 2007 CSCF Restructure, the initial developer of
GSM (Ginn-LA West End Limited) on July 20, 2007 entered into an Assignment
Regarding Heads of Agreement with Defendant Ginn-LA OBB that made an exclusive
assignment to Defendant Ginn-LA OBB, inter alia, of all the rights set forth in the Head
of Agreement relating to the gaming license for the GSM casino.

140. In connection with the 2007 CSCF Restructure, the Board of Directors for

the initial developer of GSM (Ginn-LA West End Limited) executed a Written Consent

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(“GLA BOD Written Consent”) on July 20, 2007. Dean Adler signed the GLA BOD
Written Consent.

141. The GLA BOD Written Consent acknowledged that GSM had been
encumbered with a mortgage as security for the $675 million CSCF and that Defendants
CSCF Borrowers had defaulted under the CSCF.

142. The GLA BOD Written Consent acknowledged that as part of the 2007
CSCF Restructure, GSM initial developer Ginn-LA West End Limited was selling the
GSM Resort Core to Defendant Ginn-LA OBB.

143. Defendants Ginn-LA West End LLLP, Lubert-Adler, Dean Adler and
ERG concealed the existence of the 2007 Initial CSCF Default and the terms of the 2007
CSCF Restructure from prospective purchasers in GSM and GSM lot owners, including
Plaintiffs.

144. Defendants Ginn-LA West End LLLP, Lubert-Adler, Dean Adler and
Ginn-LA OBB knew that if prospective GSM purchasers and GSM lot owners, including
Plaintiffs, were informed about the 2007 lnitial CSCF Default or that the GSM Resort
Core had been sold to Defendant Ginn-LA OBB, several results would occur, including
the following:

a. At least some GSM lot owners, including Plaintiffs Taliaferro, Maciag, Smith,
Clemmons Group, Carell Group, Hoyer Group and Fresonke Group, would have
inquired further into the existence and terms of the $675 million CSCF, the 2007
lnitial CSCF Default and the 2007 CSCF Restructure.

b. At least some GSM lot owners, including Plaintiffs Taliaferro, Maciag, Smith,

Clemmons Group, Carell Group, l-loyer Group and Fresonke Group, would have

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discontinued making payments under GSM lot loans with Ginn Financial
/Bahamas Sales.

c. At least some GSM lot owners, including Plaintiffs Taliaferro, Maciag, Smith,
Clemmons Group, Carell Group, Hoyer Group and Fresonke Group, would have
considered taking legal action as a result of the Initial CSCF Fraud.

d. Prospective purchasers, including Plaintiffs Taliaferro, Maciag, Smith,
Clemmons Group, Carell Group, l-loyer Group and Fresonke Group, would not

have closed on their GSM lot purchases.

VIII. Fraudulent Concealment Concerning the 2008 Default and CSCF
Restructure (“2008 CSCF Default Fraud”)

145. Notwithstanding the serious issues with cash flow and debt obligations,
Bobby Ginn conducted a press tour in January 2008 to spread the word that GSM
development was moving forward, that construction on 375 units was expected to begin
in early summer of 2008, that construction on residential lots was expected to begin later
in 2009, and that GSM would be “fully operational in our core facilities with our
amenities” in five years.

146. On June 30, 2008, Defendants CSCF Borrowers again defaulted on the
CSCF by, among other things, failing to make required payments of interest, principal,
and other amounts due under the Loans (“Final CSCF Default").

147. 'I`he Final CSCF Default was not due to the underperformance of sales in
GSM. The initial GSM developer (Ginn-LA West End Limited) had its best sales month
in the development’s history in January 2008, in what Vicc President of GSM Sales, Greg

Ulrner, characterized as a “buying frenzy.”

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148. The Final CSCF Default was instead due to the underperformance of sales
in other CSCF developments and particularly the Florida CSCF developments, which
continued to create cash flow deficits that impaired the ability of the CSCF Borrowers to
meet the payment obligations under the CSCF.

149. A Spring 2008 edition of the Ginn Sur Mer Living publication included a
front-page article entitled, “Full Speed Ahead for Ginn sur Mer,” in which Bobby Ginn
offered assurances that GSM was not subject to the real estate declines seen in the United
States: “Even though the housing and the debt markets in the U.S. and U.K. have
slipped, there is still a huge demand for The Bahamas, and we feel like this project is just
hitting the market that still wants oceanfront and all of the other services that come along
with it."

150. On July l, 2008, Ginn President Robert Gidel issued a statement
concerning the Final CSCF Default (“luly l, 2008 Gidel Statemcnt”). The July l, 2008
Gidel Statemcnt described the CSCF as “a non-recourse $675 million credit facility.”

151. This representation was false and misleading While the CSCF was non-
recourse as to Defendants Lubert-Adler and ERG, the CSCF was, in reality, full recourse
because all of the GSM Land and the ownership rights in Defendant Ginn-LA West End
LLLP were pledged as collateral for the entire $675 million CSCF.

152. The July l, 2008 Gidel Statemcnt described the CSCF as involving only
four Ginn developments: Tesoro, Quail West, Laurelmor and GSM.

153. This representation was false. The CSCF involved five Ginn

developments, including one the Gidel Statemcnt failed to acknowledge: the Hammock

Beach River Club.

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154. The July l, 2008 Gidel Statemcnt reassured GSM lot owners, “Ginn-LA
West End Limited previously set up accounts which contain the funds necessary to
complete the infrastructure and the initial 18-hole golf course at Ginn sur Mer. These
funds are not subject to the credit facility and are unaffected by the current situation,
which means there will be no disruption to the continued development of the Ginn sur
Mer project or the operations and development of Old Bahama Bay.”

155. This representation was false and misleading. Defendant Lubert-Adlcr
took out lines of credit from Barclays Bank and JP Morgan Bank in June 2007 for the
infrastructure and golf course development

156. The July l, 2008 Gidel Statemcnt also reassured GSM lot owners, “The
properties that are owned by Ginn-LA OBB, including the resort core of the Ginn sur
Mer project, are not subject to this or any other credit facility.”

157. This representation was false and misleading. The CSCF initially
included all of the GSM Land, lt was not until the 2007 CSCF Restructure following the
2007 CSCF lnitial Default that the GSM initial developer (Ginn-LA West End Limited)
sold the GSM Resort Core to Defendant Ginn-LA OBB.

158. On August 6, 2008, Bobby Ginn appeared at a press conference to discuss
the CSCF and the status of GSM development (“August 6, 2008 Bobby Ginn
Statemcnt"). The August 6, 2008 Bobby Ginn Statemcnt was intended to reassure the
general public and GSM lot owners, including Plaintiffs, that the CSCF default would not
impact the development of GSM.

159. The August 6, 2008 Bobby Ginn Statemcnt offered reassurances that,

“Under the Credit Suisse loan, there were 868 lots. Two hundred of them have been sold

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and released, so they are in the hands of the independent owners that bought them. So
the loan is only on the 668, and some undeveloped properties."

160. This representation was false and misleading The CSCF initially
included all of the GSM Land, lt was not until the 2007 CSCF Restructure following the
2007 CSCF lnitial Default that the GSM initial developer (Ginn-LA West End Limited)
sold the GSM Resort Core to Defendant Ginn-LA OBB.

l6l. The August 6, 2008 Bobby Ginn Statemcnt offered reassurances that
“when we made that [CSCF] loan, one of the things we did is we took 3124 million in
cash and put it into a bankruptcy protected escrow account, for the sole purpose of
finishing up development in those areas. We took $36 million, and we put it in escrow
for the completion of thc first golf course." The August 6, 2008 Bobby Ginn Statemcnt
offered additional reassurances that “we also wanted to be sure our property owners were
protected, so for the people who bought the 200 lots, we put in eash, outside of the CS
loan, funded by us, these escrow accounts to finish out that block of work."

162. These representations were false and misleading. By stating that money
was in escrow to “finish up development" rather than stating that money was in escrow
for the completion of the contractually required infrastructure, Ginn implied that money
had been set aside to complete development of the GSM marketed amenities. ln addition,
Defendant Lubert-Adler took out lines of credit from Barclays Bank and .lP Morgan Bank
in June 2007 for the infrastructure and golf course development

163. The August 6, 2008 Bobby Ginn Statemcnt offered reassurances that the

GSM Resort Core was “[o]utside of that credit, completely unaffected by it."

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164. This representation was false and misleading. The CSCF initially
included all of the GSM Land. lt was not until the 2007 CSCF Restructure following the
2007 CSCF lnitial Default that the GSM initial developer (Ginn-LA West End Limited)
sold the GSM Resort Core to Defendant Ginn-LA OBB.

165. The August 6, 2008 Bobby Ginn Statemcnt offered reassurances that the
CSCF was “a non-recourse loan.”

166. This representation was false and misleading While the CSCF was non-
recourse as to Defendants Lubert-Adler and ERG, the CSCF was, in reality, full recourse
because all of the GSM Land and the ownership rights in Defendant Ginn-LA West End
LLLP were pledged as collateral for the entire $675 million CSCF.

167. The August 6, 2008 Bobby Ginn Statemcnt offered reassurances that “lf
something goes wrong, and we’rc continuing to assume that it’s not, all the money to
develop all of the facilities is in place. It’s there now. It’s in an escrow account. You
can’t get any safer than that.”

168. This representation was false and misleading By stating that money was
in escrow “to develop all of the facilities" rather than stating that money was in escrow
for the completion of the contractually required infrastructure, Ginn implied that money
had been set aside to complete development of the GSM marketed amenities.

169. The August 6, 2008 Bobby Ginn Statemcnt offered reassurances that, “A
hundred percent of the proceeds of the loan go to pay off Credit Suisse, So they are

going to be fine. This loan is going to be fine.”

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170. These representations were false and misleading because the terms of the
CSCF, as outlined above, prevented the development of GSM to include the marketed
amenities. ln addition, a final default under the CSCF had occurred on June 30, 2008.

171. The August 6, 2008 Bobby Ginn Statemcnt offered reassurances that
because the GSM Resort Core was outside of the CSCF, “regardless of what happens in
the economy, the Grand Bahama Project is not in danger.“

172. This representation was false and misleading because the terms of the
CSCF, as outlined above, prevented the development of GSM to include the marketed
amenities. ln addition, a final default under the CSCF had occurred on June 30, 2008.

173. The August 6, 2008 Bobby Ginn Statemcnt offered reassurances that, “We
never want to say something that we can’t back up and we never want to sell someone
something that we can’t back up. We’re out of business if we ever do that.”

174. This representation was false and misleading because the terms of the
CSCF, as outlined above, prevented the development of GSM to include the marketed
amenities. ln addition, a final default under the CSCF had occurred on June 30, 2008.

175. As a result of the Final CSCF Default, HUD issued a directive in
September 2008 “that it would administratively undertake" a suspension of the lLSA
registrations filed for GSM and other CSCF Developments unless Ginn voluntarily
suspended those registrations (“l-lUD Suspension").

176. Ginn’s lawyer filed the voluntary suspensions on September lO, 2008 for
four of the CSCF Developments, including GSM, noting in an ensuing letter that the
suspensions “were requested due to a default under certain credit facilities for which

Credit Suisse was the agent."

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177. In October 2008, Credit Suisse notified the CS Borrower that the HUD
suspension was, itself, a default under the CSCF. ln addition, Credit Suisse took the
position that, “[t]hc Borrower’s suspension of` the HUD Registrations and the resulting
legal prohibitions on the sale of any Residential Lots resulted in a Material Advcrsc
Effect" causing a default under the CSCF.

178. Following the HUD Suspension, lot sales in GSM were legally prohibited
for approximately two years.

179. On Deccmber 19, 2008, Defendants CSCF Borrowers, Ginn-LA West End
LLLP, Ginn-LA OBB, Ginn West End, ERG, Lubert-Adler and Lubert-Adler Funds lll,
lV and V entered into agreements to again restructure development following the CSCF
Final Default (“2008 Master Restructure”).

180. ln connection with the 2008 Master Restructure, Defendants Ginn West
End, ERG, Lubert-Adlcr and Lubert-Adler Fund lV (collectively “West End Pledgors")
agreed that the CSCF was in final default, that the CSCF lenders would foreclose on the
Pledge of GSM lnterests and the Pledge of GSM Land (collectively “Wcst End Entity
lnterests”), and that the West End Pledgors had no defense to the foreclosure.

181. As a result of the Final CSCF Default, two of the United States CSCF
Developments ('l`esoro and Quail West), filed Chapter 7 bankruptcy proceedings on
Deccmber 23, 2008.

182. As a result of the Final CSCF Default, Ginn sold its interests in another
United States CSCF Development: Laurelmor.

183. Defendants Ginn-LA West End LLLP, Lubert-Adler, Dean Adler, ERG

and Ginn-LA OBB concealed the existence and terms of the 2008 Master Restructure

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from GSM lot owners, including Plaintiffs Taliaferro, Maciag, Smith, Clemmons Group,
Carell Group, Hoyer Group and Fresonke Group.

184. Defendants Ginn-LA West End LLLP, Lubert-Adler, Dean Adler and
Ginn-LA OBB fraudulently concealed the HUD Suspension from GSM lot owners,
including Plaintiffs Taliaferro, Maciag, Smith, Clemmons Group, Carell Group, l-loyer
Group and Fresonke Group.

185. Defendants Ginn-LA West End LLLP, Lubert-Adler, Dean Adler and
Ginn-LA OBB knew that if GSM purchasers, including Plaintiffs Taliaferro, Maciag,
Smith, Clemmons Group, Carell Group, Hoyer Group and Fresonke Group, were
informed about the Final CSCF Default, the HUD Suspension, the existence and terms of
the 2008 Master Restructure or the agreement of the West End Pledgors that they had no
defense to a foreclosure on the West End Entity lnterests, several results would occur,
including the following:

a. At least some GSM lot owners, including Plaintiffs Taliaferro, Maciag, Smith,
Clemmons Group, Carell Group, Hoyer Group and Fresonke Group, would have
inquired further into the terms of the CSCF and the restructuring following both
the lnitial and the Final CSCF Defaults.

b. At least some GSM lot owners, including Plaintiffs Taliaferro, Maciag,
Clemmons Group, Carell Group, Hoyer Group and Fresonke Group, would have
considered discontinued payments under GSM lot loans with Ginn Financial
/Bahamas Sales.

c. At least some GSM lot owners, including Plaintiffs Taliaferro, Maciag, Smith,

Clemmons Group, Carell Group, Hoyer Group and Fresonke Group, would have

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considered taking legal action as a result of the Initial CSCF Fraud and the 2007

CSCF Default Fraud.

1X. Fraudulent Concealment Concerning the GSM Foreclosure (“GSM
Foreclosure Fraud”)

186. As a result of the Final CSCF Default, on May 22, 2009, Credit Suisse
filed an action in the Supreme Court of the State of New York to foreclose on the CSCF
Pledge of GSM (“GSM Foreclosure”).

187. ln the GSM Foreclosure, Credit Suisse stated that the West End Entity
lnterests consisted primarily of ownership interests in Defendant Ginn-LA West End
LLLP (the ultimate parent company of the initial developer of GSM: Ginn-LA West End
Limited) and associated rights in the property, profits and distributions of that entity.

188. On Deccmber 23, 2009, an Order and Judgment of Foreclosure and Sale
was entered in the GSM Foreclosure (“GSM Foreclosure Judgment”), which set forth an
agreed Aggregate lndebtedness in the amount of $ 495,095,61 l.77.

189. The GSM Foreclosure Judgment foreclosed Defendants Ginn West End,
ERG, CSCF Borrowers, Lubert-Adler, Ginn-LA CS Holding and others from any rights
in the West End Entity lnterests and provided that such interests be sold at public auction.

190. Credit Suisse is taking steps to obtain the required Bahamian permits to
purchase the West End Entity lnterests at the public auction mandated by the GSM
Foreclosure Judgment.

191. Defendants Ginn-LA West End LLLP, Lubert-Adler, Dean Adler, ERG
and Ginn-LA OBB fraudulently concealed the GSM Foreclosure from GSM lot owners,
including Plaintiffs Taliaferro, Maciag, Smith, Clemmons Group, Carell Group, Hoyer

Group and Fresonke Group.

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192. Defendants Ginn-LA West End LLLP, Lubert-Adler, Dean Adler, ERG
and Ginn-LA OBB fraudulently concealed from GSM lot owners, including Plaintiffs
Taliaferro, Maciag, Smith, Clemmons Group, Carell Group, Hoyer Group and Fresonke
Group, the actual and potential consequences of the GSM Foreclosure on the future
development of GSM. This fraudulent concealment continues to the present date.

193. Defendants Ginn-LA West End LLLP, Lubert-Adler, Dean Adler, ERG
and Ginn-LA OBB continued the lnitial CSCS Fraud, the 2007 CSCF Default Fraud, the
2008 CSCF Default Fraud and the CSCF Foreclosure Fraud (collectively “CSCF Fraud")

to the present and the CSCF Fraud is likely to continue in the future.

X. lf Plaintiffs Had Known About the $675 Million CSCF, They Would Not
Have Purchascd GSM Lots

194. 'l`hc initial developer of GSM (Ginn-LA West End Limited) was a
subsidiary of The Ginn Companies, LLC (“Ginn”), which specializes in resort
development, From its inception in 1998, Ginn established a reputation for developing
successful private club and resort communities, which are differentiated from other
properties by their amenities.

195. The marketing materials for GSM described it as “a $4.9 billion world-
class resort community" that would include the following components: 4,400
condominium and hotel units, centered around a 20-story “grand palace"; l,800 single
family residential homesites; two signature golf courses created by lack Nicklaus and
Amold Palmer, with two clubhouses; a “mega-yaeht marina"; a “Monte Carlo-style
casino" that would be “the premier casino in the islands"; water and swim pavilions; a
beach club; a world-class salon and spa; nightclubs and restaurants; “world-class

shopping”; a “grand canal" connecting all resort areas; gardens, fountains and pools.

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196. The marketing materials for GSM marketed GSM as a “lifestyle” that
could only have been envisioned and executed by Ginn:

What we’re creating at Ginn sur Mer in The Bahamas goes beyond that of the
Grand Canal, Signature Golf Experience and even the Palace itself, What we’re
creating is an experience . . . A lifestyle that incorporates the sea, the setting, the
architecture, the amenities, the community design, the abundance of activities and
most of all the service.”

197 . The marketing materials for GSM included assurances from Bobby Ginn:

It’s been a few years since we first announced plans for a new Club & Resort on
Grand Bahama Island. Since then, we’ve envisioned and re-envisioned. We’ve
worked very closely with the Bahamian government to develop an agreement that
would benefit all those involved. The goal throughout it all was to perfect the
conditions that would allow us to envision, develop and operate the largest and
finest resort destination in the islands. lt wasn’t easy - if it was, anyone could do
it - but we got there. This vision will have a major impact on The Bahamas and
all of the Caribbean. The fact is, we would not have compromised the integrity of
our vision, nor would we have shared any plans that we weren’t 100% certain we
could both develop and operate to the level you’ve come to expect from the Ginn
Clubs & Resorts team. Af`ter reaching an agreement with the Bahamian
government, we have perfected a destination of such grand pageantry and
breathtaking awe, that we were compelled to name it for arguable the greatest
palace ever conceived and realized...the Palace at Versailles.

198. The marketing materials for GSM included assurances from Bobby Ginn
that “Ginn sur Mer promises to offer a recreational lifestyle unparalleled by any other
resort in the Caribbean and beyond."

199. The initial developer of GSM was only contractually obligated to build the
infrastructure (roads, sewer, power, water). Therefore, it was absolutely critical for
prospective purchasers to evaluate the ability of the developer to deliver on the amenities
described in the GSM marketing materials, which the initial GSM developer was not
contractually obligated to build (“GSM Marketcd Amenities”).

200. ln order to evaluate the ability of the initial GSM developer to deliver on

the GSM Marketcd Amenities, it was essential that prospective purchasers be informed of

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any circumstances that might call into doubt Bobby Ginn’s assurance that Ginn was
“100% certain” it could develop and operate everything that was marketed.

201. ln order to evaluate the ability of the initial GSM developer to deliver on
the GSM Marketcd Amenities, it was essential that prospective purchasers be informed of
any circumstances that might affect the timing of the development of GSM, including the
GSM Marketcd Amenities.

202. ln order to evaluate the ability of the initial GSM developer to deliver on
the GSM Marketcd Amenities, it was essential that prospective purchasers be informed of
any circumstances that might interfere with the initial developer’s control over the
development and operation of GSM, including the GSM Marketcd Amenities,

203. ln order to evaluate the ability of the initial GSM developer to deliver on
the GSM Marketcd Amenities, it was essential that prospective purchasers be informed of
any circumstances that might interfere with the initial developer’s ownership of` the GSM
Land.

204. ln order to evaluate the ability of the initial GSM developer to deliver on
the GSM Marketcd Amenities as well as facts that might interfere with Plaintiffs‘ future
use and enjoyment of their lots, it was essential that prospective purchasers be informed
of any circumstances that might result in a transfer of the ownership in the initial GSM
developer company.

205. lf prospective purchasers, including Plaintiffs Taliaferro, Maciag, Smith,
Clemmons Group, Carell Group, Hoyer Group and Fresonke Group, had been informed
about the existence and terms of the CSCF, as outlined above, they would not have

agreed to purchase GSM lots.

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Xl. I’laintiffs Were Immediately Damaged by the CSCF Fraud When They
Closed on Their GSM Lot Purchases

206. Plaintiffs did not discover the Credit Suisse Fraud, or that Defendants
Lubert-Adler, Dean Adler and ERG had fraudulently concealed that schemc, until on or
afier July 2008 when Ginn President Robert Gidel announced the CSCF default and
August 6, 2008 when Bobby Ginn announced the June 30, 2008 CSCF Final Default in a
video press conference.

207. The existence of the $675 million CSCF, and the risks it posed to the
development, use and control of GSM, were material to Plaintiffs’ decision whether to
purchase GSM lots.

208. Defendants Lubert-Adler, Dean Adler, Ginn-LA OBB and ERG received a
direct benefit from the Credit Suisse Fraud.

209. The Credit Suisse Fraud damaged Plaintiffs because the terms of the
CSCF made it impossible for Plaintiffs to receive the benefits of the amenities that were
marketed for GSM. But for the Credit Suisse Fraud, Plaintiffs would not have suffered
these damages.

210. The Credit Suisse Fraud damaged Plaintiffs because at the moment
Plaintiffs closed on their GSM lot purchases, Plaintiffs had unwittingly invested in a
development that was liable for a $675 million loan that was used to fiind the
development of other Ginn Communities owned by purportedly independent Ginn Project
Partnerships. But for the Credit Suisse Fraud, Plaintiffs would not have suffered these
damages.

21 l. The Credit Suisse Fraud damaged Plaintiffs because at the moment

Plaintiffs closed on their GSM lot purchases, Plaintiffs had unwittingly invested in a

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development that was liable for a $675 million loan that was used to provide a $333
million distribution to Defendants Lubert-Adler and ERG. But for the Credit Suisse
Fraud, Plaintiffs would not have suffered these damages.

212. The Credit Suisse Fraud damaged Plaintiffs because at the moment
Plaintiffs closed on their GSM lot purchases, Plaintiffs had unwittingly invested in a
development that was liable for a $675 million loan that could go into default and
foreclosure if the sales in four other Ginn United States developments did not meet sales
projections. But for the Credit Suisse Fraud, Plaintiffs would not have suffered these
damages.

213. The Credit Suisse Fraud damaged Plaintiffs because at the moment
Plaintiffs closed on their GSM lot purchases, Plaintiffs had unwittingly invested in a
development where the ownership interests in the Project Partnership that owned the
development had been pledged as collateral for a $675 million loan. But for the Credit
Suisse Fraud, Plaintiffs would not have suffered these damages.

214. The Credit Suisse Fraud damaged Plaintiffs because at the moment
Plaintiffs closed on their GSM lot purchases, Plaintiffs had unwittingly invested in a
development where the land for the development was mortgaged for $276,750,000
million of the CSCF, even though GSM did not receive that amount from the CSCF. But
for the Credit Suisse Fraud, Plaintiffs would not have suffered these damages.

215. The Credit Suisse Fraud damaged Plaintiffs because at the moment
Plaintiffs closed on their GSM lot purchases, Plaintiffs had unwittingly invested in lots
that were (at the time of closing) worth far less than Plaintiffs paid for those lots. But for

the Credit Suisse Fraud, Plaintiffs would not have suffered these damages.

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216. Plaintiffs were damaged in the amounts they have paid for their lots
because they would not have closed on their GSM lot purchases if they had known about
the Credit Suisse Fraud. But for the Credit Suisse Fraud, Plaintiffs would not have
suffered these damages.

217. But for the Credit Suisse Fraud, Plaintiffs would not have transferred
funds in payment of down payments and mortgage payments in connection with the
purchase of GSM lots.

218. Plaintiffs were each damaged in an amount that includes the amounts paid
as a down payment, cash paid at closing, interest paid at closing, tax stamps, loan fees,
property taxes paid to date, mortgage payments to date, property taxes still owed and
mortgage amounts still owed. The exact amount of each Plaintiffs damages will be
proven at trial.

219. The 2007 CSCF Default Fraud damaged Plaintiffs because Plaintiffs
would have discontinued making payments under their GSM lot loans if they had known
about the 2007 CSCF Default Fraud.

220. The 2007 CSCF Default Fraud damaged Plaintiffs because Plaintiffs
would have instituted legal action in 2007 to recover their damages if they had known
about the 2007 CSCF Default Fraud,

221. The 2008 CSCF Default Fraud damaged Plaintiffs Taliaferro, Maciag,
Clemmons Group, Carell Group, Hoyer Group and Fresonke Group because those
Plaintiffs would have discontinued making payments under their GSM lot loans if they

had known about the 2008 CSCF Default Fraud.

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222. The 2008 CSCF Default Fraud damaged Plaintiffs Taliaferro, Maciag,
Smith, Clemmons Group, Carell Group, Hoyer Group and Fresonke Group because those
Plaintiffs would have instituted legal action in 2008 to recover their damages if they had
known about the 2008 CSCF Default Fraud.

FACTUAL BACKGROUND: Ginn Financial Fraud

Xll. June 2006 to August 2006: Defendants Lubert-Adler. Lubert-Adler Fund
lV, Dean Adler and Bobbv Ginn Obtained Underlying Funding for GSM

Mortgage Loans
223. Defendant Bobby Ginn caused Defendant Ginn Financial to be formed in

June 2005, Defendant Ginn Financial became a licensed mortgage lender in the State of
Florida on October 4, 2005,

224. F rom approximately June 2005 through October 2006, Defendants Lubert-
Adler, Lubert-Adler Fund lV, Dean Adler and Bobby Ginn directed Defendant Ginn
Financial to obtain underlying funding in order to offer mortgage loans to GSM lot
purchasers.

225. On or before October 2006, Defendants Lubert-Adler, Lubert-Adler Fund
IV, Dean Adler, Ginn Financial and Bobby Ginn negotiated a credit line from
CapitalSource lntemational, lnc. (“CapitalSource Credit Line"), which credit line would
be used to fund mortgage loans offered to GSM lot purchasers.

226. On August 4, 2006 Defendants Lubert-Adler, Lubert-Adler Fund lV, Dean
Adler and Bobby Ginn formed Defendant Bahamas Sales as a single purpose entity to
serve as the lender on those GSM mortgage loans funded by the CapitalSource credit

line.
227. On October 31, 2006, Defendants Lubert-Adler, Lubert-Adlcr Fund lV,

Dean Adler, Ginn Financial and Bobby Ginn caused Defendant Bahamas Sales to enter

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into a “Receivables Loan and Security Agreement" with Capital Source (“CapitalSource
Loan Agreement”) pursuant to which Bahamas Sales obtained the Capital Source Credit
Line.

Xlll. June 2006: Defendants Lubert-Adler, Lubert-Adler Fund lV, Dean Adler

and Bobby Ginn Caused Defendant Ginn Financial to Ol`fer Mortgagg
Financing to Prospective GSM Lot Purchasers

228. Beginning in Fall 2006, Defendants Lubert-Adler, Lubert-Adler Fund lV,
Dean Adler and Bobby Ginn directed Defendant Ginn Financial to recommend to
prospective GSM lot purchasers, including Plaintiffs Taliaferro, Maciag, Clemmons
Group, Carell Group, Hoyer Group and Fresonke Group, that they could obtain mortgage
financing for GSM lot purchases through Ginn Financial.

229. Plaintiffs Todd Taliaferro and Maureen Taliaferro; Arthur and Alexandria
Maciag; Ricky Clemmons; James Carell; Thomas and Caroline Hoyer; and Dean
Fresonke, Stephanie Fresonke, David Gamer, Stephen Tormey, Denise 'I`ormey, Tom
Harvey and Sandra Harvey (“Mortgagor Plaintiffs”) undertook the mortgage loan
application process for GSM mortgage loans with loan officers purporting to represent
Ginn Financial.

230. Defendants Lubert»Adler, Lubert-Adler Fund lV, Dean Adler and Bobby
Ginn directed Defendant Ginn Financial to provide applications to Mortgagor Plaintiffs,
order appraisals for GSM lots being purchased by Mortgagor Plaintiffs, underwrite and
approve applications for Mortgagor Plaintiffs’ GSM loans, and provide Mortgagor
Plaintiffs with federally mandated mortgage loan disclosures.

231. From around August 2006 through 2007, Defendants Lubert-Adler,

Lubert-Adler Fund lV, Dean Adler and Bobby Ginn directed Ginn Financial to send

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Mortgagor Plaintiffs a variety of loan documents, all of which stated that Ginn Financial

was the lender for Mortgagor Plaintiffs’ GSM loans.

XIV. Defendants Lubert-Adler, Lubert-Adler Fund lV, Dean Adler, Bobby Ginn,
Ginn Financial and Bahamas Sales Reassured GSM Mortgagors That GSM

Mortgage Loans Offered Protections That Were Customa[y For Mortgage
Loans in the United States

232. Defendants Lubert-Adler, Lubert-Adler Fund lV, Dean Adler Ginn
Financial, Bahamas Sales, Ginn Title and Bobby Ginn took the following steps to
reassure Mortgagor Plaintiffs that even though they were purchasing land located in the
Bahamas, the mortgage financing for GSM lots would offer protections that are
customary for mortgage financing of real property in the United States:

a. Defendants Lubert-Adler, Lubert-Adler Fund lV, Dean Adler and Bobby Ginn
caused Ginn Financial to represent to Mortgagor Plaintiffs that it was offering
specialized loan programs for GSM lot purchasers.

b. Defendants Lubert-Adler, Lubert-Adler Fund lV, Dean Adler and Bobby Ginn
caused Ginn Financial to represent to Mortgagor Plaintiffs that it was the
preferred lender for GSM lot purchasers.

c. Defendants Lubert-Adler, Lubert-Adler Fund lV, Dean Adler and Bobby Ginn
caused Ginn Financial to represent to Mortgagor Plaintiffs that it was a licensed
mortgage lender in the State of Florida.

d. Defendants Lubert-Adler, Lubert-Adler Fund lV, Dean Adler and Bobby Ginn
caused Ginn Financial to represent to Mortgagor Plaintiffs that it would guide
them through the process of obtaining a mortgage loan on GSM lots, which were

located in the Bahamas.

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e. Defendants Lubert-Adler, Lubert-Adler Fund lV, Dean Adler and Bobby Ginn
caused Ginn Finaneial to represent to Mortgagor Plaintiffs that by obtaining “in-
house“ mortgage financing of their GSM lots, they could expedite the closing
process for their lot purchases.

f`. Defendants Lubert-Adler, Lubert-Adler Fund lV, Dean Adler and Bobby Ginn
caused Ginn Financial to represent to Mortgagor Plaintiffs that it would offer
80% loan-to-value mortgage loans on GSM lots, whereas Bahamian banks would
only offer mortgage loans at approximately 50% loan-to-value.

g. Defendants Lubert-Adler, Lubert-Adler Fund lV, Dean Adler and Bobby Ginn
caused Ginn Financial to represent to Mortgagor Plaintiffs that it was requiring
Mortgagor Plaintiffs to use U.S. real estate appraiser Pomeroy Appraisal
Associates of Florida, lnc. “as a condition of your loan on this property, to
represent our interests in the transaction.”

h. Defendants Lubert-Adler, Lubert-Adler Fund 1V, Dean Adler and Bobby Ginn
caused Ginn Financial, Bahamas Sales and Ginn Title to offer GSM lot
purchasers, including Plaintiffs, the option to execute closing documents for their
GSM mortgage loans in the United States, without travelling to the Bahamas:

i. For some lot closings (collectively, “GSM Delivered Closings”), Defendants
Lubert-Adler, Lubert-Adler Fund lV, Dean Adler, Ginn Financial, Ginn
Title, Bahamas Sales and Bobby Ginn caused representatives to fly to
various locations throughout the United States, as designated by the GSM lot

purchaser, in order for the purchaser to execute GSM mortgage closing

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documents. Ginn representatives personally delivered mortgage closing
documents for the following Mortgagor Plaintiffs: Hoyer.
ii. For other lot purchases (collectively, “GSM FedEx Closings"), Defendants

Lubert-Adler, Lubert-Adler Fund lV, Dean Adler, Ginn Financial, Ginn
Title, Bahamas Sales and Bobby Ginn caused Ginn representatives to send
mortgage closing documents to GSM lot purchasers for their signatures via
F ederal Express. Mortgage closing documents Were delivered via FedEx for
the following Mortgagor Plaintiffs: 'I`aliaferro, Maciag, Fresonke,
Clemmons, Carell.

Xlll. Deccmber 2006 to March 2007: Defendants Lubert-Adler, Lubert-Adler

Fund IV, Dean Adler and Bobbv Ginn Caused Mortgagor Plaintiffs’ GSM
Loans to Close with Bahamas Sales as the Lender lnstead of Ginn Financial

233. Ginn Financial did not actually close on Mortgagor Plaintiffs’ GSM loans.

234. lnstead, Defendants Lubert-Adler, Lubert-Adler Fund lV, Dean Adler and
Bobby Ginn formed Defendant Bahamas Sales as a single purpose entity in August 2006
for the purpose of serving as the lender on GSM mortgage loans funded by the Capital
Source Credit Line, including Mortgagor Plaintiffs’ GSM loans.

235. Even though Bahamas Sales closed on Mortgagor Plaintiffs’ GSM loans,
Bahamas Sales was not a licensed mortgage lender, correspondent mortgage lender or
mortgage broker in any state.

XIII. Defendants Lubert-Adler and Lubert-Adler Fund lV Had A Financial
lnterest In GSM Mortgage Loans

236. There were approximately 215 GSM lots sold. Of the GSM lots sold,

approximately 50% were cash buyers, and the others were financed in one of three ways.

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237. The majority of the GSM lots that were financed were financed through
Ginn Financial‘s mortgage division, with Bahamas Sales as the lender (“BSA Mortgage
Loans"). 'I`he BSA Mortgage Loans were offered for 80 percent loan-to-value.
CapitalSource provided financing for 64 percent of the purchase price, and Lubert-Adler
provided financing for 16 percent of the purchase price, totaling the 80 percent financing
Mortgagor Plaintiffs’ GSM Loans fell into this category.

238. Ten or fewer of the GSM lots that were financed, where mortgagors did
not satisfy the underwriting requirements cf CapitalSource, were financed through Ginn
Financial, with Lubert-Adler providing the underlying funding (“GFS Mortgage Loans").
These loans were generally financed at a loan-to-value ratio of less than 80 percent.

239. Six or seven of the GSM lots that were financed, were financed through
Bahamian banks. For these loans, Ginn Financial provided a second mortgage on
approximately 3, with Lubert-Adlcr providing the underlying funding (“GFS Second
Mortgage Loans").

240. Defendants Lubert-Adler and Lubert-Adler Fund 1V had a financial
interest in all but approximately 3-4 of the GSM lots that were financed:

a. Lubert-Adler and Lubert-Adler Fund 1V had a financial interest in thc BSA
Mortgage Loans, by virtue of the fact that Lubert-Adler (through Lubert-Adler
Fund lV) provided financing for 16 percent of the purchase price on such loans.
ln addition, Lubert-Adler agreed with CapitalSource that if any BSA Mortgage
Loans were 60-days delinquent, Lubert~Adler would be automatically required to

“buy back“ or pay off the balance of those delinquent loans.

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b. Lubert-Adler and Lubert-Adler Fund lV had a financial interest in the GFS
Mortgage Loans and the GFS Second Mortgage Loans, by virtue of the fact that
Lubert-Adler (through Fund IV) provided the funding for such loans,

e. Lubert-Adler and Lubert-Adler Fund lV held an equity interest in Bahamas
Sales,

XIV. October 2006: Ginn Financial Attempted to influence Pomerov At)r)raisal to
Provide Fraudulently lnf|ated Appraisals for GSM Lots

241. Defendants Lubert-Adler, Lubert-Adler Fund lV, Dean Adler and Bobby
Ginn caused Ginn Financial to subom the preparation of fraudulently inflated appraisals
as part of the underwriting process for Mortgagor Plaintiffs’ GSM mortgage loans,

242. ln Fall 2006, Defendants Lubert-Adler, Lubert-Adler Fund IV, Dean
Adler and Bobby Ginn caused Defendant Ginn Financial to retain Pomeroy Appraisal
Associates (“Pomeroy”) to provide appraisals for GSM lots.

243. Ginn Financial provided Pomeroy with numerous Request for Appraisal
Forms. Each Request for Appraisal included a sales price for the subject lot and several
included an “Estimated Value" figure.

244. Ginn Financial informed Pomeroy the lot sales price was the target value
for Pomeroy’s appraisals.

245. Although Pomeroy informed Ginn Financial that GSM lot prices were
significantly higher than sales prices for comparable lots outside of GSM, and that any
U.S. lender would want to see an appraisal based on comparable lot sales on Grand
Bahama lsland but outside GSM, Ginn Financial pressured Pomeroy to consider GSM

sales as the only comparables for its GSM lot appraisals.

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246. Pomeroy informed Ginn Financial that its appraisals must state they were
“subject to" completion of infrastructure and amenities Ginn was marketing for GSM. 1n
response, Ginn Financial asked Pomeroy to provide a rough draft of its appraisals for
several GSM lots, and Pomeroy provided draf`ts.

247. Aftcr reviewing Pomeroy’s draft appraisals, Ginn Financial asked
Pomeroy to remove the “subject to" comments from the drafts. Pomeroy refuscd. ln
response, Ginn Financial fired Pomeroy, Ginn Financial informed Pomeroy that Ginn
Financial’s “investors" would not accept a “subject to" valuation.

248. Subsequent to firing Pomeroy, Defendants Lubert-Adler, Lubert-Adler
Fund lV, Dean Adler and Bobby Ginn caused Ginn Financial and Bahamas Sales retained
an appraiser in the Bahamas, W. Carver Grant & Co. LTD, to provide appraisals of GSM
lots financed under the BSA Mortgage Loans, the GFS Mortgage Loans and the GFS
Second Mortgage Loans (collectively “Lubert-Adler funded GSM Mortgage Loans").

249. The Carver Grant appraisals for GSM lots included value for nonexistent
infrastructure and amenities, failed to state the appraised values were “subject to"
completion of infrastructure and amenities, failed to include any justification for the
appraised value and failed to comply with the Unifonn Standards of Professional
Appraisal Practice (“USPAP").

250. Lubert-Adler, Lubert-Adler Fund lV, Dean Adler and Bobby Ginn caused
Ginn Financial and Bahamas Sales to utilize inflated and unsupported appraisals that
did not comply with USPAP in order to justify the sale and financing of Mortgagor
Plaintiffs’ GSM lots at inflated prices based on infrastructure and amenities that did not

exist.

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251. The true market value of GSM lots, without including any value for
nonexistent infrastructure and amenities, was hundreds of thousands of dollars less than
the Carver Grant appraised values for GSM lots,

252. Lubert-Adler, Lubert-Adler Fund lV, Dean Adler and Bobby Ginn
directed Ginn Financial and Bahamas Sales to ensure that Lubert-Adler funded GSM
Mortgage Loans were approved and that Ginn Title disbursed mortgage loan funds at the
closing of financed GSM lot sales, notwithstanding their knowledge of the fact that the
Carver Grant appraisals were fraudulently inflated and based upon infrastructure and
amenities that did not exist.

253. Lubert-Adler, Lubert-Adler Fund lV, Dean Adler and Bobby Ginn
directed Ginn Financial and Bahamas Sales to rely on the fraudulently inflated Carver
Grant appraisals because:

a. Lubert-Adler and Dean Adler, as part of the CSCF Fraud and in concert with
the CSCF Defendants, provided Cushman & Wakefield in early 2006 with
projected lot sales for GSM.

b. The GSM projected lot sales provided to Cushman & Wakefield were based on
lot prices established for GSM lots. The GSM lot prices were inflated and
unsupported by any market value appraisal.

c. In order for Lubert-Adler and the CSCF Defendants to service the CSCF debt,
it was necessary to actually sell GSM lots at prices equal to or greater than the
projected lot prices provided to Cushman & Wakefield.

d. Lubert-Adler, Lubert-Adler Fund lV, Dean Adler and Bobby Ginn could not

permit “subject to” GSM lot appraisals that complied with USPAP because

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Lubert-Adler and Dean Adler knew the terms of the $675 million CSCF would
prevent the development of amenities that were marketed for GSM.

e. lt was necessary for Lubert-Adler, Lubett-Adler Fund lV, Dean Adler and
Bobby Ginn to find an appraiser to provide GSM lot appraisals that included
value for nonexistent infrastructure and amenities without making the appraised

value subject to their completion.

XV. Mortgagor Plaintiffs Were Damaged by the Appraisal Fraud Scheme
254. Defendants Lubert-Adler, Lubert-Adler Fund lV, Dean Adler and Bobby

Ginn, Ginn Financial, Ginn Title and Bahamas Sales fraudulently concealed their
scheme to utilize fraudulently inflated appraisals in support of Lubert~Adler funded GSM
Mortgage Loans and in order to justify inflated prices for all GSM lots

255. Mortgagor Plaintiffs did not discover the Appraisal Fraud Scheme, or that
Bobby Ginn, Lubert-Adler, Lubert-Adler Fund lV, Dean Adler, Ginn Financial, Ginn
Title and Bahamas Sales had fraudulently concealed that scheme, until 2010.

256. The appraised value of GSM lots, set forth in Carver Grant Appraisals, was
or should have been material to the underwriting decisions whether to approve Lubert-
Adler li.rnded GSM Mortgage Loans.

257. Lubert-Adler, Lubert-Adler Fund lV, Dean Adler and Bobby Ginn, Ginn
Financial, Bahamas Sales, and Ginn Title all received a direct benefit from the
Appraisal Fraud Scheme.

258. ln the course of underwriting, approving and issuing financing for Lubert-
Adler funded GSM Mortgage Loans, Lubert-Adler, Lubert-Adler Fund lV, Dean Adler

and Bobby Ginn, Ginn Financial, Ginn Title and Bahamas Sales had a duty to ensure the

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GSM lot appraisals supporting such loans were accurate and conducted in compliance with the
USPAP.

259. ln the course of underwriting, approving and issuing financing for Lubert-
Adler funded GSM Mortgage Loans, Lubert-Adler, Lubert-Adler Fund lV, Dean Adler
and Bobby Ginn, Ginn Financial, Bahamas Sales, and Ginn Title had a further duty to
act in good faith and with fair dealing.

260. As a result, Lubert-Adler, Lubert~Adler Fund lV, Dean Adler and Bobby
Ginn, Ginn Financial, Bahamas Sales, and Ginn Title had a duty not to subom
mischaracterization of the appraised value of any GSM lot securing a Lubert-Adler funded
GSM Mortgage Loan.

261. Mortgagor Plaintiffs had a right to rely and did rely on Lubert-Adler, Lubert-
Adler Fund IV, Dean Adler and Bobby Ginn, Ginn Financial, Bahamas Sales, and Ginn
'l`itle to meet the duties outlined in Paragraphs 258-260.

262. But for the Appraisal Fraud Scheme perpetrated by Lubert-Adler, Lubert-
Adler Fund IV, Dean Adler and Bobby Ginn, Ginn Financial, Bahamas Sales, and Ginn
Title, Mortgagor Plaintiffs would not have closed on their GSM mortgage loans.

263. But for the Appraisal Fraud Scheme, Plaintiffs would not have purchased
GSM lots or would not have purchased GSM lots at fraudulently inflated prices.

264. But for the Appraisal Fraud Scheme, Mortgagor Plaintiffs’ GSM mortgage
loans should not have been approved for the fraudulently inflated sales prices.

265. The Appraisal Fraud Scheme damaged Plaintiffs:

a. At the moment Mortgagor Plaintiffs closed on their GSM mortgage loans, they

were saddled with mortgage loans with a debt to equity ratio far in excess of

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100% because those loans were made for amounts far in excess of the market
value of the lots at the time of closing.

b. At the moment Mortgagor Plaintiffs closed on their GSM mortgage loans, the
interest on their GSM Mortgage Notes began to accrue based on the fraudulently
inflated purchase prices for those lots.

c. At the moment all Plaintiffs closed on their GSM lot purchases, they were
saddled with lots for which they had grossly overpaid.

d. At the moment all Plaintiffs closed on their GSM lot purchases, the amount of
property taxes on their GSM lots began to accrue based upon the fraudulently
inflated purchase prices for those lots. 'I`he Bahamian government continues to
calculate Plaintiffs’ property taxes based on the fraudulently inflated purchase
prices.

e. At the moment all Plaintiffs closed on their GSM lot purchases, they were
saddled with lots that were virtually unmarketable except at prices significantly
below the fraudulently inflated purchase priccs.

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The Enterprise: CSCF Ente§prise
266. Plaintiffs and Defendants Lubert-Adler, Lubert-Adler Fund 111, Lubert-

Adler Fund IV, Lubert-Adler Fund V, Dean Adler, ERG, Ginn West End, Ginn-LA
West End LLLP, Ginn-LA CS Borrower, Ginn-LA Conduit Lender, Ginn-LA OBB and
Ginn-LA CS Holding are all "persons" within the meaning of 18 U.S.C. § 1961(3).

267. Based upon Plaintiffs’ current knowledge, the following persons
constitute a group of individuals associated in fact that Plaintiffs refer to as the "CSCF

Enterprise": (l) Defendant Lubert-Adler; (2) Lubert-Adler Fund lll; (3) Lubert-Adler

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Fund lV; (4) Lubert-Adler Fund V; (5) Dean Adler; (6) Defendant Ginn West End; (7)
Defendant Ginn-LA West End LLLP; (8) Defendant Ginn-LA CS Borrower; (9)
Defendant Ginn-LA Conduit Lender; (10) Defendant Ginn-LA OBB; (1 l) Defendant
ERG; (12) Defendant Ginn-LA CS Holding and (13) other persons presently unknown to
Plaintiffs (collectively “CSCF Defendants”).

268. The CSCF Enterprise is an ongoing organization that engages in, and
which activities affect, interstate and foreign commerce. At all time relevant to the
allegations herein, the CSCF Defendants did knowingly and willfully make use of the
means and instruments of transportation and communications of interstate and foreign
commerce to communicate with one another, with Credit Suisse; with Cushman &
Wakefield, with Standard & Poor’s, with prospective purchasers of lots in GSM, with
plaintiffs and with the general public.

269. Although the CSCF Defendants participate in and are members and part of the
CSCF Enterprise, each the CSCF Defendants also has an existence separate and apart from the
CSCF Enterprise.

270. At all relevant times, the CSCF Enterprise has had an ascertainable structure
separate and apart from the pattern of racketeering activity in which the CSCF Defendants
have engaged and their conspiracy to engage in such activity. The primary decision-makers
for the CSCF Enterprise are Bobby Ginn and Dean Adler, as well as Defendants Lubert-
Adler and ERG, who directed and continue to direct the activities of the CSCF Enterprise.

271. The CSCF Defendants control and operate thc CSCF Enterprise through a
variety of means including, but not limited to, the following:

a. by investing funds to develop GSM;

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b. by agreeing to create and creating Defendants Ginn-LA CS Borrower and Ginn-
LA Conduit Lender in order to secure the CSCF;

c. by providing speculative, unreasonable and unsupported CSCF Project
Projections to GSM in support of the TNV “appraisal" necessary to obtain the
CSCF;

d. by amending the Heads of Agreement with the Bahamian government to include
1020 additional GSM residential lots and 500 additional GSM condominiums
necessary to match the CSCF Project Projections provided to GSM;

e. by secretly securing the CSCF;

f`. by secretly providing a $333 million distribution to Defendants Lubert-Adler and
ERG from the CSCF;

g. by secretly authorizing the use of the vast majority of the remaining proceeds
from the CSCF for the development of subdivisions other than GSM;

h. by collateralizing the $675 million CSCF across five CSCF Developments;

i. by pledging the GSM land as security for the CSCF;

j. by pledging the ownership interests in Defendants Ginn-LA West End LLLP and
Ginn West End as security for the CSCF;

k. by concealing the existence and terms of the 8675 million CSCF from prospective and
actual purchasers in GSM, including Plaintiffs;

l. by concealing the 2007 Initial CSCF Default from prospective and actual
purchasers in GSM, including Plaintiffs;

m. by concealing the existence and terms of the 2007 CSCF Restructure from

prospective and actual purchasers in GSM, including Plaintiffs;

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n. by concealing the impact of the 2007 CSCF Restructure from prospective and
actual purchasers in GSM, including Plaintiff`s;

o. by concealing the HUD Suspension from prospective and actual purchasers in
GSM, including Plaintiff`s;

p. by authorizing fraudulent and misleading statements about the Final CSCF
Default to plaintiffs and the general public;

q. by concealing the existence and terms of the 2008 Master Restructure from
prospective and actual purchasers in GSM, including Plaintifi`s;

r. by concealing the impact of the Final CSCF Default and 2008 Master Restructure
from prospective and actual purchasers in GSM, including Plaintiffs;

s. by concealing the GSM Foreclosure from prospective and actual purchasers in GSM,
including Plaintiff`s;

t. by concealing the impact of the GSM Foreclosure and 2008 Master Restructure
from prospective and actual purchasers in GSM, including Plaintiffs;

u. by agreeing to conceal and concealing their fraudulent scheme to engage in the
CSCF Fraud.

272. The CSCF Enterprise has pursued a course of deceit, misrepresentation,
concealment and conspiracy to defraud Plaintiffs and to collect profits from the
fraudulent, misleading and unlawful actions of the CSCF Enterprise. Those actions
began before Plaintiffs purchased their GSM lots, continue to the present and threaten
to continue into the future.

273. The formation, existence and actions of the CSCF Enterprise were and

are essential to the success of its fraudulent, misleading and unlawful actions.

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Predicate Acts- Mail, Wire and Bank Fraud: CSCF Enterprise

274. Section 1961(1) of RICO provides that "racketeering activity" includes
any act indictable under 18 U.S.C. § 1341 (relating to mail fraud) and 18 U.S.C. §
1343 (relating to wire fraud), and 18 U.S.C. § 1344 (relating to bank fraud). CSCF
Defendants have engaged and continue to engage in conduct violating each of these
laws in an effort to effectuate the CSCF Fraud,

275. For the purpose of executing and/or attempting to execute the above-
described scheme to defraud or obtain money by means of false or fraudulent pretenses,
representations or promises, CSCF Defendants in violation of 18 U.S.C. § 1341 and 1343
caused matter and things to be delivered by the Postal Service or by private or
commercial interstate carriers. These acts were done intentionally and knowingly
with the specific intent to advance CSCF Defendants' schemes, or with knowledge
that the use of mails would follow in the ordinary course of business, or that such use
could have been foreseen, even if not actually intended.

276. CSCF Defendants carried out their scheme in different states within
the United States and in other countries and could not have done so unless they used the
Postal Service or private or commercial interstate carriers.

277. The matter and things sent by CSCF Defendants via the Postal Service or
private or commercial carrier, wire or other interstate media include, but are not limited
to, the following. To the extent that details concerning the exact dates of and persons
involved in sending the following matters or things are not alleged herein, such details

are in the exclusive control of one or more of the CSCF Defendants, and/or other persons

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presently unknown to Plaintiffs:

a. Throughout 2006, Lubert-Adler, Dean Adler and ERG authorized and caused

marketing materials to be sent to the general public and prospective GSM

purchasers, including Plaintiffs, via the Postal Service or private or commercial

carrier, wire or other interstate media.

i.

ii.

The marketing materials for GSM described it as “a $4.9 billion world-class
resort community" that would include the following components: 4,400
condominium and hotel units, centered around a 20-story “grand palace";
l,800 single family residential homesites; two signature golf courses created
by lack Nicklaus and Amold Palmer, with two clubhouses; a “mega-yacht
marina"; a “Monte Carlo-style casino" that would be “the premier casino in
the islands”; water and swim pavilions; a beach club; a world-class salon and
spa; nightclubs and restaurants; “world-class shopping”; a “grand canal"
connecting all resort areas; gardens, fountains and pools. These
representations were false and misleading because Defendants Lubert-Adler,
Dean Adler and ERG knew that the terms of the CSCF would prevent the
development of GSM to include these marketed amenities.

Marketing materials for GSM included assurances from Bobby Ginn: “The
fact is, we would not have compromised the integrity of our vision, nor
would we have shared any plans that we weren’t 100% certain we could both
develop and operate to the level you’ve come to expect from the Ginn Clubs

& Resorts team.” This representation was false and misleading because

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Defendants Lubert~Adler, Dean Adler and ERG knew the terms of the CSCF
would prevent the development of GSM to include the marketed amenities.

b. On or about March 30, 2006, Defendant Ginn-LA LLLP (through the signature
of Robert Masters) executed an engagement letter with Credit Suisse for Senior
Secured Credit Facilities up to $800 million, which engagement letter was sent to
Credit Suisse and received from Credit Suisse via the Postal Service or private or
commercial carrier, wire or other interstate media.

c. On dates presently unknown to Plaintiffs but before March 31, 2006, Defendants
Lubert-, Dean Adler, ERG, Ginn-LA CS Borrower and Ginn-LA Conduit Lender
sent communications to Cushman & Wakefield via the Postal Service or private
or commercial carrier, wire or other interstate media in the form of the CSCF
Project Projections and other related information relating to the projections of
future lot sales in the CSCF Developments. This information was speculative,
overstated and unsupported by historical information This information was
intended to cause Cushman & Wakefield to issue TNV “appraisals" for each of
the CSCF Developments in amounts that would justify the 3675 million CSCF.

d. On or about April 18, 2006, Defendants Lubert-Adler and ERG caused
information to be sent to the Delaware Department of State, Division of
Corporations via the Postal Service or private or commercial carrier, wire or
other interstate media for the formation of Defendant Ginn-LA CS Borrower.
Defendant Ginn-LA CS Borrower was formed for the sole purpose of acting as a

borrower under the CSCF.

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e. On or about April 24, 2006 Dean Adler prepared a draft memo to the Advisory
Boards for Lubert-Adler Funds 111 and lV summarizing the goals and risks of the
CSCF. Defendant Adler knew the draft memo would be transmitted to others at
Lubert-Adlcr and Ginn via the Postal Service or private or commercial carrier,
wire or other interstate media.

f. On or about May 5, 2006, Defendants Lubert-Adler and ERG caused information
to be sent to the Delaware Department of State, Division of Corporations via the
Postal Service or private or commercial carrier, wire or other interstate media for
the formation of Defendant Ginn-LA Conduit Lender. Defendant Ginn-LA
Conduit Lender was formed for the sole purpose of acting as a borrower under
the CSCF.

g. On dates presently unknown to Plaintiffs but before May 10, 2006, Defendants
Lubert-Adler, Dean Adler, ERG, Ginn-LA CS Borrower and Ginn-LA Conduit
Lender sent communications to Credit Suisse Securities (USA) LLC via the
Postal Service or private or commercial carrier, wire or other interstate media
authorizing Credit Suisse to act as sole arranger for the CSCF.

h. On or about May 10, 2006, Defendants Ginn-LA CS Borrower and Ginn-LA
Conduit Lender (through the signatures of Chairman, CEO and President Bobby
Ginn), sent to Credit Suisse Securities (USA) LLC via the Postal Service or
private or commercial carrier, wire or other interstate media a Company
Authorization letter that was intended to be included in a Confidential

information Memorandum on the CSCF.

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i.

On dates presently unknown to Plaintiffs but before May 10, 2006, Defendants
Lubert-Adler, Dean Adler, ERG and Ginn-LA West End LLLP caused
information to be sent to Credit Suisse Securities (USA) LLC via the Postal
Service or private or commercial carrier, wire or other interstate media, for
purposes of inclusion in a Confidential Information Memorandum on the CSCF.
Such information included but was not limited to Property Overviews for each of
the CSCF Developments; background information on Defendant Lubert-Adler
and its prior investment in Ginn developments; background information on The
Ginn Companies and their prior developments; financial information on the
sources and uses of the CSCF; a debt repayment summary; and information on
the legal structure and ownership of the entities involved in the CSCF, including
Defendants Lubert-Adler, ERG, Ginn West End, Ginn-LA Conduit Lender,
Ginn-LA CS Borrower, and Ginn-LA West End LLLP, as well as the individual
partnerships acting as the developers for the CSCF Developments.

On or about May 10, 2006 Defendants Ginn-LA CS Borrower and Ginn-LA
Conduit Lender requested that the Confidential lnforrnation Memorandum be
distributed “to such financial institutions as you may deem appropriate to include
in the Credit Facilities,” with knowledge that the Confidential lnforrnation
Memorandum would be transmitted via the Postal Service or private or
commercial carrier, wire or other interstate media.

On dates presently unknown to Plaintiffs but before May 10, 2006, Defendants
Lubert-Adler, Dean Adler, ERG and Ginn-LA West End LLLP caused Powers of

Attorney for the purchase of GSM lots to be sent to prospective GSM purchasers

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via the Postal Service or private or commercial carrier, wire or other interstate
media, These Defendants intended to induce prospective purchasers to execute
the Powers of Attorney and submit $50,000 deposits for GSM lots without
informing any prospective purchasers about the $675 million CSCF. These
Defendants intended to utilize the executed Powers of Attorney and $50,000
deposits to submit to Credit Suisse as evidence of impending lot sales in GSM as
part of these Defendants’ efforts to obtain the CSCF.

l. On dates presently unknown to Plaintiffs but before May 10, 2006, Defendants
Lubert-Adler, Dean Adler, ERG and Ginn-LA West End LLLP did receive
executed Powers of Attorney for the purchase of GSM lots, along with $50,000
deposits, from prospective GSM purchasers via the Postal Service or private or
commercial carrier, wire or other interstate media. These Defendants intended to
utilize the executed Powers of Attomey and $50,000 deposits to submit to Credit
Suisse as evidence of impending lot sales in GSM as part of these Defendants’
efforts to obtain the CSCF.

m. On dates presently unknown to Plaintiffs but before May 10, 2006, Defendants
Lubert-Adler, Dean Adler, ERG and Ginn-LA West End LLLP caused marketing
and other communications to be sent to prospective GSM purchasers via the
Postal Service or private or commercial carrier, wire or other interstate media.
These Defendants used such communications to induce prospective purchasers to
execute reservation agreements for GSM lots and to pay $ l ,000-$2,000 deposits
to secure such lot reservations without informing any prospective purchasers

about the $675 million CSCF. These Defendants intended to utilize the lot

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reservation agreements and deposits to submit to Credit Suisse as evidence of
impending lot sales in GSM as part of these Defendants’ efforts to obtain the
CSCF.

n. On dates presently unknown to Plaintiffs but before May 10, 2006, Defendants
Lubert-Adle, Dean Adler r, ERG and Ginn-LA West End LLLP did receive
executed GSM lot reservation agreements, along with $l,000-$2,000 deposits,
from prospective GSM purchasers via the Postal Service or private or
commercial carrier, wire or other interstate media, These Defendants intended to
utilize the lot reservation agreements and deposits to submit to Credit Suisse as
evidence of impending lot sales in GSM as part of these Defendants’ efforts to
obtain the CSCF.

o. On dates presently unknown to Plaintiffs but before May 16, 2006, Defendants
Lubert-Adler, Dean Adler, ERG and Ginn-LA West End LLLP caused financial
and other information on the terms of the CSCF and on Defendants Ginn-LA CS
Borrower and Ginn-LA Conduit Lender to be sent to the rating agency Standard
& Poor’s via the Postal Service or private or commercial carrier, wire or other
interstate media, Those Defendants intended this information to induce Standard
& Poor’s to provide credit ratings for Defendants Ginn-LA CS Borrower and
Ginn-LA Conduit Lender that would support the issuance of the CSCF. Those
Defendants provided this information to Standard & Poor’s with knowledge that
it would be used for ratings statements that would be transmitted via the Postal

Service or private or commercial carrier, wire or other interstate media to Credit

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Suisse, to other parties involved in the CSCF, and to Standard & Poor’s
subscribers

p. On or about May 16, 2006, Defendants Lubert-Adler, Dean Adler, ERG, Ginn-
LA West End LLLP, Ginn-LA CS Borrower and Ginn-LA Conduit Lender
received from Standard & Poor’s via the Postal Service or private or commercial
carrier, wire or other interstate media, a document entitled “Research Update:
lssuer Credit, Bank Loan Ratings Assigned to Ginn-LA CS Borrower and Ginn-
LA Conduit Lender.”

q. On or about May 22, 2006 Dean Adler prepared another version of the draft
memo to the Advisory Boards for Lubert-Adler Funds 111 and IV summarizing
the goals and risks of the CSCF. Defendant Adler knew the draft memo would
be transmitted to others at Lubert-Adler and Ginn via the Postal Service or
private or commercial carrier, wire or other interstate media.

r. On or about June 2, 2006 Dean Adler prepared a final memo to the Advisory
Boards for Lubert-Adler Funds 111 and IV summarizing the goals and risks of the
CSCF. Defendant Adler knew the final memo would be transmitted to the
Advisory Boards and to others at Lubert-Adler and Ginn via the Postal Service or
private or commercial carrier, wire or other interstate media.

s. On June 8, 2006, Defendants Lubert-Adler, Dean Adler and ERG caused the
initial developer of GSM (Ginn-LA West End Limited) to execute an
Amendment to the Heads of Agreement with the Bahamian govemment, with
knowledge that it would be transmitted via the Postal Service or private or

commercial carrier, wire or other interstate media to other signatories of the

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agreement for execution in counterparts. This Amendmcnt to the Heads of
Agreement increased the number of residential lots from 870 to l,890 and the
number of condominium units from 4,400 to 4,900 in order to match the CSCF
Project Projections provided to GSM.

t. On June 8, 2006, Defendants Lubert-Adler, Dean Adler and ERG caused
Defendants Ginn-LA CS Borrower and Ginn-LA Conduit Lender to execute a
$525 Million Senior First Lien Credit Facility with Credit Suisse, Cayman
lslands Branch and Credit Suisse Securities (USA) LLC, with knowledge that it
would be transmitted via the Postal Service or private or commercial carrier, wire
or other interstate media to other signatories of the agreement for execution in
counterparts.

u. On June 8, 2006, Defendants Lubert-Adler, Dean Adler and ERG caused
Defendants Ginn-LA CS Borrower and Ginn-LA Conduit Lender to execute a
$150 Million Senior Second Lien Credit Facility with Credit Suisse, Cayman
lslands Branch and Credit Suisse Securities (USA) LLC, with knowledge that it
would be transmitted via the Postal Service or private or commercial carrier, wire
or other interstate media to other signatories of the agreement for execution in
counterparts.

v. On June 8, 2006, Defendants Lubert-Adler, Dean Adler and ERG caused
Defendants Ginn-LA CS Borrower and Ginn-LA Conduit Lender to execute a
Disbursement Authorization letter sent to Credit Suisse Cayman lslands via the
Postal Service or private or commercial carrier, wire or other interstate media,

The Disbursement Authorization instructed and authorized Credit Suisse to

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disburse a total of$$ 10 million via wire to several different banks in the United
States, the Bahamas and the Caribbean. The Disbursement Authorization
authorized, among other payments, the $333 million distribution to Defendants
Lubert-Adler and ERG, and payments of the project expenses of CSCF
Developments other than GSM. Of the $510 million covered by the
Disbursement Authorization, only 2% was authorized to pay the existing
indebtedness of GSM.

w. On June 8, 2006, Defendants Lubert-Adler, Lubert-Adlcr Fund 111, Lubert-Adler
Fund lV, Dean Adler, Ginn-LA CS Holding and ERG caused Defendants Ginn
West End to execute a Pledge Agreement and Limited Recourse Guaranty (First
Lien) on behalf of Defendant Ginn-LA West End LLLP, with knowledge that it
would be transmitted via the Postal Service or private or commercial carrier, wire
or other interstate media to other signatories of the agreement for execution in
counterparts. With the Pledge Agreement, Defendant Ginn-LA West End LLLP
guaranteed the obligations under the $675 million CSCF by a pledge of 65% of
its interests in Ginn-LA lntemational Business Company, Ltd. and 100% of its
interests as the sole owner of Defendant Ginn-LA Conduit Lender, including its
management and control rights in both entitics.

x. On June 8, 2006, Defendants Lubert-Adler, Lubert-Adler Fund lll, Lubert-Adler
Fund IV, Dean Adler, Ginn-LA CS Holding and ERG caused Defendants Ginn
West End to execute a Pledge Agreement and Limited Recourse Guaranty
(Second Lien) on behalf of Defendant Ginn-LA West End LLLP, with

knowledge that it would be transmitted via the Postal Service or private or

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commercial carrier, wire or other interstate media to other signatories of the
agreement for execution in counterparts. With the Pledge Agreement, Defendant
Ginn-LA West End LLLP guaranteed the obligations under the $675 million
CSCF by a pledge of 65% of its interests in Ginn-LA lntemational Business
Company, Ltd. and 100% of its interests as the sole owner of Defendant Ginn-
LA Conduit Lender, including its management and control rights in both entities.
On or about June 9, 2006, Defendants Lubert~Adler, Dean Adler, ERG and Ginn-
LA Conduit Lender sent to an agent in the Bahamas via the Postal Service or
private or commercial carrier, wire or other interstate media a Supplemental
chenture for $276,750,000 between Ginn-LA West End Ltd and Defendant
Ginn-LA Conduit Lender for recording at the Registry of Records in the City of
Nassau in the Commonwealth of the Bahamas.

On or about June 9, 2006, Defendants Lubert-Adler, Dean Adler, ERG and Ginn-
LA Conduit Lender sent to an agent in the Bahamas via the Postal Service or
private or commercial carrier, wire or other interstate media a Promissory Note
for $276,750,000 between Ginn-LA West End Limited and Defendant Ginn-LA
Conduit Lender for recording at the Registry of Records in the City of Nassau in
the Commonwealth of the Bahamas,

On dates presently unknown to Plaintiffs but before March 27, 2007, Defendants
Lubert-Adler, Dean Adler, ERG and Ginn-LA West End LLLP caused financial
and other information on the CSCF and on Defendants Ginn-LA CS Borrower
and Ginn-LA Conduit Lender to be sent to the rating agency Standard & Poor’s

via thc Postal Service or private or commercial carrier, wire or other interstate

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media, These Defendants intended this information to induce Standard & Poor’s
to provide credit ratings for Defendants Ginn-LA CS Borrower and Ginn-LA
Conduit Lender that would support the issuance of the CSCF. These Defendants
provided this information to Standard & Poor’s with knowledge that it would be
used for ratings statements that would be transmitted via the Postal Service or
private or commercial carrier, wire or other interstate media to Credit Suisse, to
other parties involved in the CSCF, and to Standard & Poor’s subscribers

On or about March 27, 2007, Defendants Lubert-Adler, Dean Adler, ERG, Ginn-
LA West End LLLP, Ginn-LA CS Borrower and Ginn-LA Conduit Lender
received from Standard & Poor’s via the Postal Service or private or commercial
carrier, wire or other interstate media, a document entitled “Ginn-LA Ratings on
Watch Ncg; Exposure to Florida’s Sofi Resort Real Estate Market Cited.”

On dates presently unknown to Plaintiffs but before May l, 2007, Defendants
Lubert-Adler, Dean Adler, ERG and Ginn-LA West End LLLP caused financial
and other information on the CSCF and on Defendants Ginn-LA CS Borrower
and Ginn-LA Conduit Lender to be sent to the rating agency Standard & Poor’s
via the Postal Service or private or commercial carrier, wire or other interstate
mcdia. These Defendants intended this information to induce Standard & Poor’s
to provide credit ratings for Defendants Ginn-LA CS Borrower and Ginn-LA
Conduit Lender that would support the issuance of the CSCF. These Defendants
provided this information to Standard & Poor’s with knowledge that it would be

used for ratings statements that would be transmitted via the Postal Service or

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dd.

Ce.

private or commercial carrier, wire or other interstate media to Credit Suisse, to
other parties involved in the CSCF, and to Standard & Poor’s subscribers.

On or about May l, 2007, Defendants Lubert-Adler, Dean Adler, ERG, Ginn-
LA West End LLLP, Ginn-LA CS Borrower and Ginn-LA Conduit Lender
received from Standard & Poor’s via the Postal Service or private or commercial
carrier, wire or other interstate media, a document entitled “Ginn-LA Ratings
Lowered on Weak Sales and Diminished Recovery Prospects; Still on Watch
Neg."

On or about July 16, 2007, in connection with the 2007 CSCF Default and
Restructure, Defendants Ginn-LA OBB, Lubert-Adler, Dean Adler and Lubert-
Adler Fund V applied for irrevocable standby line of credit from JP Morgan
Chase Bank in the amount of $35.6 million (“JP Morgan Line of Credit"), which
application was sent to .1P Morgan via the Postal Service or private or
commercial carrier, wire or other interstate media,

On or about July 19, 2007, Defendants Lubert-Adler, Dean Adler and Lubert-
Adler Fund V caused .1P Morgan to issue a July 19, 2007 Letter of Credit
Deutschc Bank as Beneficiary, which Letter of Credit was sent to Deutschc Bank
via the Postal Service or private or commercial carrier, wire or other interstate
media. The JP Morgan Line of Credit was intended to fund the construction of a
golf course at GSM. Notwithstanding the August 2008 assurance given by
Bobby Ginn that Ginn and Defendant Lubert-Adler had, in 2006, created and
funded a “bankruptcy protected" escrow account to insure the completion of

GSM infrastructure and a GSM golf course, the JPMorgan Line of Credit was

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necessary because Ginn and Lubert-Adler never created such escrow account in

2006 and did not have funds set aside in escrow for the completion of the GSM

golf course,

gg. On or about July 16, 2007, in connection with the 2007 CSCF Default and

Restructure, Defendants Lubert-Adler, Dean Adler and Lubert-Adler Fund IV
applied for an irrevocable standby line of credit from Barclays Bank in the
amount of 8109.1 million (“Barclays Line of Credit") which application was sent
to Barclays via the Postal Service or private or commercial carrier, wire or other

interstate media.

hh. On or about .luly 20, 2007, Defendants Lubert-Adler, Dean Adler and Lubert-

ii.

Adler Fund 1V caused Barclays to issue a July 20, 2007 Letter of Credit Deutschc
Bank as Beneficiary, which Letter of Credit was sent to Deutschc Bank via the
Postal Service or private or commercial carrier, wire or other interstate media.
The Barclays Line of Credit was intended to fund the construction of
infrastructure in GSM. Notwithstanding the August 2008 assurance given by
Bobby Ginn that Ginn and Defendant Lubert-Adler had, in 2006, created and
funded a “bankruptey protected” escrow account to insure the completion of
GSM infrastructure and a GSM golf course, the Barclays Line of Credit was
necessary because Ginn and Lubert-Adler never created such escrow account in
2006 and did not have funds set aside in escrow for the completion of the GSM
infrastructure.

On or about July 17, 2007, in connection with the 2007 CSCF Default and

Restructure, Defendant Ginn West End executed a Security Agreement in

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connection with the Barclays Line of Credit, which Security Agreement was sent
to Barclays via the Postal Service or private or commercial carrier, wire or other
interstate media.

jj. On dates unknown to Plaintiffs but alier July 20, 20078, Defendant Ginn-LA
OBB made one or more requests for draws on the JPMorgan Line of Credit via
facsimile, wire or other interstate media, These draws were necessary to fund the
construction of the GSM golf course, Notwithstanding the August 2008
assurance given by Bobby Ginn that Ginn and Defendant Lubert-Adlcr had, in
2006, created and funded a “bankruptey protected” escrow account to insure the
completion of GSM infrastructure and a GSM golf course, draws on the
JPMorgan Line of Credit were necessary because Defendant Lubert-Adler took
out lines of credit from Barclays Bank and JP Morgan Bank in June 2007 for the
infrastructure and golf course development,

kk. On dates unknown to Plaintiffs but after July 20, 2007, Defendant Lubert-Adler
made one or more requests for draws on the Barclays Line of Credit via
facsimile, wire or other interstate media, These draws were necessary to fund the
construction of the GSM infrastructure. Notwithstanding the August 2008
assurances given by Bobby Ginn that Ginn and Defendant Lubert-Adler had, at
the time of the June 8, 2006 CSCF closing, created and funded a “bankruptey
protected” escrow account to insure the completion of GSM infrastructure and a
GSM golf course, draws on the Barclays Line of Credit were necessary because
Defendant Lubert-Adler took out lines of credit from Barclays Bank and .1P

Morgan Bank in June 2007 for the infrastructure and golf course development,

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ll.

On or about July 20, 2007, in connection with the 2007 CSCF Default and
Restructure, Defendants Lubert-Adler, Dean Adler, ERG and Ginn-LA OBB
caused the initial developer of GSM (Ginn-LA West End Limited) to convey to
Defendant Ginn-LA OBB those portions of the GSM Land that were designated
for the GSM Resort Core, with knowledge that the documents executed in
connection with this purchase would be transmitted via the Postal Service or
private or commercial carrier, wire or other interstate media to other signatories
of the agreement for execution in counterparts, to Credit Suisse and to other
parties involved with the CSCF. The fact that the GSM Resort Core land had
been conveyed to Defendant Ginn-LA OBB was concealed from GSM

prospective and actual purchasers, including Plaintiffs.

mm. On or about July 20, 2007, in connection with the 2007 CSCF Default

and Restructure, Defendant Ginn-LA OBB entered into an Assignment
Regarding Heads of Agreement with the initial developer of GSM, with
knowledge that it would be transmitted via the Postal Service or private or
commercial carrier, wire or other interstate media to other signatories of the
agreement for execution in counterparts, to Credit Suisse and to other parties
involved with the CSCF. 'l`he Assignment Regarding Heads of Agreement
assigned to Defendant Ginn-LA OBB, in exchange for $10.00, certain of the
rights, benefits and obligations under the Heads of Agreement with the Bahamian
govemment, including but not limited to an exclusive assignment of all rights
relating to the gaming license of the GSM casino. The fact that rights under the

Heads of Agreement, including but not limited to rights relating to the gaming

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license for the GSM casino, were assigned to Defendant Ginn-LA OBB, was
concealed from GSM prospective and actual purchasers, including Plaintiffs.

On or about luly 20, 2007, in connection with the 2007 CSCF Default and
Restructure, Defendants Lubert-Adler (Dean Adler, as a Director of the initial
GSM developer (Ginn-LA West End Limited)) and ERG (through Bobby Ginn,
as a Director of Ginn-LA West End Limited) executed a Written Consent of the
Board of Directors of Ginn-LA West End Limited, with knowledge that it would
be transmitted via the Postal Service or private or commercial carrier, wire or
other interstate media to other signatories of the agreement for execution in
counterparts. The Written Consent acknowledged that: (l) GSM had been
encumbered as security for the $675 million CSCF; (2) the CSCF Borrowers had
defaulted under the CSCF; and (3) as part of the 2007 CSCF Restructure
following the 2007 CSCF lnitial Default, the initial developer of GSM had
conveyed the GSM Resort Core to Defendant Ginn-LA OBB. All of these facts
were being concealed from GSM prospective and actual purchasers, including
Plaintiffs.

On dates presently unknown to Plaintiffs but before January ll, 2008,
Defendants Lubert-Adler, Dean Adler, ERG and Ginn-LA West End LLLP
caused financial and other information on the CSCF and on Defendants Ginn-LA
CS Borrower and Ginn-LA Conduit Lender to be sent to the rating agency
Standard & Poor’s via the Postal Service or private or commercial carrier, wire
or other interstate media. 'I`hese Defendants intended this information to induce

Standard & Poor’s to provide credit ratings for Defendants Ginn-LA CS

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Borrower and Ginn-LA Conduit Lender that would support the issuance of the
CSCF. These Defendants provided this information to Standard & Poor’s with
knowledge that it would be used for ratings statements that would be transmitted
via the Postal Service or private or commercial carrier, wire or other interstate
media to Credit Suisse, to other parties involved in the CSCF and to Standard &
Poor’s subscribers

On or about January ll, 2008, Defendants Lubert-Adler, Dean Adler, ERG,
Ginn-LA West End LLLP, Ginn-LA CS Borrower and Ginn-LA Conduit Lender
received from Standard & Poor’s via the Postal Service or private or commercial
carrier, wire or other interstate media, a document entitled “Ginn-LA Corporate
Credit and Bank Loan Ratings Lowered and Off Watch; Outlook Negative.”

On dates presently unknown to Plaintiffs but before January 14, 2008,
Defendants Lubert-Adler, Dean Adler, ERG and Ginn-LA West End LLLP
caused financial and other information on the CSCF and on Defendants Ginn-LA
CS Borrower and Ginn-LA Conduit Lender to be sent to the rating agency
Standard & Poor’s via the Postal Service or private or commercial carrier, wire
or other interstate mcdia. These Defendants intended this information to induce
Standard & Poor’s to provide credit ratings for Defendants Ginn-LA CS
Borrower and Ginn-LA Conduit Lender that would support the issuance of the
CSCF. These Defendants provided this information to Standard & Poor’s with
knowledge that it would be used for ratings statements that would be transmitted

via the Postal Service or private or commercial carrier, wire or other interstate

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media to Credit Suisse, to other parties involved in the CSCF and to Standard &
Poor’s subscribers.

On or about January 14, 2008, Defendants Lubert-Adler, Dean Adler, ERG,
Ginn-LA West End LLLP, Ginn-LA CS Borrower and Ginn-LA Conduit Lender
received from Standard & Poor’s via the Postal Service or private or commercial
carrier, wire or other interstate media, a document entitled “Ginn-LA’s Secured
Financings."

On or about January 2008, Defendants Lubert-Adler, Dean Adler and ERG
authorized and caused Bobby Ginn to conduct a press tour in January 2008, with
knowledge that Bobby Ginn’s statements would be transmitted to the general
public and GSM purchasers, including Plaintiffs, via the Postal Service or private
or commercial carrier, wire or other interstate media, The January 2008 press
tour was intended to conceal the existence and the impact of the CSCF on GSM,
by spreading the word that GSM development was moving forward, that
construction on 375 units was expected to begin in early summer of 2008, that
construction on residential lots was expected to begin later in 2009, and that
GSM would be “fully operational in our core facilities with our amenities" in five
ycars. These representations were false and misleading because Defendants
Lubert-Adlcr and ERG knew that the terms of the CSCF, as outlined above,
would preclude the development of GSM to include the marketed amenities. ln
addition, Defendants Lubert-Adler and ERG knew that a default under the CSCF
had already occurred in 2007 and that a final default under the CSCF was likely

in light of the slowdown in the U.S. real estate market.

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Defendants Lubert-Adler, Dean Adler and ERG authorized and caused a Spring
2008 edition of the Ginn Sur Mer Lr'ving publication to be sent to GSM
purchasers transmitted via the Postal Service or private or commercial carrier,
wire or other interstate media. The publication included a front-page article
entitled, “Full Speed Ahead for Ginn sur Mer,” in which Bobby Ginn offered
assurances that GSM was not subject to the real estate declines seen in the United
States: “Even though the housing and the debt markets in the U.S. and U.K. have
slipped, there is still a huge demand for The Bahamas, and we feel like this
project is just hitting the market that still wants oceanfront and all of the other
services that come along with it.” These representations were false and
misleading because Defendants Lubert-Adler and ERG knew that the terms of
the CSCF, as outlined above, would preclude the development of GSM to
include the marketed amenities. ln addition, Defendants Lubert-Adler and ERG
knew that a default under the CSCF had already occurred in 2007 and that a final
default under the CSCF was likely in light of the slowdown in the U.S. real estate
market.

On dates presently unknown to Plaintiffs but before June 24, 2008, Defendants
Lubert-Adler, Dean Adler, ERG and Ginn-LA West End LLLP caused financial
and other information on the CSCF and on Defendants Ginn-LA CS Borrower
and Ginn-LA Conduit Lender to be sent to the rating agency Standard & Poor’s
via the Postal Service or private or commercial carrier, wire or other interstate
media, These Defendants intended this information to induce Standard & Poor’s

to provide credit ratings for Defendants Ginn-LA CS Borrower and Ginn-LA

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Conduit Lender that would support the issuance of the CSCF. These Defendants
provided this information to Standard & Poor’s with knowledge that it would be
used for ratings statements that would be transmitted via the Postal Service or
private or commercial carrier, wire or other interstate media to Credit Suisse, to
other parties involved in the CSCF and to Standard & Poor’s subscribers

vv. On or about June 24, 2008, Defendants Lubert-Adler, Dean Adler, ERG, Ginn-
LA West End LLLP, Ginn-LA CS Borrower and Ginn-LA Conduit Lender
received from Standard & Poor’s via the Postal Service or private or commercial
carrier, wire or other interstate media, a document entitled “Ginn-LA Credit
Ratings Lowered to ‘CC’ On Near-Terrn Liquidity Pressure."

ww. On or about July l, 2008, Defendants Lubert-Adler, Dean Adler and
ERG authorized and caused Ginn President Robert Gidel to issue a statement
conceming the Final CSCF Default (“.luly l, 2008 Gidel Statement"). The July
1, 2008 Gidel Statemcnt was intended to reassure the general public and GSM lot
owners, including Plaintiffs, that the CSCF default would not impact the
development of GSM.

i. The July l, 2008 Gidel Statemcnt described the CSCF as “a non-recourse
$675 million credit facility.” This representation was false and misleading
While the CSCF was non-recourse as to Defendants Lubert-Adler and
ERG, the CSCF was, in reality, full recourse because all of the GSM Land
and the ownership rights in Defendant Ginn-LA West End LLLP were

pledged as collateral for the entire $675 million CSCF.

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ii.

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iv.

The July 1, 2008 Gidel Statemcnt described the CSCF as involving only
four Ginn developments; Tesoro, Quail West, Laurclmor and GSM. This
representation was false. The CSCF involved five Ginn developments,
including one the Gidel Statement failed to acknowledge: Hammock
Beach River Club.

The July l, 2008 Gidel Statemcnt reassured GSM lot owners, “Ginn-LA
West End Limited previously set up accounts which contain the funds
necessary to complete the infrastructure and the initial 18-hole golf course
at Ginn sur Mer. These funds are not subject to the credit facility and arc
unaffected by the current situation, which means there will be no disruption
to the continued development of the Ginn sur Mer project or the operations
and development of Old Bahama Bay.” This representation was false and
misleading Defendant Lubert-Adler took out lines of credit from Barclays
Bank and JP Morgan Bank in June 2007 for the infrastructure and golf
course development

The July l, 2008 Gidel Statemcnt reassured GSM lot owners, “The
properties that are owned by Ginn-LA OBB, including the resort core of the
Ginn sur Mer project, are not subject to this or any other credit facility.”
This representation was false and misleading The CSCF initially included
all of the GSM Land. It was not until the 2007 CSCF Restructure
following the 2007 CSCF Initial Default that the initial developer Ginn-LA

West End sold the GSM Resort Core to Defendant Ginn-LA OBB.

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xx. On dates presently unknown to Plaintiffs but before July 2, 2008, Defendants
Lubert-Adler, Dean Adler, ERG and Ginn-LA West End LLLP caused financial
and other information on the CSCF and on Defendants Ginn-LA CS Borrower
and Ginn-LA Conduit Lender to be sent to the rating agency Standard & Poor’s
via the Postal Service or private or commercial carrier, wire or other interstate
media, These Defendants intended this information to induce Standard & Poor’s
to provide credit ratings for Defendants Ginn-LA CS Borrower and Ginn-LA
Conduit Lender that would support the issuance of the CSCF. These Defendants
provided this information to Standard & Poor’s with knowledge that it would be
used for ratings statements that would be transmitted via the Postal Service or
private or commercial carrier, wire or other interstate media to Credit Suisse, to
other parties involved in the CSCF and to Standard & Poor’s subscribers

yy. On or about .luly 2, 2008, Defendants Lubert-Adler, Dean Adler, ERG, Ginn-
LA West End LLLP, Ginn-LA CS Borrower and Ginn-LA Conduit Lender
received from Standard & Poor’s via the Postal Service or private or commercial
carrier, wire or other interstate media, a document entitled “Ginn-LA Ratings cut
to ‘D' on Missed Principal and lnterest Payments."

zz. On or about August 6, 2008, Defendants Lubert-Adler, Dean Adler and ERG
authorized and caused Bobby Ginn to appear at a press conference to discuss the
CSCF and the status of GSM development (“August 6, 2008 Bobby Ginn
Statement"). The August 6, 2008 Bobby Ginn Statemcnt was intended to
reassure the general public and GSM lot owners, including Plaintiffs, that the

CSCF default would not impact the development of GSM.

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i.

ii.

The August 6, 2008 Bobby Ginn Statemcnt offered reassurances that,
“Under the Credit Suisse loan, there were 868 lots. Two hundred of them
have been sold and released, so they are in the hands of the independent
owners that bought them. So the loan is only on the 668, and some
undeveloped properties.” This representation was false and misleading
The CSCF initially included all of the GSM Land. It was not until the 2007
CSCF Restructure following the 2007 CSCF Initial Default that the initial
GSM developer (Ginn-LA West End Limited) sold the GSM Resort Core to
Defendant Ginn-LA OBB.

The August 6, 2008 Bobby Ginn Statemcnt offered reassurances that “when
we made that [CSCF] loan, one of the things we did is we took 8124
million in cash and put it into a bankruptcy protected escrow account, for
the sole purpose of finishing up development in those areas We took $36
million, and we put it in escrow for the completion of the first golf course."
The August 6, 2008 Bobby Ginn Statemcnt offered additional reassurances
that “we also wanted to be sure our property owners were protected, so for
the people who bought the 200 lots, we put in cash, outside of the CS loan,
funded by us, these escrow accounts to finish out that block of work.”
These representations were false and misleading By stating that money
was in escrow for the “purpose of finishing up development” rather than
stating that money was in escrow for the completion of the contractually
required infrastructure, Ginn implied that money had been set aside to

complete development of the GSM marketed amenities. ln addition,

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iii.

iv.

Defendant Lubert-Adler took out lines of credit from Barclays Bank and JP
Morgan Bank in June 2007 for the infrastructure and golf course
development.

The August 6, 2008 Bobby Ginn Statemcnt offered reassurances that the
GSM Resort Core was “[o]utside of that credit, completely unaffected by
it.” This representation was false and misleading The CSCF initially
included all of the GSM Land, lt was not until the 2007 CSCF Restructure
following the 2007 CSCF lnitial Default that the initial GSM developer
(Ginn-LA West End Limited) sold the GSM Resort Core to Defendant
Ginn-LA OBB.

The August 6, 2008 Bobby Ginn Statemcnt offered reassurances that the
CSCF was “a non-recourse loan.” While the CSCF was non-recourse as to
Defendants Lubert-Adler and ERG, the CSCF was, in reality, full recourse
because all of the GSM Land and the ownership rights in Defendant Ginn-
LA West End LLLP were pledged as collateral for the entire $675 million
CSCF.

The August 6, 2008 Bobby Ginn Statemcnt offered reassurances that “lf
something goes wrong, and we’re continuing to assume that it’s not, all the
money to develop all of the facilities is in place. It’s there now. It’s in an
escrow account. You can’t get any safer than that.” This representation
was false and misleading By stating that money was in escrow “to develop
all of the facilities” rather than stating that money was in escrow for the

completion of the contractually required infrastructure, Ginn implied that

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vi.

vii.

viii.

money had been set aside to complete development of the GSM marketed
amenities.

The August 6, 2008 Bobby Ginn Statemcnt offered reassurances that, “A
hundred percent of the proceeds of the loan go to pay off Credit Suisse. So
they are going to be fine. This loan is going to be fine.” These
representations were false and misleading because the terms of the CSCF,
as outlined above, prevented the development of GSM to include the
marketed amenities. ln addition, a default under the CSCF had already
occurred in 2007, and a final default under the CSCF was likely in light of
the slowdown in the U.S. real estate market,

The August 6, 2008 Bobby Ginn Statemcnt offered reassurances that
because the GSM Resort Core was outside of the CSCF, “regardless of
what happens in the economy, the Grand Bahama Project is not in danger.”
These representations were false and misleading because the terms of the
CSCF, as outlined above, prevented the development of GSM to include
the marketed amenities. ln addition, a default under the CSCF had already
occurred in 2007, and a final default under the CSCF was likely in light of
the slowdown in the U.S. real estate market.

The August 6, 2008 Bobby Ginn Statemcnt offered reassurances that, “We
never want to say something that we can’t back up and we never want to
sell someone something that we can’t back up. We’re out of business if we
ever do that.” These representations were false and misleading because the

terms of the CSCF, as outlined above, prevented the development of GSM

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to include the marketed amenities. ln addition, a default under the CSCF

had already occurred in 2007, and a final default under the CSCF was

likely in light of the slowdown in the U.S. real estate market.

aaa. On or about September 10, 2008, Defendants Lubert-Adler, Dean
Adler, ERG and Ginn-LA West End LLLP caused to be sent to the U.S.
Department of Housing and Urban Development (“HUD”) via the Postal Service
or private or commercial carrier, wire or other interstate media a request for the
suspension of the Statements of Record filed with HUD for four of the CSCF
Developments: 'I`esoro, Quail West, Laurelmor and GSM. The suspension of the
HUD Registrations resulted in a legal prohibition on the sale of any residential
lots in the affected CSCF Developments. Defendants Lubert-Adler, ERG and
Ginn-LA West End LLLP concealed from GSM lot owners, including Plaintiffs,
the fact of the suspension of the HUD Registrations as well as the legal
prohibition on the sale of any residential lots in GSM. The HUD suspension
came about when, as a result of the Final CSCF Default, HUD issued a directive
in September 2008 “that it would administratively undertake" a suspension of the
ILSA registrations filed for GSM and other CSCF Developments unless Ginn
voluntarily suspended those registrations
bbb. On or about October 3, 2008, Defendants Lubert-Adler, Dean Adler,

Ginn-LA CS Borrower and Ginn-LA Conduit Lender received from Credit
Suisse Cayman lslands (with a Madison Avenue address in New York, New
York) via the Postal Service or private or commercial carrier, wire or other

interstate media a letter containing notice of “outstanding Defaults and Evcnts of

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Default with respect to certain obligations" of Defendants Ginn-LA CS Borrower
and Ginn-LA Conduit Lender under the CSCF. Defendants Lubert-Adler, ERG
and Ginn-LA West End LLLP concealed from GSM lot owners, including
Plaintiffs, the fact of this 2008 default under the CSCF.

ccc. On Deccmber 19, 2008, Defendants CSCF Borrowers, Ginn-LA West
End LLLP, Ginn-LA OBB, Ginn West End, ERG, Lubert-Adler and Lubert-
Adler Funds lll, IV and V entered into the 2008 Master Restructure following the
CSCF Final Default with knowledge that those agreements would be transmitted
via the Postal Service or private or commercial carrier, wire or other interstate
media to other signatories of the agreement for execution in counterparts. ln
connection with the 2008 Master Restructure, Defendants Ginn West End, ERG
and Lubert-Adler (collectively “West End Pledgors") agreed that thc CSCF was
in final default, that the CSCF lenders would foreclose on the Pledge of GSM
lnterests and the Pledge of GSM Land and that the West End Pledgors had no
defense to the foreclosure.

ddd. As a result of the Final CSCF Default, on May 22, 2009, Credit Suisse
filed an action in the Supreme Court of the State of New York to foreclose on the
CSCF Pledge of GSM (“GSM Foreclosure"), which was transmitted via the
Postal Service or private or commercial carrier, wire or other interstate media to
Defendants Lubert-Adler, Dean Adler, Lubert-Adler Fund lll, Lubert-Adler Fund
lV, Ginn West End, Ginn-LA West End, Ginn-LA CS Holding, Ginn-LA

Conduit Lender, Ginn-LA CS Borrower and ERG,

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eee. On Deccmber 23, 2009, an Order and Judgment of Foreclosure and Sale
was entered in the GSM Foreclosure (“GSM Foreclosure Judgment") setting
forth an agreed Aggregate lndebtedness in the amount of $ 495,095,611.77,
which was transmitted via the Postal Service or private or commercial carrier,
wire or other interstate media to Defendants Lubert-Adler, Lubert-Adler Fund
111, Lubert-Adler Fund lV, Dean Adler, Ginn West End, Ginn-LA CS Holding,
Ginn-LA West End LLLP, Ginn-LA Conduit Lender, Ginn-LA CS Borrower and
ERG.

278. Other matters and things sent through or received from the Postal Service
and private or commercial carrier or interstate wire transmission by CSCF Defendants
included information or communication in furtherance of or necessary to effectuate the
schemes outlined above, Details concerning the exact dates of and persons involved in
sending the following matters or things is in the exclusive control of one or more of the
CSCF Defendants, and/or other persons and are presently unknown to Plaintiffs:

a. Defendants Lubert-Adler (through Dean Adler and others) and ERG (through
Bobby Ginn and others) engaged in a series of` communications via mail and/or
wire among themselves and with others prior to March 20, 2006 concerning
whether to respond to Credit Suisse communications offering its new synthetic
term loan product.

b. Defendants Lubert-Adler (through Dean Adler and others) and ERG (through
Bobby Ginn and others) engaged in a series of communications via mail and/or

wire among themselves and with others prior to March 30, 2006 concerning

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whether to engage Credit Suisse in order to secure “senior secured credit
facilities in an aggregate principal amount of up to $800 million."

c. Defendants Lubert-Adler (through Dean Adler and others) and ERG (through
Bobby Ginn and others) engaged in a series of communications via mail and/or
wire among themselves and with others prior to March 30, 2006 concerning why
it would be beneficial to engage Credit Suisse in order to secure “senior secured
credit facilities in an aggregate principal amount of up to $800 million."

d. Defendants Lubert-Adler (through Dean Adler and others) and ERG (through
Bobby Ginn and others) engaged in a series of communications via mail and/or
wire among themselves and with others prior to May 12, 2006 concerning the
amount of money they intended to borrow and/or would attempt to borrow under
the “senior secured credit facilities in an aggregate principal amount of up to
$800 million."

e. Defendants Lubert-Adler (through Dean Adler and others) and ERG (through
Bobby Ginn and others) engaged in a series of communications via mail and/or
wire among themselves and with others prior to May 12, 2006 concerning how
they would structure the “senior secured credit facilities in an aggregate principal
amount of up to $800 million," including what entities would serve as
“borrowers" thereundcr.

f`. Defendants Lubert-Adler (through Dean Adler and others) and ERG (through
Bobby Ginn and others) engaged in a series of communications via mail and/or
wire among themselves and with others prior to May 12, 2006 concerning how

they would structure the “senior secured credit facilities in an aggregate principal

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amount of up to $800 million," including how much money Defendants Lubert-
Adlcr and ERG would receive as a “distribution” thereunder.

g Defendants Lubert-Adlcr (through Dean Adler and others) and ERG (through
Bobby Ginn and others) engaged in a series of communications via mail and/or
wire among themselves and with others prior to May 12, 2006 concerning how
they would structure the “senior secured credit facilities in an aggregate principal
amount of up to 8800 million,“ including how the credit facilities would be
collateralized.

h. Defendants Lubert-Adler (through Dean Adler and others) and ERG (through
Bobby Ginn and others) engaged in a series of communications via mail and/or
wire among themselves and with others prior to May 12, 2006 concerning how
they would structure the “senior secured credit facilities in an aggregate principal
amount of up to $800 million,” including how proceeds of the credit facilities
would be utilized.

i. Defendants Lubert-Adlcr (through Dean Adler and others) and ERG (through
Bobby Ginn and others) engaged in a series of communications via mail and/or
wire among themselves and with others prior to May 12, 2006 concerning how
they would structure the “scnior secured credit facilities in an aggregate principal
amount of up to $800 million," including what Ginn-LA developments would be
part of the credit facilities transaction.

j . Defendants Lubert-Adler (through Dean Adler and others) and ERG (through
Bobby Ginn and others) engaged in a series of communications via mail and/or

wire among themselves and with others prior to June 8, 2006 concerning the

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exact terms of the $675 million CSCF, including how much money Defendants
Lubert-Adler and ERG would receive as a “distribution” from the CSCF
proceeds

k. Defendants Lubert-Adler (through Dean Adler and others) and ERG (through
Bobby Ginn and others) engaged in a series of communications via mail and/or
wire among themselves and with others prior to June 8, 2006 concerning the
exact terms of the $675 million CSCF, including how the CSCF would be
collateralizcd.

l. Defendants Lubert-Adler (through Dean Adler and others) and ERG (through
Bobby Ginn and others) engaged in a series of communications via mail and/or
wire among themselves and with others prior to June 8, 2006 concerning the
exact terms of the $675 million CSCF, including how the proceeds of the CSCF
would be utilized.

m. Defendants Lubert-Adler (through Dean Adler and others) and ERG (through
Bobby Ginn and others) engaged in a series of communications via mail and/or
wire among themselves and with others prior to June 8, 2006 concerning the
exact terms of the $675 million CSCF, including what Ginn-LA developments
would be part of the CSCF transaction.

n. Defendants Lubert-Adler (through Dean Adler and others) and ERG (through
Bobby Ginn and others) engaged in a series of communications via mail and/or
wire among themselves and with others prior to June 8, 2006 concerning the
exact terms of the $675 million CSCF, including other topics presently unknown

to Plaintiffs but in the exclusive knowledge and control of Defendants

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o. Defendants Lubert-Adler (through Dean Adler and others) and ERG (through
Bobby Ginn and others) engaged in a series of communications via mail and/or
wire among themselves and with others from January 2006 to the present
concerning whether and how to keep the existence and terms of the $675 million
CSCF a secret from prospective GSM purchasers, including Plaintiffs,

p. Defendants Lubert-Adler (through Dean Adler and others) and ERG (through
Bobby Ginn and others) engaged in a series of communications via mail and/or
wire among themselves and with others from January 2006 to the present
concerning what persons would be informed about the existence and terms of the
$675 million CSCF.

q. Defendants Lubert-Adler (through Dean Adler and others) and ERG (through
Bobby Ginn and others) engaged in a series of communications via mail and/or
wire among themselves and with others from January 2006 to August 2008
concerning how to make sufficient sales at the CSCF Developments in order to
avoid default under the $675 million CSCF.

r. Defendants Lubert-Adler (through Dean Adler and others) and ERG (through
Bobby Ginn and others) engaged in a series of communications via mail and/or
wire among themselves and with others concerning the Total Net Value appraisal
conducted by GSM.

s Defendants Lubert-Adler (through Dean Adler and others) and ERG (through
Bobby Ginn and others) engaged in a series of communications via mail and/or
wire among themselves and with others concerning the Project Projections for

the CSCF Developments that were provided to Cushman & Wakefield.

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t. Defendants Lubert-Adler (through Dean Adler and others) and ERG (through
Bobby Ginn and others) engaged in a series of communications via mail and/or
wire among themselves and with others concerning the number of GSM lots to
be included in the GSM Project Projections

u. Defendants Lubert-Adler (through Dean Adler and others) and ERG (through
Bobby Ginn and others) engaged in a series of communications via mail and/or
wire among themselves and with others concerning the prices for GSM lots to be
included in the GSM Project Projections.

v. Defendants Lubert-Adler (through Dean Adler and others) and ERG (through
Bobby Ginn and others) engaged in a series of communications via mail and/or
wire among themselves and with others concerning whether the Project
Projections for any of the CSCF Developments were overstated.

w. Defendants Lubert-Adler (through Dean Adler and others) and ERG (through
Bobby Ginn and others) engaged in a series of communications via mail and/or
wire among themselves and with others concerning whether sufficient lot sales
would be made in order to meet the Project Projections for any of the CSCF
Developments.

x. Defendants Lubert-Adler (through Dean Adler and others) and ERG (through
Bobby Ginn and others) engaged in a series of communications via mail and/or
wire among themselves and with others concerning the likelihood of a default

under the CSCF.

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279. CSCF Defendants' misrepresentations acts of concealment and failures to
disclose were knowing and intentional and made for the purpose of deceiving Plaintiffs
and obtaining their money and property for CSCF Defendants' gain.

280. CSCF Defendants either knew or recklessly disregarded the fact that the
misrepresentations and omissions described above were material.

281. As a result of CSCF Defendants' fraudulent schemes, they obtained money
and property belonging to Plaintiffs, and Plaintiffs have been injured in their business or
property by the CSCF Defendants' overt acts of mail and wire fraud.

Pattern of Racketeering Activitv - CSCF Enterprise

282. CSCF Defendants did knowingly, willfully and unlawfully conductor
participate in the affairs of the CSCF Enterprise through a "pattem of racketeering
activity," within the meaning of 18 U.S.C. §§ 1961(1), 1961(5) and l962(c). The
racketeering activity was made possible by CSCF Defendants' regular and repeated use
of the facilities and services of the CSCF Enterprise.

283. CSCF Defendants committed or aided and abetted in the commission of at
least two acts of racketeering activity, i.e., indictable violations of 18 U.S.C. §§ 1341,
1343 and 1344 as described above, within the past five years (“Racketeering Acts”).
CSCF Defendants' Racketeering Acts were not isolated, but rather had the same or
similar purpose, participants method of commission, and victims, including Plaintiffs

284. Each of the Racketeering Acts were committed pursuant to and in
furtherance of the CSCF Enterprisc, and such acts include false and misleading
statements as well as other uses of the mails and wire transmissions to firrther and

execute Defendants’ scheme and artifice to defraud.

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285. The multiple Racketeering Acts that CSCF Defendants committed and/or
conspired to commit and/or aided and abetted the commission of, were related to each
other and amount to and pose a threat of continued racketeering activity, and therefore
constitute a "pattem of racketeering activity" as defined in 18 U.S.C. § 1961(5).

RICO Allegations

The Enterprise: Ginn Financial Enterprise
286. Plaintiffs and Defendants Lubert-Adler, Lubert-Adler Fund lV, Dean

Adler, Ginn Financial, Ginn Title, Bahamas Sales and Bobby Ginn are all "persons"
within the meaning of 18 U.S.C. § 1961(3).

287. Based upon Plaintiffs’ current knowledge, the following persons
constitute a group of individuals associated in fact that Plaintiffs refer to as the "Ginn
Financial Enterprise": (l) Ginn Financial; (2) Bahamas Salcs; (3) Lubert-Adler; (4)
Lubert-Adler Fund IV; (5) Dean Adler; (6) Bobby Ginn; (7) Ginn Title; and (8) other
persons presently unknown to Plaintiffs (collectively “Appraisal Fraud Defendants”).

288. 'l`he Ginn Financial Enterprise is an ongoing organization that engages in,
and which activities affect, interstate and foreign commerce. At all time relevant to the
allegations herein, Appraisal Fraud Defendants did knowingly and willfully make use of
the means and instruments of transportation and communications of interstate and foreign
commerce to communicate with one another, with prospective purchasers of lots in GSM and
with applicants for GSM lot financing

289. Although Appraisal Fraud Defendants participate in and are members and
part of the Ginn Financial Enterprise, each Appraisal Fraud Defendant also has an existence

separate and apart li‘om the Ginn Financial Enterprise.

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290.

At all relevant times, the Ginn Financial Enterprise has had an ascertainable

structure separate and apart nom the pattern of racketeering activity in which Appraisal Fraud

Defendants have engaged and their conspiracy to engage in such activity. The primary

decision-maker for the Ginn Financial Enterprise were and are Defendants Bobby Ginn,

Lubert-Adler and Lubert-Adler Fund lV, who directed and continue to direct the activities of

the Ginn Finaneial Enterprise.

291.

Appraisal Fraud Defendants control and operate the Girm Financial

Enterprise through a variety of means including, but not limited to, the following:

a.

b.

Offering GSM purchasers lot loans through Defendant Ginn Financial;

Suboming inflated and unsupported appraisals intended to support the Mortgagor
Plaintiffs’ GSM mortgage loans;

Utilizing inflated and unsupported appraisals to inflate the lot prices for all GSM lots;
Agreeing to facilitate and facilitating the approval and closing of the
Mortgagor Plaintiffs’ GSM mortgage loans at amounts that were based upon
the inflated and unsupported appraisals;

Agreeing to conceal and concealing their fraudulent scheme to set inflated
and unsupported sales prices for GSM lots;

Agreeing to conceal and concealing their fraudulent scheme to facilitate the
approval and closing of the Mortgagor Plaintiffs’ GSM mortgage loans at
amounts that were based upon the inflated and unsupported appraisals; and
Agreeing to conceal and concealing their fraudulent scheme to subom inflated and
unsupported appraisals intended to support the Mortgagor Plaintiffs’ GSM

mortgage loans; and

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h. Agreeing to conceal and concealing their fraudulent scheme to subom inflated and
unsupported appraisals to inflate the lot prices for all GSM lots.

292. The Ginn Financial Enterprise has pursued a course of deceit,
misrepresentation, concealment and conspiracy to defraud GSM lot purchasers and to
collect profits from the fraudulent, misleading and unlawful actions of the Ginn
Financial Enterprise. Those actions began before Plaintiffs contracted to buy GSM
lots, continue to the present and threaten to continue into the f`uture.

293. The formation, existence and actions of the Ginn Financial Enterprise
were and are essential to the success of its fraudulent, misleading and unlawful actions

Predicate Acts- Mail, Wire and Bank Fraud: Ginn Financial Enterprise

294. Section l96l(l) of RICO provides that "racketeering activity" includes
any act indictable under 18 U.S.C. § 1341 (relating to mail fraud) and 18 U.S.C. §
1343 (relating to wire fraud), and 18 U.S.C. § 1344 (relating to bank fraud).
Appraisal Fraud Defendants have engaged and continue to engage in conduct
violating each of these laws in an effort to effectuate the mortgage fraud scheme.

295. For the purpose of executing and/or attempting to execute the above-
described scheme to defraud or obtain money by means of false or fraudulent pretenses,
representations or promises, Appraisal Fraud Defendants in violation of 18 U.S.C. § 1341
caused matter and things to be delivered by the Postal Service or by private or
commercial interstate carriers These acts were done intentionally and knowingly
with the specific intent to advance Appraisal Fraud Defendants' schemes, or with

knowledge that the use of mails would follow in the ordinary course of business, or

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that such use could have been foreseen, even if not actually intendcd.

296. Appraisal Fraud Defendants carried out their scheme in different states
within the United States and in other countries and could not have done so unless they
used the Postal Service or private or commercial interstate carriers

297. For the purpose of executing and/or attempting to execute the above-
described scheme to defraud or obtain money by means of false or fraudulent pretenses,
representations or promises, Appraisal Fraud Defendants in violation of 18 U.S.C. § 1343
did transmit, cause to be transmitted and/or received by means of wire communication in
interstate and foreign commerce, various writings, signs, and signals These acts were
done intentionally and knowingly with the specific intent to advance Appraisal Fraud
Defendants’ scheme, or with knowledge that the use of wire communications would
follow in the ordinary course of business or that such use could have been foreseen, even
if not actually intended.

298. The matter and things sent by Appraisal Fraud Defendants via the Postal
Service or private or commercial carrier, wire or other interstate media include, but are
not limited to, the following:

a. On or about June 10, 2005, Defendants Bobby Ginn, Lubert-Adler and Lubert-
Adler Fund lV authorized and caused information to be sent to the Georgia
Secretary of State, Corporations Division via the Postal Service or private or
commercial carrier, wire or other interstate media for the formation of Defendant
Ginn Financial as a Georgia Limited Liability Company.

b. On or about June 14, 2005, Defendants Bobby Ginn, Lubert-Adler and Lubert-

Adler Fund lV authorized and caused information to be sent to the Florida

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Secretary of State via the Postal Service or private or commercial carrier, wire or
other interstate media in support of an Application for Authorization to Transact
Business in the State of Florida on behalf of Defendant Ginn Financial.

c. On or about January 12, 2006, Defendants Bobby Ginn, Lubert-Adler and
Lubert-Adler Fund lV authorized and caused a 2006 Limited Liability
Corporation Annual Report to be filed with the Florida Secretary of State via the
Postal Service or private or commercial carrier, wire or other interstate media for
Defendant Ginn Financial.

d. Beginning on or about June 2006, Defendants Lubert-Adlcr, Lubert-Adler Fund
lV, Dean Adler and Bobby Ginn caused a website for Ginn Financial to include
the following representations:

i. Ginn Financial was “The Preferred Lender For Ginn Buyers.“
ii. Ginn Financial was “a licensed mortgage lender in the State of Florida;
License # L100000558788."
iii. “ln-l-Iouse Financing” through Ginn 1-` inancial “Eliminates Communication
lssues and Expedites the Closing Process.”
iv. Ginn Financial offered “80% Loan to Value" “Stated lncome” mortgage
loans for qualified GSM lot purchasers
v. Ginn Financial offered “specialized loan programs for Ginn sur Mer."
vi. Because “financing options are different in the Bahamas than in the United
States," Ginn Financial would assist GSM lot purchasers through the

process of obtaining mortgage loans

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e. From around August 2006 through 2007, Defendants Bobby Ginn, Lubert-Adler,
Dean Adler and Lubert-Adler Fund IV authorized and caused Defendant Ginn
Financial to recommend to Mortgagor Plaintiffs via the Postal Service or private
or commercial can'ier, wire or other interstate media that they could obtain 80%
loan-to-value financing for GSM lot purchases through Defendant Ginn Financial.

f. On or about August 7, 2006, Defendants Bobby Ginn, Lubert-Adler and Lubert-
Adler Fund lV authorized and caused information to be sent to the Delaware
Department of State, Division of Corporations via the Postal Service or private or
commercial carrier, wire or other interstate media for the formation of Defendant
Bahamas Sales Associate, LLC. Defendant Bahamas Sales was a single-purpose
entity formed for the sole purpose of closing on those GSM mortgage loans
provided to Mortgagor Plaintiffs, even though Defendant Bahamas Sales was not
a licensed mortgage lcndcr, correspondent mortgage lender or mortgage broker in
any statc.

g Beginning in Fall 2006, Defendant Ginn Financial engaged in a series of
telephone conversations with Richard Allen at Pomeroy Appraisal:

i. ln Fall 2006, CEO McCracken telephoned Richard Allen to introduce
himself and inform Mr. Allen that Ginn Financial was looking for a firm to
provide appraisals for lots in GSM.

ii. ln Fall 2006, Defendant Ginn Financial engaged in a series of emails with
Pomeroy to arrange for Ginn Financial to fly the Pomeroy partners to the

Bahamas on a Ginn corporate jet for a l-day trip to meet with various Ginn

sales and development peoplc.

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iii.

iv.

vi.

ln Fall 2006, after Ginn Financial flew the Pomeroy partners to the
Bahamas, CEO McCracken and others from Ginn Flnancial spoke with
Richard Allen about the scope of the engagement and agreed upon
Pomeroy’s charges for conducting appraisals At that time, Defendants
Bobby Ginn, Lubert-Adler, Dean Adler and Lubert-Adler Fund lV
authorized and caused Ginn Financial to engage Pomeroy to provide
appraisals for GSM lots.

ln Fall 2006 after retaining Pomeroy, Defendant Ginn Financial engaged in
a series of emails with Pomeroy to arrange for Ginn Financial to fly the
Pomeroy partners to the Bahamas on a Ginn corporate jet for an
investigatory trip to evaluate the real estate market, evaluate GSM, inspect
comparable sales properties and speak with local realtors

ln Fall 2006, representatives of Ginn Financial spoke with Richard Allen
by telephone. Defendants Bobby Ginn, Lubert-Adler, Dean Adler and
Lubert-Adler Fund lV authorized and caused Defendant Ginn Financial to
inform Pomeroy that the lot sales price was the target value for appraisals
to be issued by Pomeroy, During the call, Pomeroy informed Ginn
Financial that Pomeroy’s analysis would not be based on any
predetermined target value, estimate or contract pricc. Pomeroy informed
Ginn Financial that the market value determined by Pomeroy’s appraisals
would be based only upon Pomeroy’s investigation and analysis

ln Fall 2006, representatives of Ginn Financial spoke with Richard Allen

by telephone after Pomeroy began putting together a rough analysis for the

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vii.

viii.

GSM lot appraisals During this call, Pomeroy discussed with Ginn
Financial how lot prices in GSM measured against comparable sales on
Grand Bahama lsland but outside GSM (“Grand Bahama Comparables").
Pomeroy informed Ginn Financial that GSM lot prices were significantly
higher than sales prices for the Grand Bahama Comparables Those on the
call agreed the Grand Bahama Comparables did not offer amenities that
Ginn was marketing for GSM. Pomeroy informed Ginn Financial that
Pomeroy would need to establish the difference between lots with and
without amenities that were marketed for GSM in order to understand how
to measure the Grand Bahama Comparables Pomeroy informed Ginn
Financial this would be a difficult task and it would take some time to do
this analysis

ln Fall 2006, representatives of Ginn Financial spoke with Richard Allen
by telephone after Pomeroy began putting together a rough analysis for
GSM lot appraisals During this call, Ginn Financial pressured Pomeroy to
provide appraisals very quickly. Pomeroy told Ginn Financial Pomeroy
could not produce appraisals without first undertaking a complete
investigation and analysis of the market, Pomeroy explained that without a
complete investigation and analysis, Mr. Allen and his partner would not
consider themselves competent in the area and would not be able to provide
appraisals

ln Fall 2006, representatives of Ginn Financial spoke with Richard Allen

by telephone after Pomeroy began putting together a rough analysis for

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GSM lot appraisals During this call, Pomeroy informed Ginn Financial
that, as part of Pomeroy’s complete investigation and analysis Pomeroy
would need to consider comparable lot sales on Grand Bahama lsland but
outside GSM. ln response, with the authorization of Defendants Bobby
Ginn, Lubert-Adler, Dean Adler and Lubert-Adler Fund lV, Defendant
Ginn Financial pressured Pomeroy to consider the GSM sales as the only
comparables and asked why Pomeroy needed to go outside GSM for
comparables Pomeroy agreed to look at the GSM sales in addition to the
comparables Pomeroy obtained from outside GSM. Pomeroy informed
Ginn Financial that the problem with using only GSM sales as comparables
was that many buyers had been flown into the private airstrip on GSM by
Ginn and had not had an opportunity to price lots offered outside the
subdivision before making their purchase decisions Pomeroy explained it
was not comfortable only using closed sales within GSM as comparables
because Pomeroy had not yet completed its investigation and analysis and
thus did not yet fully understand the Bahamian real estate market, Pomeroy
further informed Ginn Financial that any U.S. lender would want to see
appraisals based on comparables from outside of GSM. ln response, CEO
McCracken strongly disagreed. ln a heated conversation and with the
authorization of Defendants Bobby Ginn, Lubert-Adler, Dean Adler and
Lubert-Adler Fund lV, CEO McCracken informed Pomeroy that Ginn
Finaneial only wanted Pomeroy to use closed sales within GSM as

comparables and that Ginn Financial did not want Pomeroy to use any

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ix.

comparable sales from outside of GSM. Pomeroy informed Ginn Financial
that if Pomeroy agreed to consider closed sales from within GSM as
comparables, Pomeroy’s appraisals would have to indicate that they were
“subject to“ the completion of the infrastructure and amenities that Ginn
was marketing for GSM. Pomeroy informed Ginn Financial that Pomeroy
had to protect itself, and thus Pomeroy would only agree to provide
“subject to” appraisals Pomeroy made it clear that if Ginn Financial would
not accept “subject to" appraisals, Pomeroy would not provide the
appraisals at all. In response, with the authorization of Defendants Bobby
Ginn, Lubert-Adler, Dean Adler and Lubert-Adler Fund lV, Defendant
Ginn Financial asked Pomeroy to provide rough drafts of what Pomeroy’s
appraisal would look like for several lots.

ln Fall 2006, representatives of Ginn Financial spoke with Richard Allen
by telephone after they received Pomeroy’s rough drafts of GSM lot
appraisals During this call, with the authorization of Defendants Bobby
Ginn, Lubert-Adler, Dean Adler and Lubert-Adler Fund lV, Defendant
Ginn Financial asked Pomeroy to remove the “subject to" comments from
the draft appraisals When Pomeroy refused, Ginn Financial said it would
get back to Pomeroy,

ln Fall 2006, less than an hour after the call concerning Pomeroy’s rough
drafis of the GSM lot appraisals, with the authorization of Defendants

Bobby Ginn, Lubert-Adler, Dean Adler and Lubert-Adler Fund lV,

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Defendant Ginn Financial telephoned Pomeroy to say that Ginn Financial
was “going to go in another direction.”

h. fn Fall 2006, with the authorization of Defendants Bobby Ginn, Lubert-Adler,
Dean Adler and Lubert-Adler Fund lV, Defendant Ginn Financial made
arrangements via the Postal Service or private or commercial carrier, wire or
other interstate media to fly the Pomeroy partners to the Bahamas on a Ginn
corporate jet for a l-day trip to meet with Ginn sales and development people.

i. On or about September 25, 2006, Ginn Financial sent Pomeroy via the Postal
Service or private or commercial carrier, wire or other interstate media a Request
for Appraisal for GSM Lot 98. The Request for Appraisal improperly included a
sales price and an “Estimated Value” figure for the lot to be appraised.

j. On or about September 25, 2006, Ginn Financial sent Pomeroy via the Postal
Service or private or commercial carrier, wire or other interstate media a Request
for Appraisal for GSM Lot 146. The Request for Appraisal improperly included
a sales price and an “Estimated Value" figure for the lot to be appraised.

k. On or about September 25, 2006, Ginn Financial sent Pomeroy via the Postal
Service or private or commercial carrier, wire or other interstate media a Request
for Appraisal for GSM Lot 109, which was being purchased by Plaintiffs
Maciag The Request for Appraisal improperly included a sales price and an
“Estimated Value" figure for the lot to be appraised

l. On or about September 27, 2006, Ginn Financial sent Pomeroy via the Postal

Service or private or commercial carrier, wire or other interstate media a Request

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for Appraisal for GSM Lot 103. The Request for Appraisal improperly included
a sales price for the lot to be appraised

m. On or about September 27, 2006, Ginn Financial sent Pomeroy via the Postal
Service or private or commercial carrier, wire or other interstate media a Request
for Appraisal for GSM Lot 104. llre Request for Appraisal improperly included
a sales price and an “Estimated Value" figure for the lot to be appraised

n. On or about September 27, 2006, Ginn Financial sent Pomeroy via the Postal
Service or private or commercial carrier, wire or other interstate media a Request
for Appraisal for GSM Lot 45. The Request for Appraisal improperly included a
sales price for the lot to be appraised

o. On or about September 29, 2006, Ginn Financial sent Pomeroy via the Postal
Service or private or commercial carrier, wire or other interstate media a Request
for Appraisal for GSM Lot 38. The Request for Appraisal improperly included a
sales price for the lot to be appraised t

p. On or about October 3, 2006, Ginn Financial sent Pomeroy via the Postal Service
or private or commercial carrier, wire or other interstate media a Request for
Appraisal for GSM Lot 194. The Request for Appraisal improperly included a
sales price for the lot to be appraised

q. On or about October 3, 2006, Ginn Financial sent Pomeroy via the Postal Service
or private or commercial can'ier, wire or other interstate media a Request for
Appraisal for GSM Lot 37. 'l`he Request for Appraisal improperly included a

sales price for the lot to be appraised

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r. On or about October 3, 2006, Ginn Financial sent Pomeroy via the Postal Service
or private or commercial carrier, wire or other interstate media a Request for
Appraisal for GSM Lot 46. The Request for Appraisal improperly included a
sales price and an “Estimated Value” figure for the lot to be appraised

s. On or about October 3, 2006, Ginn Financial sent Pomeroy via the Postal Service
or private or commercial carrier, wire or other interstate media a Request for
Appraisal for GSM Lot 136. The Request for Appraisal improperly included a
sales price for the lot to be appraised

t. On or about October 3, 2006, Ginn Financial sent Pomeroy via the Postal Service
or private or commercial carrier, wire or other interstate media a Request for
Appraisal for GSM Lot 89. The Request for Appraisal improperly included a
sales price and an “Estimated Value" figure for the lot to be appraised

u. On or about October 4, 2006, Ginn Financial sent Pomeroy via the Postal Service
or private or commercial carrier, wire or other interstate media a Request for
Appraisal for GSM Lot 80. The Request for Appraisal improperly included a
sales price and an “Estimated Value" figure for the lot to be appraised

v. On or about October 5, 2006, Ginn Financial sent Pomeroy via the Postal Service
or private or commercial carrier, wire or other interstate media a Request for
Appraisal for GSM Lot 56. The Request for Appraisal improperly included a
sales price for the lot to be appraised

w. On or about October 27, 2006, Ginn Financial sent Pomeroy via the Postal

Service or private or commercial carrier, wire or other interstate media a Request

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aa.

bb.

for Appraisal for GSM Lot 88. 'I`he Request for Appraisal improperly included a
sales price and an “Estimated Value" figure for the lot to be appraised
On or about October 30, 2006, Ginn Financial sent Pomeroy via the Postal
Service or private or commercial carrier, wire or other interstate media a Request
for Appraisal for GSM Lot 432. The Request for Appraisal improperly included
a sales price for the lot to be appraised
On a date presently unknown to Plaintiffs but known to Defendants, Ginn
Financial sent Pomeroy via the Postal Service or private or commercial can'ier,
wire or other interstate media the Final Completion Statemcnt and other closing
documents for the sale of Lot 18. Ginn Financial intended the Completion
Statemcnt to serve as the only basis for Pomeroy’s valuation of other GSM lots.
On a date presently unknown to Plaintiffs but known to Defendants, Ginn
Financial sent Pomeroy via the Postal Service or private or commercial carrier,
wire or other interstate media the Final Completion Statemcnt and other closing
documents for the sale of Lot 90. Ginn Financial intended the Completion
Statemcnt to serve as the only basis for Pomeroy’s valuation of other GSM lots.

On a date presently unknown to Plaintiffs but known to Defendants, Ginn
Financial sent Pomeroy via the Postal Service or private or commercial carrier,
wire or other interstate media the Final Completion Statemcnt for the sale of Lot
97. Ginn Financial intended the Completion Statemcnt to serve as the only basis
for Pomeroy’s valuation of other GSM lots.

On a date presently unknown to Plaintiffs but known to Defendants, Ginn

Financial sent Pomeroy via the Postal Service or private or commercial carrier,

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CC.

dd.

Ce.

wire or other interstate media the Final Completion Statemcnt and other closing
documents for the sale of Lot 133. Ginn Financial intended the Completion
Statemcnt to serve as the only basis for Pomeroy’s valuation of other GSM lots.

On a date presently unknown to Plaintiffs but known to Defendants, Ginn
Financial sent Pomeroy via the Postal Service or private or commercial carrier,
wire or other interstate media the Final Completion Statemcnt and other closing
documents for the sale of Lot 190. Ginn Financial intended the Completion
Statemcnt to serve as the only basis for Pomeroy’s valuation of other GSM lots.

On or about October 27, 2006, Ginn Financial received from Pomeroy via the
Postal Service or private or commercial carrier, wire or other interstate media a
DRAFT Land Appraisal Report for GSM Lot 74. The draft stated in three
separate places that it was subject to the completion of infrastructure and certain
amenities as described in a detailed “Project Amenity Description.” Ginn
Financial pressured Pomeroy to remove the “subject to” language. When
Pomeroy refused, Defendant Bobby Ginn authorized and caused Ginn Financial
to reject the DRAFT Land Appraisal Report and to terminate the services of
Pomeroy,

On or about October 27, 2006, Ginn Financial received from Pomeroy via the
Postal Service or private or commercial carrier, wire or other interstate media a
DRAFT Land Appraisal Report for GSM Lot 80. The draft stated in three
separate places that it was subject to the completion of infrastructure and certain
amenities as described in a detailed “Project Amenity Description.” Ginn

Financial pressured Pomeroy to remove the “subject to” language. When

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Pomeroy refused, Defendant Bobby Ginn authorized and caused Ginn Financial
to reject the DRAFT Land Appraisal Report and to terminate the services of
Pomeroy.

On or about October 27, 2006, Ginn Financial received from Pomeroy via the
Postal Service or private or commercial carrier, wire or other interstate media a
DRAFT Land Appraisal Report for GSM Lot 103. The draR stated in three
separate places that it was subject to the completion of infrastructure and certain
amenities as described in a detailed “Project Amenity Description.” Ginn
Financial pressured Pomeroy to remove the “subject to" language. When
Pomeroy refused, Defendant Bobby Ginn, Lubert-Adlcr, Dean Adler and Lubert-
Adler Fund lV authorized and caused Ginn Financial to reject the DRAFT Land

Appraisal Report and to terminate the services of Pomeroy.

gg. On October 31, 2006, Defendants Lubert-Adlcr, Lubert-Adler Fund lV, Dean

Adler, Ginn Financial and Bobby Ginn caused Defendant Bahamas Sales to enter
into a “Receivablcs Loan and Security Agreement" with Capital Source
(“CapitalSource Loan Agreement”) pursuant to which Bahamas Sales obtained

the Capital Source Credit Line.

hh. On November 2, 2006, Ginn Financial sent an email to Pomeroy stating,

ii.

“Please cancel all the orders for Bahamas Appraisals. Wc have run it by our
investors and a ‘Subjcct to‘ valuation is unacceptable."

On a date presently unknown to Plaintiffs but known to Defendants, Ginn
Financial sent Plaintiffs Todd and Maureen Taliaferro via the Postal Service or

private or commercial carrier, wire or other interstate media a mortgage loan

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application, which Plaintiffs 'I`aliaferro executed This mortgage loan application
listed Ginn Financial as the lender for Plaintiffs Taliaferro’s mortgage loan, when
in fact that loan was closed with Bahamas Sales, which is not licensed as a
mortgage lender, as the lender.

On a date presently unknown to Plaintiffs but known to Defendants, Ginn
Financial sent Plaintiffs Taliaferro via the Postal Service or private or
commercial carrier, wire or other interstate media an Affiliatcd Business
Arrangement Disclosure Statemcnt Notice. This Notice stated that Ginn
Financial was requiring Plaintiffs 'I`aliaferro to use U.S. real estate appraiser
Pomeroy Appraisal Associates of Florida, lnc. “as a condition of your loan on

this property, to represent our interests in the transaction.”

kk. On a date presently unknown to Plaintiffs but known to Defendants, Ginn

11.

Financial requested via the Postal Service or private or commercial carrier, wire
or other interstate media that W. Carver Grant & Co., a Bahamian engineer,
provide an appraisal for GSM Lot 208, which was being purchased by Plaintiffs
Taliaferro.

0n a date presently unknown to Plaintiffs but known to Defendants, Ginn
Financial received an appraisal from W. Carver Grant & Co. via the Postal
Service or private or commercial carrier, wire or other interstate media for GSM
Lot 208, which was being purchased by Plaintiffs Taliaferro. The W. Carver
Grant appraisal was inflated unsupported and did not comply with the Uniform

Standards of Professiona| Appraisal Practice.

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mm.

00.

PP-

On a date presently unknown to Plaintiffs but known to Defendants, Ginn
Financial sent Plaintiffs Taliaferro via the Postal Service or private or
commercial carrier, wire or other interstate media a Good Faith Estimate of
closing costs for PlaintiffTaliaferro's mortgage loan. This Good Faith listed
Ginn Financial as the lender for Plaintiffs Taliaferro’s mortgage loan, when in
fact that loan was closed with Bahamas Sales, which is not licensed as a

mortgage lender, as the lender.

. On a date presently unknown to Plaintiffs but known to Defendants, Ginn

Financial sent Plaintiffs Taliaferro via the Postal Service or private or
commercial carrier, wire or other interstate media a packet of mortgage loan
closing documents for Plaintiffs 'I`aliaferro‘s GSM mortgage loan. This packet of
closing listed Bahamas Sales as the lender for Plaintiff 'l`aliaferro’s mortgage
loan.

On or about February 16, 2007, Defendants Lubert-Adler, Lubert-Adler Fund
lV, Dean Adler, Ginn Financial and Bobby Ginn caused Bahamas Sales and
Ginn Title to close Plaintiffs Taliaferro‘s mortgage loan for GSM Lot 208, with
Bahamas Sales acting as the mortgage lender, with knowledge that the closing
documents would be transmitted via the Postal Service or private or conunercial
carrier, wire or other interstate media to other signatories of the agreement for
execution in counterparts, and/or to an agent for filing in the Bahamas

On a date presently unknown to Plaintiffs but known to Defendants, Ginn
Financial sent Plaintiffs Arthur and Alexandria Maciag via the Postal Service or

private or commercial carrier, wire or other interstate media a mortgage loan

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application, which Plaintiffs Maciag executed This mortgage loan application
listed Ginn Financial as the lender for Plaintiffs Maciag’s mortgage loan, when in
fact that loan was closed with Bahamas Sales, which is not licensed as a

mortgage lender, as the lender.

qq. On a date presently unknown to Plaintiffs but known to Defendants, Ginn

SS.

Financial sent Plaintiffs Maciag via the Postal Service or private or commercial
carrier, wire or other interstate media an Affiliatcd Business Arrangement
Disclosure Statemcnt Notice. This Notice stated that Ginn Financial was
requiring Plaintiffs Maciag to use U.S. real estate appraiser Pomeroy Appraisal
Associates of Florida, lnc. “as a condition of your loan on this property, to
represent our interests in the transaction."

On a date presently unknown to Plaintiffs but known to Defendants, Ginn
Financial requested via the Postal Service or private or commercial carrier, wire
or other interstate media that W. Carver Grant & Co., a Bahamian engineer,
provide an appraisal for GSM Lot 109, which was being purchased by Plaintiffs
Maciag,

On a date presently unknown to Plaintiffs but known to Defendants, Ginn
Financial received an appraisal from W. Carver Grant & Co. via the Postal
Service or private or commercial carrier, wire or other interstate media for GSM
Lot 109, which was being purchased by Plaintiffs Maciag The W. Carver Grant
appraisal was inflatcd, unsupported and did not comply with the Uniform

Standards of Professional Appraisal Practice.

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ll.

Ull.

WW.

On a date presently unknown to Plaintiffs but known to Defendants, Ginn
Financial sent Plaintiffs Maciag via the Postal Service or private or commercial
carrier, wire or other interstate media a Good Faith Estimate of closing costs for
Plaintiff Maciag's mortgage loan. This Good Faith listed Ginn Financial as the
lender for Plaintiffs Maciag's mortgage loan, when in fact that loan was closed
with Bahamas Sales, which is not licensed as a mortgage lender, as the lender.

On a date presently unknown to Plaintiffs but known to Defendants, Ginn
Financial sent Plaintiffs Maciag via the Postal Service or private or commercial
carrier, wire or other interstate media a packet of mortgage loan closing
documents for Plaintiffs Maciag’s GSM mortgage loan. This packet of closing

listed Bahamas Sales as the lender for Plaintiff Maciag's mortgage loan.

. On or about February 16, 2007, Defendants Lubert-Adler, Lubert-Adler Fund

lV, Dean Adler, Ginn Financial and Bobby Ginn caused Bahamas Sales and
Ginn Title to close Plaintiffs Maciag's mortgage loan for GSM Lot 109, with
Bahamas Sales acting as the mortgage lender, with knowledge that the closing
documents would be transmitted via the Postal Service or private or commercial
carrier, wire or other interstate media to other signatories of the agreement for
execution in counterparts, and/or to an agent for filing in the Bahamas

On a date presently unknown to Plaintiffs but known to Defendants, Ginn
Financial sent Plaintiff Rick Clemmons via the Postal Service or private or
commercial carrier, wire or other interstate media a mortgage loan application,
which Plaintiff Clemmons executed This mortgage loan application listed Ginn

Financial as the lender for Plaintiffs Clemmons’ mortgage loan, when in fact that

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loan was closed with Bahamas Sales, which is not licensed as a mortgage lender,
as the lender.

xx. On a date presently unknown to Plaintiffs but known to Defendants, Ginn
Financial sent Plaintiff Clemmons via the Postal Service or private or
commercial carrier, wire or other interstate media an Affiliatcd Business
Arrangement Disclosure Statemcnt Notice. This Notice stated that Ginn
Financial was requiring Plaintiff Clemmons to use U.S. real estate appraiser
Pomeroy Appraisal Associates of Florida, lnc. “as a condition of your loan on
this property, to represent our interests in the transaction.”

yy. On a date presently unknown to Plaintiffs but known to Defendants, Ginn
Financial requested via the Postal Service or private or commercial carrier, wire
or other interstate media that W. Carver Grant & Co., a Bahamian engineer,
provide an appraisal for GSM Lot 494, which was being purchased by Plaintiffs
Clemmons and Sell.

zz. On a date presently unknown to Plaintiffs but known to Defendants, Ginn
Financial received an appraisal from W. Carver Grant & Co. via the Postal
Service or private or commercial carrier, wire or other interstate media for GSM
Lot 494, which was being purchased by Plaintiffs Clemmons and Sell. The W.
Carver Grant appraisal was inflated, unsupported and did not comply with the
Unifonn Standards of Professional Appraisal Practice.

aaa. On a date presently unknown to Plaintiffs but known to Defendants, Ginn
Financial sent Plaintiff Clemmons via the Postal Service or private or

commercial carrier, wire or other interstate media a Good Faith Estimate of

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closing costs for Plaintiff Clemmons’ mortgage loan. This Good Faith listed
Ginn Financial as the lender for Plaintiffs Clemmons’ mortgage loan, when in
fact that loan was closed with Bahamas Sales, which is not licensed as a
mortgage lender, as the lender.

bbb. On a date presently unknown to Plaintiffs but known to Defendants, Ginn
Financial sent Plaintiff Clemmons via the Postal Service or private or
commercial carrier, wire or other interstate media a packet of mortgage loan
closing documents for Plaintiffs Clemmons’ GSM mortgage loan. This packet of
closing listed Bahamas Sales as the lender for Plaintiff Clemmons’ mortgage
loan.

ccc. On or about February 16, 2007, Defendants Lubert-Adler, Lubert-Adler
Fund lV, Dean Adler, Ginn Financial and Bobby Ginn caused Bahamas Sales
and Ginn Title to close Plaintiffs Clemmons’ mortgage loan for GSM Lot 494,
with Bahamas Sales acting as the mortgage lender, with knowledge that the
closing documents would be transmitted via the Postal Service or private or
commercial carrier, wire or other interstate media to other signatories of the
agreement for execution in counterparts, and/or to an agent for filing in the
Bahamas

ddd. On a date presently unknown to Plaintiffs but known to Defendants, Ginn
Financial sent Plaintiff.lamcs Carell via the Postal Service or private or
commercial carrier, wire or other interstate media a mortgage loan application,
which Plaintiff Carell executed This mortgage loan application listed Ginn

Financial as the lender for Plaintiffs Carell’s mortgage loan, when in fact that

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loan was closed with Bahamas Sales, which is not licensed as a mortgage lender,
as the lender.

eec. On a date presently unknown to Plaintiffs but known to Defendants, Ginn
Financial sent Plaintiff Carell via the Postal Service or private or commercial
carrier, wire or other interstate media an Affiliatcd Business Arrangement
Disclosure Statemcnt Notice. This Notice stated that Ginn Financial was
requiring Flaintiff Carell to use U.S. real estate appraiser Pomeroy Appraisal
Associates of Florida, lnc. “as a condition of your loan on this property, to
represent our interests in the transaction.“

fff. On a date presently unknown to Plaintiffs but known to Defendants, Ginn
Financial requested via the Postal Service or private or commercial carrier, wire
or other interstate media that W. Carver Grant & Co., a Bahamian engineer,
provide an appraisal for GSM Lot 312, which was being purchased by Plaintiffs
Carell and Sell.

ggg. On a date presently unknown to Plaintiffs but known to Defendants, Ginn
Financial received an appraisal from W. Carver Grant &. Co. via the Postal
Service or private or commercial carrier, wire or other interstate media for GSM
Lot 312, which was being purchased by Plaintiffs Carell and Scll. The W.
Carver Grant appraisal was inflated, unsupported and did not comply with the
Unifonn Standards of Profcssional Appraisal Practice.

hhh. On a date presently unknown to Plaintiffs but known to Defendants, Ginn
Financial sent Plaintiff Carell via the Postal Service or private or commercial

carrier, wire or other interstate media a Good Faith Estimate of closing costs for

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iii.

kkk.

Plaintiff Carell’s mortgage loan. This Good Faith listed Ginn Financial as the
lender for Plaintiff Carell’s mortgage loan, when in fact that loan was closed with
Bahamas Sales, which is not licensed as a mortgage lender, as the lender.

On a date presently unknown to Plaintiffs but known to Defendants, Ginn
Financial sent Plaintiff Carell via the Postal Service or private or commercial
carrier, wire or other interstate media a packet of mortgage loan closing
documents for Plaintiff Carell’s GSM mortgage loan. This packet of closing
listed Bahamas Sales as the lender for Plaintiff Carell’s mortgage loan.

On or about February 16, 2007, Defendants Lubert-Adlcr, Lubert-Adlcr Fund
lV, Dean Adler, Ginn Financial and Bobby Ginn caused Bahamas Sales and
Ginn Title to close Plaintiff Carell’s mortgage loan for GSM Lot 312, with
Bahamas Sales acting as the mortgage lender, with knowledge that the closing
documents would be transmitted via the Postal Service or private or commercial
carrier, wire or other interstate media to other signatories of the agreement for
execution in counterparts, and/or to an agent for filing in the Bahamas
On a date presently unknown to Plaintiffs but known to Defendants, Ginn
Financial sent PlaintiffThomas Hoyer via the Postal Service or private or
commercial carrier, wire or other interstate media a mortgage loan application,
which Plaintiff Hoyer executed This mortgage loan application listed Ginn
Financial as the lender for Plaintiff Hoyer’s mortgage loan, when in fact that loan
was closed with Bahamas Sales, which is not licensed as a mortgage lender, as

the lender.

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lll. On a date presently unknown to Plaintiffs but known to Defendants, Ginn
Financial sent Plaintiff Hoyer via the Postal Service or private or commercial
carrier, wire or other interstate media an Affiliatcd Business Arrangement
Disclosure Statemcnt Notice. This Notice stated that Ginn Financial was
requiring Plaintiff Hoyer to use U.S. real estate appraiser Pomeroy Appraisal
Associates of Florida, lnc. “as a condition of your loan on this property, to
represent our interests in the transaction.“

mmm. On a date presently unknown to Plaintiffs but known to Defendants, Ginn
Financial requested via the Postal Service or private or commercial carrier, wire
or other interstate media that W. Carver Grant & Co., a Bahamian engineer,
provide an appraisal for GSM Lot 448, which was being purchased by Plaintiffs
Hoyer and Freeman.

nnn. On a date presently unknown to Plaintiffs but known to Defendants, Ginn
Financial received an appraisal from W. Carver Grant & Co. via the Postal
Service or private or commercial carrier, wire or other interstate media for GSM
Lot 448, which was being purchased by Plaintiffs Hoyer and Freeman. 'I`he W.
Carver Grant appraisal was inflated, unsupported and did not comply with the
Unifonn Standards of Professional Appraisal Practice.

ooo. On a date presently unknown to Plaintiffs but known to Defendants, Ginn
Financial sent Plaintiff Hoyer via the Postal Service or private or commercial
carrier, wire or other interstate media a Good Faith Estimate of closing costs for

Plaintiff Hoyer’s mortgage loan. This Good Faith listed Ginn Financial as the

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lender for Plaintiff Hoyer’s mortgage loan, when in fact that loan was closed
with Bahamas Sales, which is not licensed as a mortgage lender, as the lender.

ppp. On a date presently unknown to Plaintiffs but known to Defendants, Ginn
Financial sent Plaintiff Hoyer via the Postal Service or private or commercial
carrier, wire or other interstate media a packet of mortgage loan closing
documents for Plaintiff Hoyer’s GSM mortgage loan. This packet of closing
listed Bahamas Sales as the lender for Plaintiff Hoyer’s mortgage loan.

qqq. On or about February 16, 2007, Defendants Lubert-Adler, Lubert-Adler
Fund lV, Dean Adler, Ginn Financial and Bobby Ginn caused Bahamas Sales
and Ginn Title to close Plaintiff Hoyer’s mortgage loan for GSM Lot 448, with
Bahamas Sales acting as the mortgage lender, with knowledge that the closing
documents would be transmitted via the Postal Service or private or commercial
carrier, wire or other interstate media to other signatories of the agreement for
execution in counterparts, and/or to an agent for filing in the Bahamas

rrr. On a date presently unknown to Plaintiffs but known to Defendants, Ginn
Financial sent Plaintiffs Fresonke Group via the Postal Service or private or
commercial carrier, wire or other interstate media a mortgage loan application,
which Plaintiffs Fresonke Group executed 'I`his mortgage loan application listed
Ginn Financial as the lender for Plaintiffs Fresonke Group’s mortgage loan,
when in fact that loan was closed with Bahamas Sales, which is not licensed as a
mortgage lender, as the lender.

sss.On a date presently unknown to Plaintiffs but known to Defendants, Ginn

Financial sent Plaintiffs Fresonke Group via the Postal Service or private or

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commercial carrier, wire or other interstate media an Affiliatcd Business
Arrangement Disclosure Statemcnt Notice. This Notice stated that Ginn
Financial was requiring Plaintiffs Fresonke Group to use U.S. real estate
appraiser Pomeroy Appraisal Associates of Florida, lnc. “as a condition of your
loan on this property, to represent our interests in the transaction.“

ttt. On a date presently unknown to Plaintiffs but known to Defendants, Ginn
Financial requested via the Postal Service or private or commercial carrier, wire
or other interstate media that W. Carver Grant & Co., a Bahamian engineer,
provide an appraisal for GSM Lot 437, which was being purchased by Plaintiffs
Fresonke Group.

uuu. On a date presently unknown to Plaintiffs but known to Defendants, Ginn
Financial received an appraisal from W. Carver Grant & Co. via the Postal
Service or private or commercial carrier, wire or other interstate media for GSM
Lot 437, which was being purchased by Plaintiffs Fresonke Group. The W.
Carver Grant appraisal was inflated, unsupported and did not comply with the
Unifonn Standards of Profcssional Appraisal Practice.

vvv. On a date presently unknown to Plaintiffs but known to Defendants, Ginn
Financial sent Plaintiffs Fresonke Group via the Postal Service or private or
commercial carrier, wire or other interstate media a Good Faith Estimate of
closing costs for Plaintiff Fresonke Group’s mortgage loan. This Good Faith
listed Ginn Financial as the lender for Plaintiffs Fresonke Group’s mortgage
loan, when in fact that loan was closed with Bahamas Sales, which is not

licensed as a mortgage lender, as the lender.

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www. On a date presently unknown to Plaintiffs but known to Defendants, Ginn
Financial sent Plaintiffs Fresonke Group via the Postal Service or private or
commercial carrier, wire or other interstate media a packet of mortgage loan
closing documents for Plaintiffs Fresonke Group’s GSM mortgage loan. 'I`his
packet of closing listed Bahamas Sales as the lender for Plaintiffs Fresonke
Group’s mortgage loan.

xxx. On or about February 16, 2007, Defendants Lubert-Adler, Lubert-Adler
Fund lV, Dean Adler, Ginn Financial and Bobby Ginn caused Bahamas Sales
and Ginn Title to close Plaintiffs Fresonke Group’s mortgage loan for GSM Lot
437, with Bahamas Sales acting as the mortgage lender, with knowledge that the
closing documents would be transmitted via the Postal Service or private or
commercial carrier, wire or other interstate media to other signatories of the
agreement for execution in counterparts, and/or to an agent for filing in the
Bahamas,

yyy. On or about March 7, 2007, Defendants Bobby Ginn, Lubert-Adler and
Lubert-Adler Fund lV authorized and caused a 2007 Limited Liability
Corporation Annual Report to be filed with the Florida Secretary of State via the
Postal Service or private or commercial carrier, wire or other interstate media for
Ginn Financial.

zzz. On or about April 23, 2007, Defendants Bobby Ginn, Lubert-Adler and
Lubert-Adler Fund IV authorized and caused a 2007 Limited Liability

Corporation Annual Report to be filed with the Florida Secretary of State via the

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Postal Service or private or commercial carrier, wire or other interstate media for
Bahamas Sales

aaaa. On or about September 4, 2007, Defendants Bobby Ginn, Lubert-Adler
and Lubert-Adler Fund IV authorized and caused a 2007 Amendcd Limited
Liability Corporation Annual Report to be filed with the Florida Secretary of
State via the Postal Service or private or commercial carrier, wire or other
interstate media for Ginn Financial.

bbbb. On or about November 2007, Lubert-Adler and Lubert-Adler Fund lV
took an equity distribution from Defendant Bahamas Sales, with knowledge that
financial statements and other documents reflecting the equity distribution would
be sent via the Postal Service or private or commercial carrier, wire or other
interstate media.

eccc. On or about Deccmber 2007, Lubert-Adler and Lubert-Adler Fund lV
took an equity distribution from Defendant Bahamas Sales, with knowledge that
financial statements and other documents reflecting the equity distribution would
be sent via the Postal Service or private or commercial carrier, wire or other
interstate media,

dddd. On or about January 2008, Lubert-Adler and Lubert-Adler Fund IV took
an equity distribution from Defendant Bahamas Sales, with knowledge that

financial statements and other documents reflecting the equity distribution would

be sent via the Postal Service or private or commercial carrier, wire or other

interstate media.

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eeee. On or about January 16, 2008, Defendants Bobby Ginn, Lubert-Adler
and Lubert-Adler Fund IV authorized and caused a 2008 Limited Liability
Corporation Annual Report to be filed with the Florida Secretary of State via the
Postal Service or private or commercial carrier, wire or other interstate media for
Ginn Financial.

ffff. On or about February 2008, Lubert-Adler and Lubert-Adler Fund lV took
an equity distribution from Defendant Bahamas Sales, with knowledge that
financial statements and other documents reflecting the equity distribution would
be sent via the Postal Service or private or commercial carrier, wire or other
interstate media.

gggg. On or about March 2008, Lubert-Adler and Lubert-Adler Fund lV took an
equity distribution from Defendant Bahamas Sales, with knowledge that financial
statements and other documents reflecting the equity distribution would be sent
via the Postal Service or private or commercial carrier, wire or other interstate
media.

hhhh. On or about April 2008, Lubert-Adler and Lubert-Adler Fund IV took an
equity distribution from Defendant Bahamas Sales, with knowledge that financial
statements and other documents reflecting the equity distribution would be sent
via the Postal Service or private or commercial carrier, wire or other interstate
media.

iiii. On or about April 22, 2008, Defendants Bobby Ginn, Lubert-Adler and Lubert-
Adler Fund lV authorized and caused a 2008 Limited Liability Corporation

Annual Report to be filed with the Florida Secretary of State via the Postal

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Service or private or commercial carrier, wire or other interstate media for
Bahamas Sales

jjjj On or about May 2008, Lubert-Adler and Lubert-Adler Fund IV took an equity
distribution from Defendant Bahamas Sales, with knowledge that financial
statements and other documents reflecting the equity distribution would be sent
via the Postal Service or private or commercial can'ier, wire or other interstate
media.

kkkk. On or about June 2008, Lubert-Adler and Lubert-Adler Fund IV took an
equity distribution from Defendant Bahamas Sales, with knowledge that financial
statements and other documents reflecting the equity distribution would be sent
via the Postal Service or private or commercial carrier, wire or other interstate
media.

llll. On or about July 2008, Lubert-Adler and Lubert-Adler Fund IV took an equity
distribution from Defendant Bahamas Sales, with knowledge that financial
statements and other documents reflecting the equity distribution would be sent
via the Postal Service or private or commercial carrier, wire or other interstate
media.

mmmm. On or about August 2008, Lubert-Adler and Lubert-Adler Fund lV took an
equity distribution from Defendant Bahamas Sales, with knowledge that financial
statements and other documents reflecting the equity distribution would be sent
via the Postal Service or private or commercial carrier, wire or other interstate

media.

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nnnn. On or about September 2008, Lubert-Adler and Lubert-Adler Fund 1V
took an equity distribution from Defendant Bahamas Sales, with knowledge that
financial statements and other documents reflecting the equity distribution would
be sent via the Postal Service or private or commercial carrier, wire or other
interstate media.

oooo. On or about October 2008, Lubert-Adler and Lubert-Adler Fund IV took
an equity distribution from Defendant Bahamas Sales, with knowledge that
financial statements and other documents reflecting the equity distribution would
be sent via the Postal Service or private or commercial carrier, wire or other
interstate media.

pppp. On or about November 2008, Lubert-Adler and Lubert-Adler Fund 1V
took an equity distribution from Defendant Bahamas Sales, with knowledge that
financial statements and other documents reflecting the equity distribution would
be sent via the Postal Service or private or commercial carrier, wire or other
interstate media.

qqqq. On or about Deccmber 2008, Lubert-Adler and Lubert-Adler Fund lV
took an equity distribution from Defendant Bahamas Sales, with knowledge that
financial statements and other documents reflecting the equity distribution would
be sent via the Postal Service or private or commercial carrier, wire or other
interstate media.

rrrr. On or about January 2009, Lubert-Adler and Lubert-Adler Fund 1V took
an equity distribution from Defendant Bahamas Sales, with knowledge that

financial statements and other documents reflecting the equity distribution would

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be sent via the Postal Service or private or commercial carrier, wire or other
interstate media.

ssss. On or about February 2009, Lubert-Adler and Lubert-Adler Fund IV took
an equity distribution from Defendant Bahamas Sales, with knowledge that
financial statements and other documents reflecting the equity distribution would
be sent via the Postal Service or private or commercial carrier, wire or other
interstate media.

tttt. On or about March 2009, Lubert-Adler and Lubert-Adler Fund 1V took an
equity distribution from Defendant Bahamas Sales, with knowledge that financial
statements and other documents reflecting the equity distribution would be sent
via the Postal Service or private or commercial carrier, wire or other interstate
media.

uuuu. On or about April 2009, Lubert-Adler and Lubert-Adler Fund lV took an
equity distribution from Defendant Bahamas Sales, with knowledge that financial
statements and other documents reflecting the equity distribution would be sent
via the Postal Service or private or commercial carrier, wire or other interstate
media.

vvvv. On or about April 30, 2009, Defendants Bobby Ginn, Lubert-Adler and
Lubert-Adler Fund 1V authorized and caused a 2009 Limited Liability
Corporation Annual Report to be filed with the Florida Secretary of State via the
Postal Service or private or commercial carrier, wire or other interstate media for

Ginn Financial.

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wwww. On or about April 30, 2009, Defendants Bobby Ginn, Lubert-Adler and
Lubert-Adler Fund lV authorized and caused a 2009 Limited Liability
Corporation Annual Report to be filed with the Florida Secretary of State via the
Postal Service or private or commercial carrier, wire or other interstate media for
Bahamas Sales

xxxx. On or about May 2009, Lubert-Adler and Lubert-Adler Fund lV took an
equity distribution from Defendant Bahamas Sales, with knowledge that financial
statements and other documents reflecting the equity distribution would be sent
via the Postal Service or private or commercial carrier, wire or other interstate
media.

yyyy. On or about June 2009, Lubert-Adler and Lubert-Adler Fund IV took an
equity distribution from Defendant Bahamas Sales, with knowledge that financial
statements and other documents reflecting the equity distribution would be sent
via the Postal Service or private or commercial carrier, wire or other interstate
media.

zzzz. On or about July 2009, Lubert-Adler and Lubert-Adler Fund lV took an
equity distribution from Defendant Bahamas Sales, with knowledge that financial
statements and other documents reflecting the equity distribution would be sent
via the Postal Service or private or commercial carrier, wire or other interstate
media.

aaaaa. On or about August 2009, Lubert-Adler and Lubert-Adler Fund IV took an
equity distribution from Defendant Bahamas Sales, with knowledge that financial

statements and other documents reflecting the equity distribution would be sent

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via the Postal Service or private or commercial carrier, wire or other interstate
media.

bbbbb. On or about March 17, 2010, Defendants Bobby Ginn, Lubert-Adler and

Lubert-Adler Fund lV authorized and caused a 2010 Limited Liability
Corporation Annual Report to be filed with the Florida Secretary of State via the
Postal Service or private or commercial carrier, wire or other interstate media for
Ginn Financial.
ccccc. On or about March 18, 2010, Defendants Bobby Ginn, Lubert-Adler and

Lubert-Adler Fund lV authorized and caused a 2010 Limited Liability
Corporation Annual Report to be filed with the Florida Secretary of State via the
Postal Service or private or commercial carrier, wire or other interstate media for
Bahamas Sales,

299. Other matters and things sent through or received from the Postal Service
and private or commercial carrier or interstate wire transmission by Appraisal Fraud
Defendants included information or communication in furtherance of or necessary to
effectuate the schemes outlined above, Details concerning the exact dates of and persons
involved in sending the following matters or things is in the exclusive control of one or
more of Appraisal Fraud Defendants, and/or other persons and are presently unknown to
Plaintiffs:

a. Defendants Bobby Ginn, Lubert-Adler, Lubert-Adler Fund lV, Dean Adler, Ginn
Financial and Bahamas Sales engaged in a series of communications via mail
and/or wire among themselves and with others prior to October 2006 concerning

the use of inflated and unsupported appraisals that did not comply with the

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Unifonn Standards of Professional Appraisal Practice to justify the sale and
financing of Plaintiffs’ GSM lot purchases at inflated prices based upon marketed
amenities that did not exist at the time of the appraisals

b. Defendants Bobby Ginn, Lubert-Adler, Lubert-Adler Fund lV, Dean Adler, Ginn
Financial and Bahamas Sales engaged in a series ofcommunications via mail
and/or wire among themselves and with others prior to October 2006 concerning
the use of Pomeroy.

c. Defendants Bobby Ginn, Lubert-Adler, Lubert-Adler Fund lV, Dean Adler, Ginn
Financial and Bahamas Sales engaged in a series of communications via mail
and/or wire among themselves and with others prior to October 2006 concerning
the communications that Defendant Ginn Financial had with Pomeroy.

d. Defendants Bobby Ginn, Lubert-Adler, Lubert-Adler Fund lV, Dean Adler, Ginn
Financial and Bahamas Sales engaged in a series ofcommunications via mail
and/or wire among themselves and with others prior to October 2006 concerning
the decision to terminate the relationship with Pomeroy.

e. Defendants Bobby Ginn, Lubert-Adler, Lubert-Adler Fund IV, Dean Adler, Ginn
Financial and Bahamas Sales engaged in a series of communications via mail
and/or wire among themselves and with others prior to October 2006 concerning
the retention of another appraiser following the decision to terminate the
relationship with Pomeroy.

f`. Defendants Bobby Ginn, Lubert-Adler, Lubert-Adlcr Fund lV, Dean Adler, Ginn
Financial and Bahamas Sales engaged in a series of communications via mail

and/or wire among themselves and with W. Carver Grant prior to October 2006

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concerning how Defendants Bobby Ginn, Lubert-Adler, Lubert-Adler Fund IV,
Ginn Financial and Bahamas Sales wanted W. Carver Grant to prepare the
appraisals for GSM lots.

300. Other matters and things sent through or received from the Postal Service
and private or commercial carrier or interstate wire transmission by Appraisal Fraud
Defendants included information or communication in furtherance of or necessary to
effectuate the schemes outlined above.

301. Appraisal Fraud Defendants' misrepresentations acts of concealment and
failures to disclose were knowing and intentional and made for the purpose of deceiving
Plaintiffs and obtaining their money and property for Appraisal Fraud Defendants ' gain.

302. Appraisal Fraud Defendants either knew or recklessly disregarded the fact
that the misrepresentations and omissions described above were material, and Plaintiffs
relied on the misrepresentations and omissions set forth above.

303. As a result of Appraisal Fraud Defendants' fraudulent schemes, Appraisal
Fraud Defendants have obtained money and property belonging to Plaintiffs, and
Plaintiffs have been injured in their business or property by Appraisal Fraud Defendants'
overt acts of mail, wire and bank fraud

Pattern of Racketeering Activity - Ginn Financial Enterprise

304. Appraisal Fraud Defendants did knowingly, willfully and unlawfully
conduct or participate in the affairs of the Ginn Financial Enterprise through a "pattem
of racketeering activity," within the meaning of 18 U.S.C. §§ 1961(1), 1961(5) and

l962(c). The racketeering activity was made possible by the Appraisal Fraud

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Defendants ' regular and repeated use of the facilities and services of the Ginn Financial
Enterprise.

305. Appraisal Fraud Defendants committed or aided and abetted in the
commission of at least two acts of racketeering activity, i.e., indictable violations of 18
U.S.C. §§1341, 1343 and 1344 as described above, within the past five years
(“Racketeering Acts"). Appraisal Fraud Defendants ' Racketeering Acts were not
isolated, but rather had the same or similar purpose, participants method of commission,
and victims including Plaintiffs

306. Each of the Racketeering Acts were committed pursuant to and in
furtherance of the Ginn Financial Enterprise, and such acts include false and misleading
statements as well as other uses of the mails and wire transmissions to further and
execute Defendants’ scheme and artifice to defraud

307. The multiple Racketeering Acts that Appraisal Fraud Defendants
committed and/or conspired to commit and/or aided and abetted the commission of, were
related to each other and amount to and pose a threat of continued racketeering activity,
and therefore constitute a "pattem of racketeering activity" as defined in 18 U.S.C. §
1961(5).

M
Violation of 18 U.S.C. § l962(c): RICO - The Credit Suisse Credit Facility Fraud

(All Plaintiffs Against Defendants Lubert-Adler, Lubert-Adler Fund 111,
Lubert-Adler Fund lV, Lubert-Adler Fund V, Dean Adler, ERG, Ginn
West End, Ginn-LA West End LLLP, Ginn-LA CS Borrower, Ginn-LA
Conduit Lender and Ginn-LA OBB)

308. Plaintiffs re-allege the allegations set forth in Paragraphs 1-21, 26-222

and 266-285 as though fully set forth below.

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309. CSCF Defendants violated 18 U.S.C. §§ 1962(c) by conducting or
participating directly or indirectly in the conduct of the affairs of the CSCF Enterprise
through a pattern of racketeering activity, including acts indictable under 18 U.S.C.
§§134| and 1343.

310. As a direct and proximate result, Plaintiffs and members of the Class
have been injured in their business or property by the predicate acts that make up CSCF
Defendants' pattern of racketeering activity through the CSCF Enterprise,

COUNT ll
Violation of 18 U.S.C. § l962(d): RlCO - The Credit Suisse Credit Facility F rand

(All Plaintiffs Agalnst Defendants Lubert-Adler, Lubert-Adler Fund 111,
Lubert-Adler Fund lV, Lubert-Adler Fund V, Dean Adler, ERG, Ginn
West End, Ginn-LA West End LLLP, Ginn-LA CS Borrower, Ginn-LA
Conduit Lender and Ginn-LA OBB)

311. Plaintiffs re-allege the allegations set forth in Paragraphs 1-21, 26-222,
266-285 and 308-310 as though fully set forth bclow.

312. ln violation of 18 U.S.C. § l962(d) CSCF Defendants have, as set forth
above, conspired to violate 18 U.S.C. § l962(c). The conspiracy commenced at least as
early as 2004 and continues The object of the conspiracy was to secure the $675
million CSCF, obtain a $333 million distribution from the CSCF for Defendants
Lubert-Adler and ERG and conceal the existence, terms defaults and effects of thc
CSCF on the development of GSM.

313. As set forth above, each CSCF Defendant knowingly, willfully and
unlawfully agreed and combined to conductor participate in, directly or indirectly, the
conduct of the affairs and activities of the CSCF Enterprise through a pattern of
racketeering activity, including acts indictable under 18 U.S.C. §§ 1341 and 1343, in

violation of 18 U.S.C. § l962(c).

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314. CSCF Defendants committed numerous overt acts of racketeering activity
or other wrongful activity in furtherance of said conspiracy.

315. The purpose of the acts that caused injury to Plaintiffs was to advance the
overall objective of the conspiracy, and the harm to Plaintiffs was a reasonably
foreseeable consequence of CSCF Defendants' schemes

316. As a direct and proximate result, Plaintiffs have been injured in their
business or property by CSCF Defendants' conspiracy and by the predicate acts that
make up CSCF Defendants' pattern of racketeering activity through the CSCF
Enterprise,

M_ll_l
Violation of 18 U.S.C. 1962 c : RICO -The Ginn Financial Fraud

(All Plaintiffs against Defendants Ginn Financial, Lubert-Adler, Lubert-
Adler Fund lV, Dean Adler, Bahamas Sales, Ginn Tltle and Bobby Ginn)

317. Plaintiffs re-al|ege the allegations set forth in Paragraphs l-15, 22-27,
223-265 and 286-307 as though fully set forth below.

318. Appraisal Fraud Defendants violated 18 U.S.C. §§ l962(c) by conducting,
or participating directly or indirectly in the conduct of the affairs of the Ginn Financial
Enterprise through a pattem of racketeering activity, including acts indictable under 18
U.S.C. §§1341 and 1343.

319. As a direct and proximate result, Plaintiffs and members of the Class
have been injured in their business or property by thc predicate acts that make up
Appraisal Fraud Defendants' pattern of racketeering activity through the Ginn Financial

Enterprise.

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Violation of 18 U.S.C. § 1962§d): RICO - The Ginn Financial Fraud

(All Plaintiffs against Defendants Ginn Financial, Lubert-Adler, Lubert-
Adler Fund IV, Dean Adler, Bahamas Sales, Ginn Title and Bobby Ginn)

320. Plaintiffs re-allege the allegations set forth in Paragraphs 1-15, 22-27,
223-265, 286-307 and 317-319 as though fully set forth below.

321. In violation of 18 U.S.C. § l962(d) Appraisal Fraud Defendants have, as
set forth above, conspired to violate 18 U.S.C. § l962(c). The conspiracy commenced
at least as early as 2004 and continues The object of the conspiracy was to sell and
finance GSM lots at unjustified and inflated prices resulting in increased profits for
Appraisal Fraud Defendants

322. As set forth above, each Mortgage Fraud Defendant knowingly,
willfully and unlawfully agreed and combined to conduct or participate in, directly or
indirectly, the conduct of the affairs and activities of the Ginn Financial Enterprise
through a pattern of racketeering activity, including acts indictable under 18 U.S.C.
§§1341 and 1343, in violation of 18 U.S.C. § l962(c).

323. Appraisal Fraud Defendants committed numerous overt acts of
racketeering activity or other wrongful activity in furtherance of said conspiracy.

324. The purpose of the acts that caused injury to Plaintiffs was to advance the
overall objective of the conspiracy, and the harm to Plaintiffs was a reasonably
foreseeable consequence of Appraisal Fraud Defendants' scheme.

325. As a direct and proximate result, Plaintiffs have been injured in their
business or property by Mortgage Fraud Defendant' conspiracy and by the predicate
acts that make up Appraisal Fraud Defendants' pattern of racketeering activity through

the Ginn Financial Enterprise,

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Breaeh of Fidueiag/ Dutv
(Mortgagor Plaintiffs against Defendants Ginn Flnanclal, Lubert-Adler,

hubert-Adler Fund lV, Dean Adler, Bahamas Sales, Ginn Title and
Bobby Ginn)

326. Plaintiffs re-allege the allegations set forth in Paragraphs 1-15, 22-27,
223-265 and 286-307 as though fully set forth below.

327. Defendants Lubert-Adler, Lubert-Adler Fund lV, Dean Adler, Bahamas
Sales, Ginn Financial, Ginn Title and Bobby Ginn stood to benefit from the financing
of Mortgagor Plaintiffs’ GSM mortgage loans at the expense of Mortgagor Plaintiffs

328. Defendants Ginn Financial and Bahamas Sales exercised extensive control
over Mortgagor Plaintiffs’ GSM loans by virtue of the actions described in Paragraphs
223-265 and 286-307, above.

329. Defendants Lubert-Adler, Lubert-Adler Fund lV, Dean Adler and Bobby
Ginn caused Defendants Ginn Financial and Bahamas Sales to take on extra services for
Mortgagor Plaintiffs beyond the performance of Bahamas Sales’s contractual duties
under Mortgagor Plaintiffs’ GSM mortgage notes, including the following:

a. Afier warning that Bahamian financing was complex, Ginn Financial offered to
advise Mortgagor Plaintiffs on the requirements necessary to obtain mortgage
financing on a lot located in the Bahamas

b. Ginn Financial offered to have a Ginn representative personally deliver mortgage
closing documents to Mortgagor Plaintiffs Hoyer, so Mortgagor Plaintiffs Hoyer
would not have to travel to the Bahamas to close on their GSM mortgage loans

c. Ginn Financial sent mortgage closing documents to Mortgagor Plaintiffs

Taliaferro, Maciag, Fresonke, Clemmons Carell via FedEx, so those Mortgagor

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330.

Plaintiffs would not have to travel to the Bahamas to close on their GSM
mortgage loans

Defendants Lubert-Adler, Lubert-Adler Fund IV, Dean Adler, Ginn

Financial, Bahamas Sales, Ginn Title and Bobby Ginn took the following steps to

reassure Mortgagor Plaintiffs that even though they were purchasing land located in the

Bahamas, Ginn Financial mortgage financing for GSM lots offered protections that are

customary for mortgage financing of real property in the United States. Those defendants

represented that:

3.

b.

331.

Ginn Financial was offering specialized loan programs for GSM lot purchasers
Ginn Financial was the preferred lender for GSM lot purchasers

Ginn Financial was a licensed mortgage lender in the State of Florida.

Ginn Financial would guide Mortgagor Plaintiffs through the process of
obtaining a mortgage loan for Bahamian lots.

Ginn Financial “in-housc" mortgage financing of GSM lots would expedite the
closing process

Ginn Financial was offering 80% loan-to-value mortgage loans on GSM lots,
whereas Bahamian banks would only offer mortgage loans at 50% loan-to-value.
Ginn Financial required Mortgagor Plaintiffs to use U.S. real estate appraiser
Pomeroy Appraisal Associates of Florida, lnc. “as a condition of your loan on
this property, to represent our interests in the transaction.”

By taking the actions described in Paragraphs 228-232 and 330, above,

Defendants Ginn Financial and Bahamas Sales encouraged Mortgagor Plaintiffs to

place their trust and confidence in those Defendants to provide mortgage financing

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that offered protections customary in the United States, including a licensed U.S.
mortgage lender and a licensed U.S. appraiser obligated to follow the Uniform
Standards of Professional Appraisal Practice.

332. Mortgagor Plaintiffs placed their confidence and trust in Defendants
Ginn Financial and Bahamas Sales Mortgagor Plaintiffs relied on Ginn Financial and
Bahamas Sales to provide guidance in connection with the financing of property in
the Bahamas Mortgagor Plaintiffs relied on Ginn Financial and Bahamas Sales to
close their GSM mortgage loans with Ginn Financial (as a Florida licensed mortgage
lender) and to appraise their GSM lots with Pomeroy (as a Florida licensed appraiser)
or some other U.S. licensed appraiser.

333. Defendants Lubert-Adler, Lubert-Adler Fund lV, Dean Adler, Bahamas
Sales, Ginn Financial, Ginn Title and Bobby Ginn knew or had reason to know
Plaintiffs were placing their trust and confidence in Ginn Financial and Bahamas
Sales.

334. Defendants Lubert-Adler, Lubert-Adler Fund lV, Dean Adler, Bahamas
Sales, Ginn Financial, Ginn Title and Bobby Ginn assumed a duty to Plaintiffs to
disclose information material to the financing of Plaintiffs’ GSM mortgage loans,
which information was peculiarly within the knowledge of those Defendants and not
otherwise available to Plaintiffs

335. Defendants Lubert-Adler, Lubert-Adler Fund lV, Dean Adler, Bahamas
Sales, Ginn Financial, Ginn Title and Bobby Ginn had knowledge of and participated

in the appraisal fraud being perpetrated upon GSM lot purchasers including

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Plaintiffs, and entered into GSM mortgage notes with Plaintiffs in furtherance of the
appraisal fraud

336. Lubert-Adler, Lubert-Adler Fund lV, Dean Adler and Bobby Ginn
caused Defendants Ginn Financial and Bahamas Sales to breach their fiduciary duty to
Mortgagor Plaintiffs by not acting in Mortgagor Plaintiffs’ best interests

337. Lubert-Adler, Lubert-Adler Fund lV, Dean Adler and Bobby Ginn
caused Defendants Ginn Financial and Bahamas Sales to breach their fiduciary duty to
Mortgagor Plaintiffs by suboming fraudulently inflated appraisals from Pomeroy.

338. Lubert-Adler, Lubert-Adler Fund lV, Dean Adler and Bobby Ginn
caused Defendants Ginn Financial and Bahamas Sales to breach their fiduciary duty to
Mortgagor Plaintiffs by suboming and utilizing fraudulently inflated appraisals from
Carver Grant.

339. Lubert-Adler, Lubert-Adler Fund lV, Dean Adler and Bobby Ginn
directed Defendants Ginn Financial and Bahamas Sales to breach their fiduciary duty to
Mortgagor Plaintiffs by concealing the facts that:

a. Mortgagor Plaintiffs’ GSM mortgage loans were not closed with Florida licensed
mortgage lender Ginn Financial, or with any other U.S. licensed mortgage lender.
lnstead, those mortgage loans were closed with single purpose entity Bahamas
Sales, which was not a licensed mortgage lender, correspondent mortgage lender
or mortgage broker in any state

b. Mortgagor Plaintiffs‘ GSM lots were not appraised by Pomeroy Apparisal, or
with any other U.S. licensed appraiser. lnstead, those lots were “appraised” by

Carver Grant, which was not a U.S. licensed appraiser and did not follow the

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Unifonn Standards of Professional Appraisal Practice, or any other recognized
standards for appraisal practices

c. The Carver Grant appraisals used to underwrite and approve Mortgagor
Plaintiffs’ GSM mortgage loans included value for infrastructure and amenities
that did not exist as of the date of those appraisals, but did not make such value
“subject to" the completion of the nonexistent infrastructure and amenities.

d. The Carver Grant appraisals were inflated by hundreds of thousands of dollars
per lot.

340. Because Mortgagor Plaintiffs were unaware of the appraisal fraud scheme
and the facts described in Paragraph 339, Mortgagor Plaintiffs were damaged from the
moment they closed on their GSM mortgage loans and their GSM lot purchases as set
forth above.

341. Mortgagor Plaintiffs’ damages occurred as a direct and proximate result
of the breach of fiduciary duty by Ginn Financial and Bahamas Sales (as directed by
Lubert-Adler, Lubert-Adler Fund lV, Dean Adler and Bobby Ginn) because
Mortgagor Plaintiffs would not have closed on their GSM mortgage loans and their
GSM lot purchases if they had known the true facts

§Q_QM`_V_l
Fraud in the Inducement

(Mortgagor Plaintiffs against Defendants Ginn Financial, Lubert-Adler,
Lubert-Adler Fund lV, Dean Adler, Bahamas Sales, Ginn Title and
Bobby Ginn)

342. Plaintiffs re-allege the allegations set forth in Paragraphs 1-15, 22-27,

223-265 and 286-307 as though fully set forth bclow.

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343. Defendants Lubert-Adler, Lubert-Adler Fund lV, Dean Adler, Bahamas
Sales, Ginn Financial, Ginn Title and Bobby Ginn concealed the appraisal fraud
scheme and the following facts in order to induce Mortgagor Plaintiffs’ to enter into
the GSM Mortgage Notes:

a. Mortgagor Plaintiffs’ GSM mortgage loans were not closed with Florida licensed
mortgage lender Ginn Financial, or with any other U.S. licensed mortgage lender.
lnstead, those mortgage loans were closed with single purpose entity Bahamas
Sales, which was not a licensed mortgage lender, correspondent mortgage lender
or mortgage broker in any state.

b. Mortgagor Plaintiffs’ GSM lots were not appraised by Pomeroy Apparisal, or
with any other U.S. licensed appraiser. lnstead, those lots were “appraised” by
Carver Grant, which was not a U.S. licensed appraiser and did not follow the
Unifonn Standards of Professional Appraisal Practice, or any other recognized
standards for appraisal practices

c. The Carver Grant appraisals used to underwrite and approve Mortgagor
Plaintiffs’ GSM mortgage loans included value for infrastructure and amenities
that did not exist as of the date of those appraisals, but did not make such value
“subject to" the completion of the nonexistent infrastructure and amenities.

d. The Carver Grant appraisals were inflated by hundreds of thousands of dollars
per lot.

344. Defendants Lubert-Adler, Lubert-Adler Fund lV, Dean Adler, Bahamas
Sales, Ginn Financial, Ginn 'I`itle and Bobby Ginn knew the existence of the appraisal

fraud scheme and the facts set forth in Paragraph 343 were material to Mortgagor

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Plaintiffs’ decisions to enter into the GSM Mortgage Notes. Those Defendants knew
that if Mortgagor Plaintiffs’ were informed of the appraisal fraud scheme or the facts
set forth in Paragraph 343, Mortgagor Plaintiffs would not have entered into the GSM
Mortgage Notes

345. Defendants Lubert-Adler, Lubert-Adler Fund lV, Dean Adler, Bahamas
Sales, Ginn Financial, Ginn Title and Bobby Ginn intended that their concealment of
the facts set forth in Paragraph would induce Mortgagor Plaintiffs to enter into the
GSM Mortgage Notes

346. Because Mortgagor Plaintiffs were unaware of the appraisal fraud
scheme or the facts set forth in Paragraph 343, they agreed to close on their GSM
mortgage loans and their GSM lot purchases Mortgagor Plaintiffs would not have
closed on their GSM mortgage loans and their GSM lot purchases if they had known the
true facts

347. Mortgagor Plaintiffs were damaged from the moment they closed on their
GSM mortgage loans and their GSM lot purchases as set forth above. Mortgagor
Plaintiffs’ damages occurred as a direct and proximate result of the breach of
fiduciary duty by Ginn Financial and Bahamas Sales (as directed by Lubert-Adler,
Lubert-Adler Fund IV, Dean Adler and Bobby Ginn) because Mortgagor Plaintiffs
would not have entered into the GSM mortgage Notes or closed on their GSM mortgage
loans and their GSM lot purchases if they had known the true facts

PRAYER FOR RELIEF
Plaintiffs hereby pray for the following relief:

A. A determination that Defendants have violated 18 U.S.C. §§ l962(c) and (d);

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B. An injunction prohibiting Defendants from further violations of 18 U.S.C.
§§ l962(c) and (d);

C. A determination that Defendants Ginn Financial and Bahamas Sales (as directed
by Lubert-Adler, Lubert-Adler Fund IV, Dean Adler and Bobby Ginn)
breached their implied fiduciary duty to Mortgagor Plaintiffs;

D. A determination that the mortgages and mortgage notes entered into by the
Mortgagor Plaintiffs should be declared null and void as a consequence of the
Appraisal Fraud Scheme and the fraudulent inducement;

E. As to the Breaeh of Fiduciary Duty and Fraudulent lnducement Counts leave of
court to seek to plead punitive damages at the appropriate time;

F. As to all Counts, an order that Defendants pay damages in an amount to be
determined at trial;

G. As to all Counts an order that Defendants pay treble the amount of damages
suffered by Plaintiffs;

H. An order of restitution of all payments and charges that Defendants improperly
collected from Plaintiffs;

l. A determination that Defendants are jointly and severally liable as to all Counts
herein;

j. An award to Plaintiffs of the costs and disbursements incurred in connection will
this action, including reasonable attomeys' fees and the reimbursement of
expenses in amounts to be determined by the Court;

K. An award to Plaintiffs of prejudgment interest;

L. Trial by Jury of all issues triable as of right by a jury; and

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M. Such other and, further relief as the Court may deem just and proper.

February 28, 2011

 

 

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